 Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 1 of 139 Page ID #:146




 1   Kurt Ramlo (SBN 166856)
     LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
 2   10250 Constellation Boulevard, Suite 1700
     Los Angeles, California 90067
 3   Phone: (310) 229-1234
     Fax: (310) 229-1244
 4   KR@LNBYB.com

 5   Gregory M. Utter * (OH Bar No. 0032528)
     Joseph M. Callow, Jr. * (OH Bar No. 0061814)
 6   KEATING MUETHING & KLEKAMP PLL
     One East Fourth Street, Suite 1400
                                                               11/13/18
 7   Cincinnati, Ohio 45202
     Phone: (513) 579-6400
 8   Fax: (513) 579-6457
     gmutter@kmklaw.com, jcallow@kmklaw.com
 9
     Joel D. Hesch * (DC Bar No. 421822)
10   THE HESCH FIRM, LLC
     3540 Ridgecroft Dr.
11   Lynchburg, Virginia 24503
     Phone: (434) 229-8677
12   joel@howtoreportfraud.com
13   ATTORNEYS FOR RELATORS
     * Pro hac vice applications forthcoming
14
                              UNITED STATES DISTRICT COURT
15
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
                                       WESTERN DIVISION
17
     UNITED STATES OF AMERICA, the STATES OF                  No. CV 18-06352-
18   ALASKA, CALIFORNIA, COLORADO, CONNECTICUT,               ODW (MAAx)
     DELAWARE, FLORIDA, GEORGIA, HAWAII, ILLINOIS,
19   INDIANA, IOWA, LOUISIANA, MARYLAND,                      AMENDED
     MASSACHUSETTS, MICHIGAN, MINNESOTA,                      COMPLAINT FOR
20   MONTANA, NEVADA, NEW HAMPSHIRE, NEW                      VIOLATIONS OF THE
     JERSEY, NEW MEXICO, NEW YORK, NORTH                      FEDERAL AND
21   CAROLINA, OKLAHOMA, RHODE ISLAND,                        STATE FALSE
     TENNESSEE, TEXAS, VERMONT, VIRGINIA, and                 CLAIMS ACTS;
22   WASHINGTON, and the DISTRICT OF COLUMBIA                 DEMAND FOR JURY
     ex rel.                                                  TRIAL
23   NICHOLAS FINCH and NICHOLAS SACCOMANNO,
                                                              [FILED UNDER
24              Plaintiffs/Relators,                          SEAL PURSUANT TO
     vs.                                                      THE FALSE CLAIMS
25                                                            ACT, 31 U.S.C. §§
     NIHON KOHDEN CORPORATION; NIHON KOHDEN                   3730(b)(2) and (3)]
26   AMERICA, INC.; NIHON KOHDEN ORANGEMED, INC.;
     and NKUS LAB.                                            DO NOT ENTER ON
27                                                            PACER
                Defendants.
28
 Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 2 of 139 Page ID #:147




 1         Relators Nicholas Finch (“Mr. Finch”) and Nicholas Saccomanno (“Mr.
 2   Saccomanno”) (collectively, the “Relators”), by and through the undersigned counsel, and
 3   on behalf of the United States of America (“United States”) and the States of Alaska,
 4   California, Colorado, Connecticut, Delaware, Florida, Georgia, Hawaii, Illinois, Indiana,
 5   Iowa, Louisiana, Maryland, Massachusetts, Michigan, Minnesota, Montana, Nevada, New
 6   Hampshire, New Jersey, New Mexico, New York, North Carolina, Oklahoma, Rhode
 7   Island, Tennessee, Texas, Vermont, Virginia, State of Washington, and the District of
 8   Columbia (collectively, the “States”), hereby allege as follows:
 9   I.    INTRODUCTION
10         1.     This is a qui tam action by Relators, filed on behalf of the United States and
11   States, against Nihon Kohden Corporation (“NK Corporation”), Nihon Kohden America,
12   Inc. (“NK America”) Nihon Kohden OrangeMed, Inc. (“NK OrangeMed”), and NKUS
13   Lab (collectively, “Nihon Kohden” or “Defendants”) for using, making, presenting, and
14   causing to make, use, or present false statements and claims to the governments of the
15   United States and States (collectively, the “Government”) in violation of the False Claims
16   Act, 31 U.S.C. § 3729, et seq. and applicable State law.
17         2.     This case is about the fraudulent practices occurring at Nihon Kohden—an
18   international giant in the medical device industry earning hundreds of millions in global
19   revenue each year.      In 2017 alone, Nihon Kohden generated $18.9 billion yen
20   (approximately $170 million USD) in medical device sales in just the Americas—
21   primarily in the United States.1 In addition, in 2016, NK America was also awarded a $35
22   million federal contract with the U.S. Department of Defense for patient monitoring
23
24
     1
25    This figure is from Nihon Kohden’s 2017 annual report which is consolidated for NK
     Corporation and its subsidiaries, including NK America. Nihon Kohden Report 2017 at
26   18, https://www.nihonkohden.com/ir/library/pdf/NKreport2017E.pdf (last visited July 3,
27   2018).
28

                                                 1
 Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 3 of 139 Page ID #:148




 1   equipment.2
 2         3.      The fraud alleged herein is straightforward. Since at least 2012—but upon
 3   information and belief, as early as 2008—Nihon Kohden has unlawfully marketed,
 4   distributed and sold various adulterated/misbranded/off-label patient monitoring medical
 5   devices without the necessary premarket government approval. More specifically, Nihon
 6   Kohden has a corporate-wide practice and culture of entirely ignoring the Food and Drug
 7   Administration (“FDA”)’s 510(k) clearance process.         And since the arrival of NK
 8   America’s current CEO in 2014, Dr. Wilson Constantine, this fraud has continued to
 9   worsen and grow each year.3
10         4.      This fraud involves multiple patient monitoring devices, including, but not
11   limited to, Nihon Kohden’s: (i) BSM-1700 monitor(s); (ii) BSM-3500 monitor(s); (iii)
12   tele-transmitter(s); (iv) remote network station(s) (“RNS(s)”); (v) central nurse station(s)
13   (“CNS(s)”); (vi) Life Scope G9 monitor(s); (vii) NetKonnect remote monitor(s); and (viii)
14   the ViTrac mobile application (all adulterated/misbranded/off-label products together, the
15   “Monitoring Devices”). All of these Monitoring Devices are adulterated/misbranded/off-
16   label and have been adulterated/misbranded/off-label for a number of years, but were
17   nonetheless marketed, distributed and sold by Nihon Kohden. Relators believe that over
18   2
      Contract No. SPM2D1-12-D-8300 is a one-year base contract with eight one-year option
19   periods for patient monitoring equipment, to be used by the Air Force, Army, Navy,
     Marine Corps, and federal civilian agencies. Contracts: Defense Logistics Agency, U.S.
20   DEP’T OF DEFENSE (Oct. 26, 2016), available at https://www.defense.gov/News/Contracts/
21   Contract-View/Article/987608/ (last visited July 5, 2018).
22   3
       The current CEO of NK America—Dr. Wilson P. Constantine—was previously a vice
23   president of OtisMed Corporation and Stryker Corporation in 2014, when OtisMed
     pleaded guilty and paid over $80 million to resolve allegations that it violated FDA
24   marketing clearance regulations and introducing adulterated medical devices into
25   interstate commerce. OtisMed Corporation and Former CEO Plead Guilty to Distributing
     FDA-Rejected Cutting Guides for Knee Replacement Surgeries: Corporation to Pay More
26   than $80 Million to Resolve Criminal and Civil Investigations, U.S. DEP’T OF JUSTICE,
27   U.S. Attorney’s Office District of New Jersey (Dec. 8, 2014), available at https://
     www.justice.gov/usao-nj/pr/otismed-corporation-and-former-ceo-plead-guilty-
28
     distributing-fda-rejected-cutting-guides (last visited July 3, 2018).
                                                  2
 Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 4 of 139 Page ID #:149




 1   50% of all of Nihon Kohden’s devices are adulterated/misbranded/off-label, and that the
 2   particular devices discussed herein make up well over half of Nihon Kohden’s annual
 3   revenue in the U.S.
 4         5.     Rather than go through the proper FDA channels, Nihon Kohden side-steps
 5   the 510(k) clearance process altogether by simply adding an internal “letter to the file”
 6   (“LTF”) to a different device that received 510(k) clearance years earlier. These internal
 7   LTFs are improper because the Monitoring Devices are significantly different from any
 8   previously-cleared devices and, therefore, require their own independent 510(k) clearance.
 9   For years, Nihon Kohden has purposely evaded this requirement in order to rush its
10   adulterated/misbranded/off-label Monitoring Devices to market without being delayed by
11   the FDA clearance process. Simply put, market demand and profits have superseded
12   regulatory requirements for a number of years
13         6.     Over the years, multiple employees, including Relators, have voiced concerns
14   to corporate leadership about the internal LTF process and the adulterated/misbranded/off-
15   label devices. To date, Nihon Kohden has purposely ignored and rebuked all such
16   complaints. As a result, the fraud still continues to this day.
17         7.     In addition, Nihon Kohden has received multiple complaints from consumers
18   regarding these Monitoring Devices. But because these devices are all adulterated/
19   misbranded/off-label, Nihon Kohden never submitted any of these complaints to the FDA.
20   Had it done so, it would have notified the FDA that it was marketing and distributing
21   adulterated/misbranded/off-label devices—thereby blowing the whistle on itself. As a
22   result, numerous consumer complaints go unreported each year. In fact, Nihon Kohden
23   has even recalled several Monitoring Devices in response to consumer complaints. But
24   once again, because these Monitoring Devices are all adulterated/misbranded/off-label
25   and not filed with the FDA, these recalls go unreported as well.
26         8.     As further evidence of this corporate-wide fraud, Nihon Kohden has gone
27   through 4–5 Directors of Quality Assurance in the past 5 years. Upon information and
28   belief, the current Director of Quality Assurance resigned in October 2018 after raising

                                                   3
 Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 5 of 139 Page ID #:150




 1   concerns over the several thousands of product complaints that have gone unreported to
 2   the FDA and about Nihon Kohden’s non-compliance with the 510(k) process. Upon
 3   further information and belief, the Director stated that she “was not going to jail for this
 4   company.”
 5            9.    Under the terms of the False Claims Act, this Amended Complaint is to be
 6   filed in camera and under seal and is to remain under seal for a period of at least 60 days
 7   and shall not be served on Defendants until the Court so orders. The Government may
 8   elect to intervene and proceed with the action within the 60-day time frame, or within any
 9   extensions of that initial sixty-day period granted by the Court for good cause shown, after
10   it receives both the Amended Complaint and the statement of material evidence submitted
11   to it.
12   II.      NATURE OF THE ACTION
13            10.   This is an action to recover treble damages and civil penalties arising from
14   the fraudulent conduct of Defendants for using, making, presenting, and causing to make,
15   use, or present false statements and claims to the Government in violation of the False
16   Claims Act, 31 U.S.C. § 3729 et seq. and all applicable State laws (collectively, the “False
17   Claims Act”).
18            11.   Under the False Claims Act, a private person may bring an action in federal
19   district court for himself and for the United States and States, and may share in any
20   recovery. 31 U.S.C. § 3730(b). That private person is known as a “Relator” and the action
21   that the Relator brings is called a qui tam action.
22   III.     JURISDICTION AND VENUE
23            12.   This Court has subject matter jurisdiction to adjudicate this action under 28
24   U.S.C. §§ 1331 and 1345.
25            13.   This Court has personal jurisdiction over the Defendants pursuant to 31
26   U.S.C. § 3732(a) because Defendants transact and have transacted business in this District.
27            14.   Venue is proper in this District under 31 U.S.C. § 3732 and 28 U.S.C.
28   § 1391(b) and (c) because Defendants are located in and transact business in this District.

                                                   4
 Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 6 of 139 Page ID #:151




 1   IV.   THE PARTIES
 2         15.        The Relators bring this action on behalf of the United States, including its
 3   agency, the Department of Health and Human Services (“HHS”), its component, the
 4   Centers for Medicare & Medicaid Services (“CMS,” formerly the Health Care Financing
 5   Administration (“HCFA”)), and all other Government healthcare programs, such as
 6   Medicaid, TRICARE/CHAMPUS, Blue Cross/Blue Shield – CHIP, and Veterans
 7   Administration (“VA”).
 8         16.        The Relators also bring this action on behalf of all other United States
 9   agencies and departments, including the Department of Defense, the United States Army,
10   the United States Air Force, the United States Navy, the United States Marine Corps., and
11   all related agencies thereto.
12         17.        The Relators also bring this action on behalf of the States of Alaska
13   California, Connecticut, Delaware, Florida, Georgia, Hawaii, Illinois, Indiana, Iowa,
14   Louisiana, Maryland, Massachusetts, Michigan, Minnesota, Montana, Nevada,
15   Hampshire, New Jersey, New Mexico, New York, North Carolina, Oklahoma, Rhode
16   Island, Tennessee, Texas, Vermont, Virginia, Washington, and the District of Columbia,
17   along with all state counterpart agencies to the federal agencies referenced above.
18         18.        The Relators also bring this action on behalf of themselves, as permitted
19   under the False Claims Act.
20               a.      Relator Nicholas Finch is a citizen of the United States and a resident of
21                       the State of Washington who has spent the last six years in the patient
22                       monitoring industry. From 2013 to 2018, Mr. Finch worked at NK
23                       America as a Level 2 Project Manager where he was responsible for
24                       managing and developing for market release new product interfaces for
25                       Nihon Kohden’s patient monitoring devices. Mr. Finch resigned from NK
26                       America in June 2018 due to the 510(k) issues regarding the
27                       adulterated/misbranded/off-label products alleged herein.
28               b.      Relator Nicholas Saccomanno is a citizen of the United States and a

                                                     5
 Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 7 of 139 Page ID #:152




 1                    resident of the State of California with 8 years at years of industry
 2                    experience.   Mr. Saccomanno worked at NK America as a Project
 3                    Manager (from 2010 to 2013) and Senior Project Manager (from 2015 to
 4                    2018) where he led project development for patient monitoring devices
 5                    for market release. Mr. Saccomanno resigned from NK America in April
 6                    2018 due to the 510(k) issues regarding the adulterated/misbranded/off-
 7                    label products alleged herein.
 8         19.     Mr. Finch and Mr. Saccomanno both discovered the allegations set forth
 9   herein while employed at NK America. Relators are original sources of these allegations,
10   and have direct and independent knowledge of the information on which the allegations
11   set forth in this Amended Complaint are based.
12         20.     Defendant Nihon Kohden Corporation is a Japanese corporation with its
13   principal place of business at 1-13-4 Nishiochiai, Shinjuku-ku, Tokyo 161-8560, Japan.
14   NK Corporation is a global manufacturer, developer, and distributor of medical electronic
15   equipment, including electroencephalograms (EEGs), electromyography (EMG)
16   measuring systems, electrocardiograms (ECGs or EKGs) and other patient monitors.
17         21.     Defendant Nihon Kohden America, Inc. is a California corporation with its
18   principal place of business located at 15353 Barranca Parkway, Irvine, California 92618.
19   NK America is a subsidiary of NK Corporation. NK America develops, manufacturers,
20   and distributes Nihon Kohden medical electronic equipment for patient monitoring
21   throughout the North American region.
22         22.     Defendant Nihon Kohden OrangeMed, Inc. is a California corporation with
23   its principal place of business located at 1800 E. Wilshire Avenue, Santa Ana, California
24   92705.      NK OrangeMed is a sales and research/development subsidiary of NK
25   Corporation. NK OrangeMed researches and develops devices that use Nihon Kohden’s
26   hardware and software technologies, including its patient monitoring systems. About
27   Kohden OrangeMed, Nihon Kohden OrangeMed Inc., available at http://www.orange-
28   med.com/.

                                                  6
 Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 8 of 139 Page ID #:153




 1         23.    Defendant NKUS Lab is a California corporation with its principal place of
 2   business located at 14 Bunsen, Irvine, California 92618.                  NKUS Lab is a
 3   research/development and product development subsidiary of NK Corporation. NKUS
 4   Lab creates software and hardware solutions that are incorporating into Nihon Kohden’s
 5   various products, including its patient monitoring products. Welcome to NKUS Lab,
 6   Nihon Kohden, available at http://www.nklab.com/.
 7   V.    LEGAL FRAMEWORK
 8         A.     The False Claims Act
 9         24.     The False Claims Act (“FCA”) imposes civil liability upon any person who:
10                (A) knowingly presents, or causes to be presented, a false or
                  fraudulent claim for payment or approval;
11
                  (B) knowingly makes, uses, or causes to be made or used, a false
12                record or statement material to a false or fraudulent claim; [or]
13                ....
14                (G) knowingly makes, uses, or causes to be made or used, a false
                  record or statement material to an obligation to pay or transmit
15                money or property to the Government, or knowingly conceals or
                  knowingly and improperly avoids or decreases an obligation to
16                pay or transmit money or property to the Government.
17   31 U.S.C. § 3729(a). The Affordable Care Act requires a person who has received an
18   overpayment from the Government to report and return the overpayment within 60 days
19   of identification, or the date that any corresponding cost report is due; and failure to report
20   and return the overpayment is an obligation for purposes of the False Claims Act under 31
21   U.S.C. § 3729(a)(1)(G). See 42 U.S.C. § 1320a-7k(d).
22         25.    For purposes of the FCA, the terms “knowing” and “knowingly”:
23                (A) mean that a person, with respect to information – (i) has
                  actual knowledge of the information; (ii) acts in deliberate
24                ignorance of the truth or falsity of the information; or (iii) acts
                  in reckless disregard of the truth or falsity of the information;
25                and
26                (B) require no proof of specific intent to defraud.
27   31 U.S.C. § 3729(b). Effective November 2, 2015 (the date of enactment of the Federal
28   Civil Penalties Inflation Adjustment Act, Improvements Act of 2015, Public Law 114-74,

                                                   7
 Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 9 of 139 Page ID #:154




 1   sec. 701 (“2015 Amendments”)), the penalties increased from a minimum-maximum per-
 2   claim penalty of $5,500 and $11,000 to $10,781 and $21,563. The increased amounts
 3   apply to civil penalties assessed for violations occurring after November 2, 2015.
 4   Violations that occurred on or before November 2, 2015 are subject to the previous penalty
 5   amounts. On February 3, 2016, pursuant to the 2015 Amendments annual re-indexing of
 6   the FCA penalties for inflation, the civil penalties again increased to a minimum-
 7   maximum per-claim penalty of $10,957 and $21,916. As of January 19, 2018, the FCA
 8   penalties were again increased to the current minimum-maximum per-claim penalty of
 9   $11,181 and $22,363.
10         B.    The Medicare Program
11         26.   The Health Insurance for the Aged and Disabled Program, popularly known
12   as the Medicare program, was created in 1965 as part of the Social Security Act (“SSA”)
13   to pay the costs of certain healthcare services for eligible individuals. The Secretary of
14   Health and Human Services (“HHS”), an agency of the United States whose activities,
15   operations, and contracts are paid from federal funds, administers the Medicare program
16   through the Centers for Medicare and Medicaid Services (“CMS”), a component of HHS.
17         27.   Medicare is a 100% federally subsidized health insurance system for eligible
18   Americans, including those aged 65 and older, certain disabled people, and certain people
19   with chronic diseases who elect coverage. 42 U.S.C. § 1395c; see 42 U.S.C. §§ 1395j-
20   1395w. To participate in Medicare, a provider must sign and file a Provider Agreement
21   with CMS promising compliance with applicable statutes, regulations, and guidance. 42
22   U.S.C. § 1395cc; 42 C.F.R. § 412.23(e)(1). Medicare service providers have a legal duty
23   to familiarize themselves with Medicare’s reimbursement rules, including those delineated
24   in the Medicare Manuals. Heckler v. Cmty. Health Serv. of Crawford Co., Inc., 467 U.S.
25   51, 64–65 (1984).
26         28.   Under Medicare Part B, providers are typically compensated for the services
27   they provide to Medicare beneficiaries on a “fee-for-service” basis as determined by
28   Medicare’s fee schedule. 42 U.S.C. § 1395w-4. To obtain compensation, providers must

                                                 8
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 10 of 139 Page ID #:155




 1   deliver a compensable service, certify that the service was medically necessary for the
 2   health of the patient, certify that the service was personally furnished by the physician (or
 3   under his or her immediate supervision), and determine the appropriate diagnosis and
 4   procedure code to describe the problem and service for billing.
 5         29.    In order to bill Medicare, a provider must submit a form called the CMS 1500.
 6   The form describes, among other things, the provider, the patient, the referring physician,
 7   the services provided by procedure code, the related diagnosis code(s), the dates of service,
 8   and the amounts charged. The provider certifies on the CMS 1500 claim that the
 9   information provided is truthful and that the services billed on the form were “medically
10   indicated and necessary.”
11         30.    Reimbursement for Medicare claims is made by the United States through
12   HHS. CMS is an agency of HHS and is directly responsible for the administration of the
13   Medicare program. CMS, in turn, contracts with private insurance carriers to administer
14   and pay claims from the Medicare Trust Fund. See 42 U.S.C. § 1395u. Claims submitted
15   for reimbursement are to be paid in accordance with the Social Security Act, Code of
16   Federal Regulations, and Medicare Rules and Regulations promulgated by CMS.
17         C.     The Medicaid Program
18         31.    Medicaid is a joint federal-state program that pays for healthcare services for
19   low-income individuals, including pregnant women, children, and parents and other
20   caretaker relatives, as well as elderly and disabled individuals. As a result of the
21   Affordable Care Act, each state had the option to expand eligibility for Medicaid
22   beginning in calendar year 2014 to all nonelderly adults with income below 138 percent
23   of the federal poverty guidelines.
24         32.    Medicaid is jointly funded by state and federal governments. The federal
25   government’s share of each state’s Medicaid spending, known as the Federal Medical
26   Assistance Percentage (“FMAP”), is based upon the state’s per capita income compared
27   to the national average. 42 U.S.C. § 1396d(b). Such share must be at least 50 percent, but
28   no more than 83 percent, and historically has averaged about 57 percent. In other words,

                                                  9
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 11 of 139 Page ID #:156




 1   the federal government guarantees to match at least $1 in federal funds for every $1 any
 2   individual state spends on its Medicaid program.
 3         33.    State Medicaid programs must comply with the minimum requirements set
 4   forth in the federal Medicaid statute to qualify for federal funding. 42 U.S.C. § 1396a. In
 5   order to receive reimbursement from Medicaid, a provider must submit a signed claims
 6   form to the state’s Medicaid program, certifying that the information on the form is “true,
 7   accurate, and complete.” 42 C.F.R. § 455.18. The provider further certifies that it
 8   “understand[s] that payment of this claim will be from federal and state funds, and that
 9   any falsification, or concealment of a material fact, may be prosecuted under federal and
10   state laws.” Id.
11         D.     Regulation of Medical Devices
12         34.    The Food & Drug Administration (“FDA”) is a federal governmental agency
13   responsible for protecting the health and safety of the public by assuring, among other
14   things, that medical devices are safe and effective for their intended uses and that the
15   labeling of such devices bear true and accurate information. Under the federal Food, Drug
16   and Cosmetic Act (21 U.S.C. §§ 301–397, the “FDCA”), the FDA regulates the
17   manufacture, labeling, and shipment in interstate commerce of such devices.
18         35.    Under the FDCA, every manufacturer of a device is required to obtain
19   authorization from the FDA prior to marketing its devices, unless the device is a Class I
20   or II device and the manufacturer can demonstrate that the device is “substantially
21   equivalent” to another device already legally marketed in the United States.
22         36.    To establish “substantial equivalence,” the manufacturer must submit a
23   Section 510(k) application to the FDA which establishes that the new device: (1) has the
24   same intended use as a predicate device; and (2) the device either (a) has the same
25   technological characteristics as the predicate, or (b) does not raise new questions of safety
26   or efficacy and demonstrates that the new device is at least as safe and effective as the old
27   device. In order obtain Section 510(k) clearance, the device must have the same intended
28   use as an existing, legally marketed device.

                                                    10
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 12 of 139 Page ID #:157




 1           37.   To be eligible for Medicare/Medicaid coverage, a product or device must be
 2   “reasonable and necessary” for the treatment of illness or injury or to improve functioning
 3   of a malformed body member. CMS has interpreted this “reasonable and necessary”
 4   standard to require that a product or device—at minimum—be safe and effective, which
 5   in turn, means that, unless exempt, it must have been approved or cleared for marketing
 6   by the FDA. Medical devices that lack approval from the FDA are not reimbursable. 42
 7   C.F.R. § 411.15(o) and 405.211(c).
 8           38.   Federal regulations also provide that a manufacturer must submit a premarket
 9   notification submission, such as a 510(k) request, when “[t]he device is one that the person
10   currently has in commercial distribution . . . but that is about to be significantly changed
11   or modified in design, components, method of manufacture, or intended use.” 21 C.F.R.
12   § 807.81 (emphasis added).
13           39.   A device is “adulterated” if it is required to have, but does not have, FDA
14   premarket approval for its intended use.       The FDCA prohibits the introduction of
15   adulterated medical devices into interstate commerce. 21 U.S.C. § 331(a).
16           40.   A device is “misbranded” if the manufacturer of that device was required to
17   file a 510(k) premarket notification with the FDA 90 days prior to introducing the device
18   into interstate commerce and failed to do so. The FDCA prohibits the introduction of
19   misbranded medical devices into interstate commerce. 21 U.S.C. § 331(a).
20           41.   Adulterated devices and misbranded devices may not be introduced into
21   commerce, and neither are eligible for use or reimbursement by Medicare, Medicaid, or
22   any other health insurance program funded by the Government.
23   VI.     FACTUAL ALLEGATIONS
24           42.   Since at least 2012—but upon information and belief, as early as 2008—
25   Nihon     Kohden     has    unlawfully    marketed,    distributed   and    sold    various
26   adulterated/misbranded/off-label patient monitoring medical devices without the
27   necessary premarket government approval. More specifically, Nihon Kohden has a
28   corporate-wide practice and culture of entirely ignoring the FDA’s 510(k) clearance

                                                 11
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 13 of 139 Page ID #:158




 1   process.
 2            43.   Rather than go through the proper FDA channels, Nihon Kohden side-steps
 3   the 510(k) clearance process altogether by simply adding an internal “letter to the file” to
 4   another device that received 510(k) clearance years earlier. These internal LTFs are
 5   improper because the Monitoring Devices are significantly different from any previously-
 6   cleared devices and, therefore, require their own independent 510(k) clearance. For years,
 7   Nihon Kohden has purposely evaded this requirement in order to rush its Monitoring
 8   Devices to market without being delayed by the FDA clearance process. Simply put,
 9   market demand and profits have superseded regulatory requirements for a number of
10   years.
11            44.   By way of example, some of Nihon Kohden’s most adulterated and
12   misbranded devices include, but are not limited to: its: (i) BSM-1700 monitor(s); (ii) BSM-
13   3500 monitor(s); (iii) tele-transmitter(s); (iv) remote network station(s) (“RNS(s)”); (v)
14   central nurse station(s) (“CNS(s)”); (vi) Life Scope G9 monitor(s); (vii) NetKonnect
15   remote monitor(s); and (viii) the ViTrac mobile application. For a quick general overview,
16   a specification sheet describing many of these devices’ characteristics is attached hereto
17   as Exhibit A.
18            45.   These devices are further discussed below:
19            A.    The BSM-1700 Bedside Monitor
20            46.   Back in 2008, Nihon Kohden received 510(k) clearance for its BSM-6000
21   series bedside monitor on the basis that it was substantially equivalent to certain other
22   Nihon Kohden predicate devices—namely, the BSM-5130A and the ORG-9700. A true
23   and accurate copies of Nihon Kohden’s marketing brochure for the BSM-6000 series
24   bedside monitor and its specification sheet are attached hereto as Exhibit B and
25   Exhibit C, respectively.
26            47.   In 2011, Nihon Kohden introduced the BSM-1700. It is considered the
27   world’s smallest fully-featured patient monitor, and is one of Nihon Kohden’s best-selling
28   devices. A true and accurate copy of Nihon Kohden’s marketing brochure for the BSM-

                                                 12
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 14 of 139 Page ID #:159




 1   1700 is attached hereto as Exhibit D.
 2         48.    The BSM-1700 is a bedside monitor capable of serving as a WLAN transport
 3   monitor, standard transport monitor, stand-alone monitor, or an input unit for the BSM-
 4   6000 bedside monitor. When not being used as a stand-alone model or transport monitor,
 5   the BSM-1700 serves a host device to the BSM-6000 series. The BSM-1700 displays the
 6   patient’s parameters on a screen, communicates the patient’s data over a network, and
 7   charges the internal batteries of the BSM-1700. When the patient is transferred to a
 8   different location, the BSM-1700 disconnects from the 6000 series (which remains
 9   stationary) and goes with the patient to his or her next location. The BSM-1700 is
10   considered the world’s smallest fully featured transport monitor; and compared to the
11   BSM-6000 series, had significant changes and modifications to its design, material, energy
12   source, manufacturing process, and its intended use.
13         49.    A comparative review of the BSM-1700 versus the BSM-6000 further
14   illustrates the differences between these two monitoring devices.          Such differences
15   include, but are not limited to, differences in size, weight, resolution, power source, multi-
16   functionality, user interface operations, internal software, and device hardware. A true
17   and accurate copy of Nihon Kohden’s “Bedside Monitor Specification Comparison,”
18   which outlines the differences between the BSM-1700 and BSM-6000, is attached hereto
19   as Exhibit E.
20         50.    Given these significant changes and modifications, Nihon Kohden was
21   required to file a premarket notification submission with the FDA seeking independent
22   510(k) clearance for the BSM-1700 device. Nihon Kohden was required to demonstrate
23   how—despite these significant changes—the BSM-1700 was still substantially equivalent
24   to the BSM-6000 series. To date, Nihon Kohden has failed to file any such submission.
25   Instead, it simply filed an internal LTF against its original BSM-6000 series, and
26   introduced the BSM-1700 into commerce without any premarket clearance/approval.
27         51.    Since the BSM-1700 was first introduced in 2011, the device has undergone
28   additional software and hardware changes, each of which have been documented by

                                                  13
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 15 of 139 Page ID #:160




 1   additional internal LTFs against the original 6000 series. There are now nearly a dozen
 2   internal LTFs for the various changes made to the BSM-1700—all of which were applied
 3   against the original BSM-6000 series. Once again, the BSM-1700 to this day still has no
 4   independent clearance on its own.
 5         52.    Nihon Kohden knew that a new 510(k) submission was required for the BSM-
 6   1700, yet intentionally chose not to file one. For example, an internal email amongst
 7   Nihon Kohden personnel and leadership dated December 9, 2014, subject line titled “RE:
 8   Software upgrade: BWM-1700 VO1-10” states:
 9                With these changes I am in agreement that the LTF is
                  appropriate. I remain concerned however that this device
10                needs a catch-up 510(k) as the original introduction of the
                  device raises questions that we would find difficult to defend.
11                The more changes we make to the device the more difficult it
                  will be to indicate why the device does not have an independent
12                clearance.
13   Nihon Kohden’s CEO, Dr. Wilson Constantine, was copied on this email.
14         53.    The BSM-1700 has now been on the market for several years and is used
15   regularly by hospitals and healthcare providers throughout the United States. The BSM-
16   1700 costs approximately $7,560.00 to $7,830.00. This is Nihon Kohden’s highest selling
17   device and is one of its greatest revenue generators.
18         B.     The BSM-3500 Bedside Monitor Series
19         54.    In 2014, Nihon Kohden introduced the BSM-3500—another bedside monitor
20   that, like the BSM-1700, has an internal LTF filed against the BSM-6000 and lacks its
21   own FDA clearance or approval. The BSM-35000 is an all-in-one bedside monitor
22   specifically designed for ambulatory and specialty center use. A true and accurate copy
23   of Nihon Kohden’s marketing brochure for the BSM-3500 is attached hereto as Exhibit F.
24         55.    Compared to the BMS-6000 series, the BSM-3500 had significant changes
25   and modifications to its design, material, energy source, manufacturing process, and its
26   intended use.    A true and accurate copy of Nihon Kohden’s “Bedside Monitor
27   Specification Comparison,” which outlines the differences between the BSM-3500 and
28   the BSM-6000, is attached hereto as Exhibit E.

                                                 14
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 16 of 139 Page ID #:161




 1         56.    As a result, Nihon Kohden was required to file a premarket notification
 2   submission with the FDA seeking independent 510(k) clearance for the BSM-3500 device.
 3   Nihon Kohden was required to demonstrate how—despite these significant changes—the
 4   BSM-3500 was still substantially equivalent to the BSM-6000 series.
 5         57.    To date, Nihon Kohden has failed to file any such submission—and the BSM-
 6   3500 has no FDA approval or clearance. Instead (and as with the BSM-1700), Nihon
 7   Kohden simply filed an internal LTF against its original BSM-6000 series, and introduced
 8   the BSM-3500 into commerce without any premarket clearance/approval. In a letter to
 9   the FDA dated August 25, 2015, Nihon Kohden represented to the FDA that “[t]he BSM-
10   3500 Series models are just additional models of the BSM-6000 Series.” This statement
11   is flat wrong.
12         58.    Nihon Kohden continues to make additional changes to BSM-3500; and with
13   each change, adds another internal LTF to the 6000 series. One LTF is specific to the
14   marketing and release of the BSM-3500, describing it as an equivalent to the BSM-6000
15   series. Future LTFs for software changes and hardware configurations have all been filed
16   against the original 510(k) for the BSM-6000 series (with some software/hardware
17   changes not being LTF’d at all).
18         59.    Like the BSM-1700, the BSM-3500 has been on the market for several years
19   and is now regularly used by healthcare providers across the nation. The BSM-3500 is
20   one of Nihon Kohden’s top selling devices and costs approximately $6,000.
21         C.     Tele-Transmitter(s)
22         60.    In 2005, Nihon Kohden’s ZS-940 transmitter received 510(k) clearance.
23   Since then, Nihon Kohden has released at least ten new devices, each containing
24   substantial changes regarding their hardware, software, user interface, and intended uses.
25   Such devices included: (i) the ZM-540 and ZM-541 (released in 2009); (ii) the ZM-520,
26   ZM 521, ZM-530, and ZM-531 (released in 2011), and ZM-530, ZM-531, ZM-540, and
27   ZM-541 (released in 2015). A true and accurate copy of Nihon Kohden’s marketing
28   brochure for its tele-transmitter devices is attached hereto as Exhibit G.

                                                 15
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 17 of 139 Page ID #:162




 1         61.   These new devices are completely different compared to the original ZS-940.
 2   As such, each of these new devices required their own separate 510(k) clearance. But
 3   instead, Nihon Kohden simply added an internal LTF against its original ZS-940 device
 4   (which received clearance back in 2005). None of the new devices were submitted or
 5   reviewed by the FDA, but were nevertheless introduced marketed, distributed and sold by
 6   Nihon Kohden.
 7         62.   The following chart illustrates this timeline:
 8
 9
10
11
12
13
14
15
16
17
18
           63.   These tele-transmitter devices cost approximately $3,000 per transmitter,
19
     depending on the model and feature set. However, telemetry transmitters also require a
20
     receiver device which cost another $12,000 - $14,000 per device. Telemetry transmitters
21
     are some of the most popular devices sold, exceeding the volume of bedside monitor sales.
22
     These devices make up a substantial portion of Nihon Kohden’s annual revenue.
23
           D.    The Remote Network Station (RNS-9703)
24
           64.   In 2010, Nihon Kohden obtained 510(k) clearance for its CNS-6200/6201
25
     Central Nurse Station. The devices were cleared for use to provide cardiac and vital signs
26
     monitoring for multiple patients within a medical facility. The CNS-6200/6201 displays
27
     and records physiological data from individual bedside monitors and/or telemetry received
28

                                                16
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 18 of 139 Page ID #:163




 1   transmitters and mimics an alarm when a measured parameter falls outside a preset limit.
 2   A true and accurate copy of Nihon Kohden’s marketing brochure for its CNS-6201 is
 3   attached hereto as Exhibit H.
 4         65.    In 2014, Nihon Kohden introduced the remote network station, RNS-9703,
 5   which provides for secondary monitoring of up to sixteen patients who are centrally
 6   monitored on a CNS. A true and accurate copy of Nihon Kohden’s marketing brochure
 7   for its RNS-9703 is attached hereto as Exhibit I.
 8         66.    Compared to the CNS, the RNS has significant changes and modifications to
 9   its design, material, energy source, manufacturing process, and its intended use. For
10   example, the CNS serves as the primary monitoring station for all BSM-
11   6000s/1700s/3000s and tele-transmitters, allowing hospitals’ nurses to view and monitor
12   patients remotely (typically from a nurse station), and stores patient data on a hard drive.
13   In contrast, the RNS is an independent viewing station with different hardware and
14   software and which requires an “RNS Server” on the network to enable the devices overall
15   functionally. Unlike the CNS, no data is stored on the RNS, and such data is displayed in
16   real-time.
17         67.    Given these significant changes and modifications, Nihon Kohden was
18   required to file a premarket notification submission with the FDA seeking independent
19   510(k) clearance for the RNS. Nihon Kohden was required to demonstrate how—despite
20   these significant changes—the RNS was still substantially equivalent to the CNS. To date,
21   Nihon Kohden has failed to file any such submission. Instead, Nihon Kohden introduced
22   the RNS-9703 as an “accessory” to the CNS as a means to circumvent the 510(k) approval
23   process. Rather than submit a 510(k) for the RNS, Nihon Kohden simply added an internal
24   LTF to its CNS file, and introduced the BSM-1700 into commerce without any premarket
25   clearance/approval.
26         68.    The RNS has now been on the market for eight years and costs approximately
27   $7,350. Approximately 200 – 250 RNS units are sold annually.
28

                                                 17
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 19 of 139 Page ID #:164




 1         E.     The Central Nurse Stations (CNS-6200/6201)
 2         69.    As stated in Section VI.D supra, Nihon Kohden obtained 510(k) clearance
 3   for the CNS-6200/6201 Central Nurse Station devices in 2010. These devices were
 4   cleared for use to provide cardiac and vital signs monitoring for multiple patients within a
 5   medical facility. The devices display and record physiological data from individual
 6   bedside monitors and/or telemetry received transmitters and mimics an alarm when a
 7   measured parameter falls outside a preset limit. See Exhibit H. The predicate device was
 8   the CNS-9701, which received 510(k) clearance in 2002.
 9         70.    Since 2010, the CNS-6200/6201 devices have undergone significant
10   software, design, and functionality changes. In their current form, the CNS-6200/6201
11   devices are entirely different products than the devices that received 510(k) clearance in
12   2010. In fact, due to the significant changes, the CNS-6200/6201 devices have suffered
13   from numerous defects and malfunctions, causing customer complaints and (in some
14   cases) product recalls.
15         71.    Due to these significant changes and modifications, Nihon Kohden was
16   required to file a premarket notification submission with the FDA seeking an updated,
17   “catch-up” 510(k) clearance for these altered devices. But instead, Nihon Kohden simply
18   added an internal LTF for all of these changes. None of these changes were submitted or
19   reviewed by the FDA, yet Nihon Kohden nevertheless introduced marketed, distributed
20   and sold the adulterated/misbranded devices. To this day, Nihon Kohden is still marketing
21   and selling these devices without an updated, catch-up 510(k) clearance.
22         72.    In addition, Nihon Kohden has manufactured and released entirely new CNS
23   devices that have no 510(k) clearance at all. For example, in 2018, Nihon Kohden released
24   the CNS-6801 device. Nihon Kohden describes the devices as “the successor of the CNS-
25   6201A Central Station and offers the robust features of this product plus additional
26   improvements.” The differences include: (i) different operating system; (ii) different
27   dimensions and weight; (iii) different processor; (iv) different memory; (v) different
28   display; and (vi) different graphic user interface support. The CNS-6801 device does not

                                                 18
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 20 of 139 Page ID #:165




 1   have its own, independent 510(k).
 2          73.    The CNS-6200/6201 devices have been on the market for eight years and
 3   costs approximately $40,000 and an estimated 200 – 250 units are sold annually.
 4          F.     The Life Scope G9 Bedside Monitor (CSM-1901)
 5          74.    Nihon Kohden describes its Life Scope G9 Bedside Monitor (a/k/a the CSM-
 6   1901) as a “full-featured system” that “provides comprehensive parameter monitoring
 7   with   data   storage,   including   multi-wave-form/multi-parameter      full   disclosure,
 8   comprehensive arrhythmia and ST segment analysis.” Nihon Kohden, Life Scope G9
 9   Bedside Monitor, available at https://us.nihonkohden.com/products/life-scope-g9-
10   bedside-monitor/. A true and accurate copy of Nihon Kohden’s marketing brochure for
11   the G9 Bedside Monitor is attached hereto as Exhibit J.
12          75.    The G9 Bedside Monitor received 510(k) clearance back in 2015. Since then,
13   it has undergone substantial changes regarding its hardware, software, user interface, and
14   intended use. Such changes, include, but are not limited to, unilaterally adding accessories
15   to the G9 Bedside Monitor, removing the display speaker detection/notification function,
16   continuously changing and upgrading the device’s software, and revising the device’s
17   operating manual.
18          76.    Given these significant changes and modifications, Nihon Kohden was
19   required to file a premarket notification submission with the FDA seeking an updated,
20   “catch-up” 510(k) clearance for the G9 Bedside Monitor. But instead, Nihon Kohden
21   simply added an internal LTF for all of these changes. None of these changes were
22   submitted or reviewed by the FDA, yet Nihon Kohden nevertheless introduced marketed,
23   distributed and sold the adulterated/misbranded G9 Bedside Monitor. To this day, Nihon
24   Kohden is still marketing and selling the G9 Bedside Monitor without an updated, catch-
25   up 510(k) clearance.
26          77.      The G9 Bedside Monitor has been on the market for over three years and
27   costs approximately $20,000 and an estimated 250 – 350 units are sold annually.
28

                                                 19
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 21 of 139 Page ID #:166




 1         G.    The NetKonnect Remote Monitor (QP-983P)
 2         78.   Nihon Kohden’s NetKonnect Remote Monitor (a/k/a QP-983P) allows users
 3   to “review real-time patient data from any PC in the hospital or online via a secure Web
 4   browser.” Nihon Kohden, NetKonnect, available at https://us.nihonkohden.com/products
 5   /netkonnect/. “Just like a monitor, the NetKonnect interface shows clear waveforms and
 6   patient data—12-lead ECG, full disclosure ECG, arrhythmia and ST recall, trends and
 7   other information.” Id. A true and accurate copy of Nihon Kohden’s marketing brochure
 8   for the NetKonnect Remote Monitor is attached hereto as Exhibit K.
 9         79.   The NetkKonnect Remote Monitor received 510(k) clearance in 2011. Since
10   then, it has undergone substantial changes regarding it software, user interface,
11   functionality, and intended use. Such changes, include, but are not limited to, increasing
12   the number of supported beds from 1000 to 2000, adding new features to the device, and
13   continuously changing and upgrading the device’s software.
14         80.   Given these significant changes and modifications, Nihon Kohden was
15   required to file a premarket notification submission with the FDA seeking an updated,
16   “catch-up” 510(k) clearance for the NetKonnect Remote Monitor. But instead, Nihon
17   Kohden simply added an internal LTF for all of these changes. None of these changes
18   were submitted or reviewed by the FDA, yet Nihon Kohden nevertheless introduced
19   marketed, distributed and sold the adulterated/misbranded NetKonnect Remote Monitor.
20   To this day, Nihon Kohden is still marketing and selling the NetKonnect Remote Monitor
21   without an updated, catch-up 510(k) clearance.
22         81.      The NetKonnect Remote Monitor has been on the market for over seven
23   years and costs approximately $20,000 (plus license fee).
24         H.    The ViTrac Mobile Application
25         82.   The ViTrac Mobile Application is a mobile application (“app”) that “provides
26   a secure method for monitoring and viewing a wide range of Nihon Kohden generated
27   patient data.” Nihon Kohden, ViTrac, available at https://us.nihonkohden.com/products/
28   vitrac/. “Patient data can be viewed in real-time on Apple’s mobile iOS devices within

                                                20
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 22 of 139 Page ID #:167




 1   the hospital network or remotely, via a VPN connection.” Id. According to Nihon, “[t]he
 2   mobile application provides a robust and easy to use interface which allows users to see
 3   current waveforms, vital signs, stored data and much more.” Id.
 4         83.    The ViTrac Mobile Application is the type of mobile app on which the FDA
 5   expressly focusses its regulatory oversight. In particular, the FDA has stated that such
 6   mobile applications that are used “in active patient monitoring” or for analyzing medical
 7   data must comply with federal rules and regulations. Mobile Medical Applications:
 8   Guidance for Industry and Food and Drug Administration Staff, U.S. Dep’t of Health and
 9   Human Services Food and Drug Administration (Feb. 9, 2015), available at
10   https://www.fda.gov/downloads/MedicalDevices/DeviceRegulationandGuidance/Guidan
11   ceDocuments/UCM263366.pdf. This includes mobile applications that provide a “remote
12   display of data from bedside monitors”—indeed, “mobile medical apps that display
13   medical data to perform active patient monitoring such as bedside monitors are subject to
14   regulations associated with such devices.” Id. at 14. That is because these mobile
15   applications “are medical devices whose functionality could pose a risk to a patient’s
16   safety if the mobile app were to not function as intended.” Id. at 4.
17         84.    As a device used in active patient monitoring and for analyzing medical data,
18   the ViTrac Mobile Application is subject to the same federal rules and regulations as those
19   medical devices that transmit data to the app. If the ViTrac Mobile Application were to
20   not function as intended, patients would be subject to great risk. As a result, Nihon Kohden
21   was required to file a premarket notification submission with the FDA seeking 510(k)
22   clearance for the ViTrac Mobile Application
23         85.    To date, however, the ViTrac Mobile Application has no 510(k) clearance
24   and has undergone no FDA review.        Instead, Nihon Kohden simply added an internal
25   document to its files, stating that the ViTrac Mobile Application was not used in active
26   patient monitoring and, therefore, did not need 510(k) clearance. This determination is
27   wrong because the ViTrac Mobile Application is in fact used in active patient monitoring.
28         86.    In addition, the ViTrac Mobile Application has undergone significant

                                                 21
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 23 of 139 Page ID #:168




 1   software, design, and functionality changes, as well as revisions to the app’s operating
 2   manual. Despite these changes, Nihon Kohden never sought 510(k) clearance for the
 3   ViTrac Mobile Application. To this day, Nihon Kohden is still marketing and selling the
 4   ViTrac Mobile Application without any 510(k) clearance whatsoever.
 5         87.       The Vitrac Mobile Application costs approximately $20,000 (plus
 6   license fee).
 7                                     *     *      *     *      *
 8         88.       With respect to all of these devices, Nihon Kohden knew that the Monitoring
 9   Devices either did not have the same intended use as their predicates (including off-label
10   uses), had different technological characteristics (including significant hardware and
11   software alterations), raised safety and efficacy issues, and—in many cases—lacked
12   510(k) clearance altogether. As a result, the Monitoring Devices all needed their own
13   independent 510(k) clearance (if not a wholly new and separate FDA premarket approval)
14   or an updated, catch-up 510(k). Nihon Kohden did neither, yet still introduced the
15   Monitoring Devices into interstate commerce.
16         89.       Nihon Kohden has received multiple complaints from consumers regarding
17   these Monitoring Devices. For example, Nihon Kohden has received constant complaints
18   of communication losses amongst devices, where patient data and information is not being
19   reported from device to device. Nihon Kohden has also received complaints about devices
20   failing due to software upgrades. This is because Nihon Kohden rushes its Monitoring
21   Devices to market without first conducting adequate testing.
22         90.       For example, upon information and belief, when Nihon Kohden sold and
23   installed Monitoring Devices that subsequently failed at the Trinity Health St. Alphonsus
24   Medical Center in Boise, Idaho, a hospital representative complained that Nihon Kohden
25   had used St. Alphonsus as a “guinea pig” for its untested Monitoring Devices.
26         91.       Another example, upon further information and belief, a patient at a hospital
27   in Pennsylvania reportedly died because a ZM series tele-transmitter that was monitoring
28   the patient’s vitals failed to alarm when the patient’s condition became critical. A civil

                                                   22
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 24 of 139 Page ID #:169




 1   action against the hospital has been filed on behalf of the decedent’s estate.
 2          92.   Because these devices are all adulterated/misbranded/off-label, Nihon
 3   Kohden never once submitted any of these complaints to the FDA. Had Nihon Kohden
 4   done so, it would have notified the FDA that it was marketing and distributing
 5   adulterated/misbranded/off-label devices. As a result, numerous consumer complaints go
 6   unreported each year.
 7          93.   In fact, Nihon Kohden has even recalled several Monitoring Devices in
 8   response to consumer complaints. For example, one significant recall in 2016 was against
 9   the RNS-9703 product—which never received 510(k) clearance, only an internal LTF.
10   But once again, because these Monitoring Devices are all adulterated/misbranded/off-
11   label and not filed with the FDA, these recalls go unreported as well.
12          94.   This type of fraud has been occurring at Nihon Kohden for many years and
13   is pervasive across its entire business. Multiple employees, including Relators, have
14   voiced concerns about the LTF process to Nihon Kohden’s leadership. Mr. Finch has
15   reported these specific issues to Nihon Kohden’s Vice President of Human Resources,
16   who wholly ignored this issue and declined to perform any investigation into the various
17   adulterated/misbranded/off-label devices. In many research and development meetings,
18   various product managers and senior engineers would also state that alterations of these
19   devices require new 510(k) submissions with the FDA, rather than an internal LTF. All
20   of these concerns have been ignored, and Nihon Kohden still continues its fraud to this
21   day.
22          95.   As further evidence of this corporate-wide fraud, Nihon Kohden has gone
23   through 4–5 Directors of Quality Assurance in the past 5 years. Upon information and
24   belief, the current Director of Quality Assurance resigned in October 2018 after raising
25   concerns over the several thousands of product complaints that have gone unreported to
26   the FDA and about Nihon Kohden’s non-compliance with the 510(k) process. Upon
27   information and belief, the Director stated that she “was not going to jail for this
28   company.”

                                                  23
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 25 of 139 Page ID #:170




 1         96.    At all relevant times, Nihon Kohden knew that the Government routinely paid
 2   hospitals for their use of the Monitoring Devices. Thus, Nihon Kohden knew that the
 3   Government would receive numerous claims for reimbursement for their Monitoring
 4   Devices. Nihon Kohden also knew that the fact that the Monitoring Devices were
 5   adulterated/misbranded/off-label was material to the Government’s (including all federal
 6   and state funded healthcare programs) payment decisions. Had the Government known
 7   that the Monitoring Devices were adulterated/misbranded/off-label and lacked FDA
 8   clearance, the Government would not have paid the reimbursement claims. Consequently,
 9   every claim presented to the Government for use of a Monitoring Device was a false claim,
10   and each claim was knowingly caused by Nihon Kohden.
11         97.    The damages incurred by the Government as a result of the foregoing fraud
12   are substantial. This fraud impacts all Government agencies that made any payment for
13   use of a Monitoring Device, including all reimbursement claims paid by federal and state
14   healthcare programs, as well as all payments made pursuant to any federal defense
15   contracts. Relators estimate that, since 2012, the Government has improperly paid tens of
16   millions of dollars in false claims for the adulterated/misbranded/off-label Monitoring
17   Devices.
18                                         COUNT ONE
19                       VIOLATION OF THE FALSE CLAIMS ACT
20                                   31 U.S.C. § 3729(a)(1)(A)
21         98.    Relators incorporate by reference the allegations set forth in the foregoing
22   paragraphs as though fully set forth herein.
23         99.    As set forth above, from at least 2012 through the present, Defendants
24   presented false or fraudulent claims for payment, or knowingly caused false or fraudulent
25   claims for payment to be presented, to officials of the United States Government in
26   violation of 31 U.S.C. § 3729(a)(1)(A).
27         100. By virtue of the false or fraudulent claims submitted or caused to be submitted
28   by Defendants, the United States suffered actual damages and therefore is entitled to

                                                    24
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 26 of 139 Page ID #:171




 1   multiple damages under the False Claims Act, to be determined at trial, plus a civil penalty
 2   for each violation.
 3                                          COUNT TWO
 4                         VIOLATION OF THE FALSE CLAIMS ACT
 5                                   31 U.S.C. § 3729(a)(1)(B)
 6         101. Relators incorporate by reference the allegations set forth in the foregoing
 7   paragraphs as though fully set forth herein.
 8         102. As set forth above, from at least 2012 through the present, Defendants
 9   knowingly made, used, or caused to be made or used false records or statements material
10   to false or fraudulent claims in violation of 31 U.S.C. § 3729(a)(1)(B). Defendants
11   knowingly and falsely certified that its claims for reimbursement complied with all
12   applicable laws and regulations.
13         103. By virtue of the false or fraudulent claims submitted or caused to be submitted
14   by Defendants, the United States suffered actual damages and therefore is entitled to
15   multiple damages under the False Claims Act, to be determined at trial, plus a civil penalty
16   for each violation.
17                                         COUNT THREE
18                         VIOLATION OF THE FALSE CLAIM ACT
19                                      31 U.S.C. 3729(a)(1)(C)
20         104. Relators incorporate by reference the allegations set forth in the foregoing
21   paragraphs as through fully set forth herein.
22         105. As set forth above, from at least 2012 through the present, Defendants
23   knowingly conspired to commit a violation of the False Claims Act in violation of 31
24   U.S.C. §3729(a)(1)(C).
25         106. By virtue of the false or fraudulent claims submitted or caused to be submitted
26   by Defendants, the United States suffered actual damages and therefore is entitled to
27   multiple damages under the False Claims Act, to be determined at trial, plus a civil penalty
28   for each violation.

                                                    25
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 27 of 139 Page ID #:172




 1                                         COUNT FOUR
 2     VIOLATION OF THE ALASKA MEDICAL ASSISTANCE FALSE CLAIMS
 3                                    AND REPORTING ACT
 4                                ALASKA STAT. § 09.58.010(a)(1)
 5         107. Relators incorporate by reference the allegations set forth in the foregoing
 6   paragraphs as though fully set forth herein.
 7         108. This is a claim for penalties and treble damages under the Alaska Medical
 8   Assistance False Claims and Reporting Act.
 9         109. As set forth above, from at least 2011 through the present, Defendants
10   knowingly presented or caused to be presented to the State of Alaska false or fraudulent
11   claims for payment or approval in violation of Alaska Stat. § 09.58.010(a)(1).
12         110. By virtue of the false or fraudulent claims submitted or caused to be submitted
13   by Defendants, the State of Alaska suffered actual damages and therefore is entitled to
14   multiple damages under the Alaska Medical Assistance False Claims and Reporting Act,
15   to be determined at trial, plus a civil penalty for each violation.
16                                          COUNT FIVE
17     VIOLATION OF THE ALASKA MEDICAL ASSISTANCE FALSE CLAIMS
18                                    AND REPORTING ACT
19                                ALASKA STAT. § 09.58.010(a)(2)
20         111. Relators incorporate by reference the allegations set forth in the foregoing
21   paragraphs as though fully set forth herein.
22         112. This is a claim for penalties and treble damages under Alaska Medical
23   Assistance False Claims and Reporting Act.
24         113. As set forth above, from at least 2011 through the present, Defendants
25   knowingly made, used, or caused to be made or used false records or statements material
26   to a false or fraudulent claim submitted to the State of Alaska in violation of in violation
27   of Alaska Stat. § 09.58.010(a)(2).
28         114. By virtue of the false or fraudulent claims submitted or caused to be submitted

                                                    26
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 28 of 139 Page ID #:173




 1   by Defendants, the State of Alaska suffered actual damages and therefore is entitled to
 2   multiple damages under the Alaska Medical Assistance False Claims and Reporting Act,
 3   to be determined at trial, plus a civil penalty for each violation.
 4                                           COUNT SIX
 5     VIOLATION OF THE ALASKA MEDICAL ASSISTANCE FALSE CLAIMS
 6                                    AND REPORTING ACT
 7                                ALASKA STAT. § 09.58.010(a)(3)
 8         115.    Relators incorporate by reference the allegations set forth in the foregoing
 9   paragraphs as though fully set forth herein.
10         116. This is a claim for penalties and treble damages under the Alaska Medical
11   Assistance False Claims and Reporting Act.
12         117. As set forth above, from at least 2011 through the present, Defendants
13   knowingly conspired together to commit violations of the Alaska Medical Assistance
14   False Claims and Reporting Act in violation of Alaska Stat. § 09.58.010(a)(3).
15         118. By virtue of the false or fraudulent claims submitted or caused to be submitted
16   by Defendants, the State of Alaska suffered actual damages and therefore is entitled to
17   multiple damages under the Alaska Medical Assistance False Claims and Reporting Act,
18   to be determined at trial, plus a civil penalty for each violation.
19                                        COUNT SEVEN
20                VIOLATION OF THE CALIFORNIA FALSE CLAIMS ACT
21                                CAL. GOV’T CODE § 12651(A)(1)
22         119. Relators incorporate by reference the allegations set forth in the foregoing
23   paragraphs as though fully set forth herein.
24         120. This is a claim for penalties and treble damages under the California False
25   Claims Act.
26         121. As set forth above, from at least 2011 through the present, Defendants
27   knowingly presented or caused to be presented to the State of California false or fraudulent
28   claims for payment or approval in violation of Cal. Gov’t Code §12651(A)(1).

                                                    27
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 29 of 139 Page ID #:174




 1         122. By virtue of the false or fraudulent claims submitted or caused to be submitted
 2   by Defendants, the State of California suffered actual damages and therefore is entitled to
 3   multiple damages under the California False Claims Act, to be determined at trial, plus a
 4   civil penalty for each violation.
 5                                         COUNT EIGHT
 6                VIOLATION OF THE CALIFORNIA FALSE CLAIMS ACT
 7                                CAL. GOV’T CODE § 12651(A)(2)
 8         123. Relators incorporate by reference the allegations set forth in the foregoing
 9   paragraphs as though fully set forth herein.
10         124. This is a claim for penalties and treble damages under the California False
11   Claims Act.
12         125. As set forth above, from at least 2011 through the present, Defendants
13   knowingly made, used, or caused to be made or used false records or statements material
14   to a false or fraudulent claim submitted to the State of California in violation of in violation
15   of Cal. Gov’t Code §12651(A)(2).
16         126. By virtue of the false or fraudulent claims submitted or caused to be submitted
17   by Defendants, the State of California suffered actual damages and therefore is entitled to
18   multiple damages under the California False Claims Act, to be determined at trial, plus a
19   civil penalty for each violation.
20                                          COUNT NINE
21                VIOLATION OF THE CALIFORNIA FALSE CLAIMS ACT
22                                CAL. GOV’T CODE § 12651(A)(3)
23         127.    Relators incorporate by reference the allegations set forth in the foregoing
24   paragraphs as though fully set forth herein.
25         128. This is a claim for penalties and treble damages under the California False
26   Claims Act.
27         129. As set forth above, from at least 2011 through the present, Defendants
28   knowingly conspired together to commit violations of the California False Claims Act in

                                                    28
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 30 of 139 Page ID #:175




 1   violation of Cal. Gov’t Code §12651(A)(3).
 2         130. By virtue of the false or fraudulent claims submitted or caused to be submitted
 3   by Defendants, the State of California suffered actual damages and therefore is entitled to
 4   multiple damages under the California False Claims Act, to be determined at trial, plus a
 5   civil penalty for each violation.
 6                                           COUNT TEN
 7        VIOLATION OF THE COLORADO MEDICAID FALSE CLAIMS ACT
 8                               COLO. REV. STAT. §25.5-4-305(1)(a)
 9         131. Relators incorporate by reference the allegations set forth in the foregoing
10   paragraphs as though fully set forth herein.
11         132. This is a claim for penalties and treble damages under the Colorado Medicaid
12   False Claims Act.
13         133. As set forth above, from at least 2011 through the present, Defendants
14   knowingly presented or caused to be presented to the State of Colorado false or fraudulent
15   claims for payment or approval in violation of Colo. Rev. Stat. §25.5-4-305(1)(a).
16         134. By virtue of the false or fraudulent claims submitted or caused to be submitted
17   by Defendants, the State of Colorado suffered actual damages and therefore is entitled to
18   multiple damages under the Colorado Medicaid False Claims Act, to be determined at
19   trial, plus a civil penalty for each violation.
20                                        COUNT ELEVEN
21        VIOLATION OF THE COLORADO MEDICAID FALSE CLAIMS ACT
22                               COLO. REV. STAT. §25.5-4-305(1)(b)
23         135. Relators incorporate by reference the allegations set forth in the foregoing
24   paragraphs as though fully set forth herein.
25         136. This is a claim for penalties and treble damages under the Colorado Medicaid
26   False Claims Act.
27         137. As set forth above, from at least 2011 through the present, Defendants
28   knowingly made, used, or caused to be made or used false records or statements material

                                                       29
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 31 of 139 Page ID #:176




 1   to a false or fraudulent claim submitted to the State of Colorado in violation of Colo. Rev.
 2   Stat. §25.5-4-305(1)(b).
 3          138. By virtue of the false or fraudulent claims submitted or caused to be submitted
 4   by Defendants, the State of Colorado suffered actual damages and therefore is entitled to
 5   multiple damages under the Colorado Medicaid False Claims Act, to be determined at
 6   trial, plus a civil penalty for each violation.
 7                                        COUNT TWELVE
 8        VIOLATION OF THE COLORADO MEDICAID FALSE CLAIMS ACT
 9                               COLO. REV. STAT. §25.5-4-305(1)(g)
10          139. Relators incorporate by reference the allegations set forth in the foregoing
11   paragraphs as though fully set forth herein.
12          140. This is a claim for penalties and treble damages under the Colorado Medicaid
13   False Claims Act.
14          141. As set forth above, from at least 2011 through the present, Defendants
15   knowingly conspired together to commit violations of the Colorado Medicaid False
16   Claims Act in violation of Colo. Rev. Stat. §25.5-4-305(1)(g).
17          142. By virtue of the false or fraudulent claims submitted or caused to be submitted
18   by Defendants, the State of Colorado suffered actual damages and therefore is entitled to
19   multiple damages under the Colorado Medicaid False Claims Act, to be determined at
20   trial, plus a civil penalty for each violation.
21                                       COUNT THIRTEEN
22                 VIOLATION OF THE CONNECTICUT FALSE CLAIMS
23                                   CONN GEN. STAT. §4-275(1)
24          143. Relators incorporate by reference the allegations set forth in the foregoing
25   paragraphs as though fully set forth herein.
26          144. This is a claim for penalties and treble damages under the Connecticut False
27   Claims Act.
28          145. As set forth above, from at least 2011 through the present, Defendants

                                                       30
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 32 of 139 Page ID #:177




 1   knowingly presented or caused to be presented to the State of Connecticut false or
 2   fraudulent claims for payment or approval in violation of Conn. Gen. Stat. §4-275(1).
 3         146. By virtue of the false or fraudulent claims submitted or caused to be submitted
 4   by Defendants, the State of Connecticut suffered actual damages and therefore is entitled
 5   to multiple damages under the Connecticut False Claims Act, to be determined at trial,
 6   plus a civil penalty for each violation.
 7                                     COUNT FOURTEEN
 8             VIOLATION OF THE CONNECTICUT FALSE CLAIMS ACT
 9                                  CONN. GEN. STAT. §4-275(2)
10         147. Relators incorporate by reference the allegations set forth in the foregoing
11   paragraphs as though fully set forth herein.
12         148. This is a claim for penalties and treble damages under the Connecticut False
13   Claims Act.
14         149. As set forth above, from at least 2011 through the present, Defendants
15   knowingly made, used, or caused to be made or used false records or statements material
16   to a false or fraudulent claim submitted to the State of Connecticut in violation of Conn.
17   Gen. Stat. §4-275(2).
18         150. By virtue of the false or fraudulent claims submitted or caused to be submitted
19   by Defendants, the State of Connecticut suffered actual damages and therefore is entitled
20   to multiple damages under the Connecticut False Claims Act, to be determined at trial,
21   plus a civil penalty for each violation.
22                                       COUNT FIFTEEN
23             VIOLATION OF THE CONNECTICUT FALSE CLAIMS ACT
24                                  CONN. GEN. STAT. §4-275(3)
25         151. Relators incorporate by reference the allegations set forth in the foregoing
26   paragraphs as though fully set forth herein.
27         152. This is a claim for penalties and treble damages under the Connecticut False
28   Claims Act for Medical Assistance Programs.

                                                    31
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 33 of 139 Page ID #:178




 1          153. As set forth above, from at least 2011 through the present, Defendants
 2   knowingly conspired together to commit violations of the Connecticut False Claims Act
 3   in violation of Conn. Gen. Stat. §4-275(3).
 4          154. By virtue of the false or fraudulent claims submitted or caused to be submitted
 5   by Defendants, the State of Connecticut suffered actual damages and therefore is entitled
 6   to multiple damages under the Connecticut False Claims Act, to be determined at trial,
 7   plus a civil penalty for each violation.
 8                                        COUNT SIXTEEN
 9    VIOLATION OF THE DELAWARE FALSE CLAIMS AND REPORTING ACT
10                                   DEL. CODE ANN. § 1201(a)(1)
11          155. Relators incorporate by reference the allegations set forth in the foregoing
12   paragraphs as though fully set forth herein.
13          156. This is a claim for penalties and treble damages under the Delaware False
14   Claims and Reporting Act.
15          157. As set forth above, from at least 2011 through the present, Defendants
16   knowingly presented or caused to be presented to the State of Delaware false or fraudulent
17   claims for payment or approval in violation of Del. Code Ann. §1201(a)(1)
18          158. By virtue of the false or fraudulent claims submitted or caused to be submitted
19   by Defendants, the State of Delaware suffered actual damages and therefore is entitled to
20   multiple damages under the Delaware False Claims and Reporting Act, to be determined
21   at trial, plus a civil penalty for each violation.
22                                      COUNT SEVENTEEN
23    VIOLATION OF THE DELAWARE FALSE CLAIMS AND REPORTING ACT
24                                   DEL. CODE ANN. §1201(a)(2)
25          159. Relators incorporate by reference the allegations set forth in the foregoing
26   paragraphs as though fully set forth herein.
27          160. This is a claim for penalties and treble damages under the Delaware False
28   Claims and Reporting Act.

                                                    32
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 34 of 139 Page ID #:179




 1          161. As set forth above, from at least 2011 through the present, Defendants
 2   knowingly made, used, or caused to be made or used false records or statements material
 3   to a false or fraudulent claim submitted to the State of Delaware in violation of Del. Code
 4   Ann. §1201(a)(2).
 5          162. By virtue of the false or fraudulent claims submitted or caused to be submitted
 6   by Defendants, the State of Delaware suffered actual damages and therefore is entitled to
 7   multiple damages under the Delaware False Claims and Reporting Act, to be determined
 8   at trial, plus a civil penalty for each violation.
 9
10
11                                       COUNT EIGHTEEN
12    VIOLATION OF THE DELAWARE FALSE CLAIMS AND REPORTING ACT
13                                   DEL. CODE ANN. §1201(a)(3)
14          163. Relators incorporate by reference the allegations set forth in the foregoing
15   paragraphs as though fully set forth herein.
16          164. This is a claim for penalties and treble damages under the Delaware False
17   Claims and Reporting Act.
18          165. As set forth above, from at least 2011 through the present, Defendants
19   knowingly conspired together to commit violations of the Delaware False Claims and
20   Reporting Act in violation of Del. Code Ann. §1201(a)(3).
21          166. By virtue of the false or fraudulent claims submitted or caused to be submitted
22   by Defendants, the State of Delaware suffered actual damages and therefore is entitled to
23   multiple damages under the Delaware False Claims and Reporting Act, to be determined
24   at trial, plus a civil penalty for each violation.
25                                       COUNT NINETEEN
26       VIOLATION OF THE DISTRICT OF COLUMBIA FALSE CLAIMS ACT
27                                    D.C. CODE §2-381.02(a)(1)
28          167. Relators incorporate by reference the allegations set forth in the foregoing

                                                    33
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 35 of 139 Page ID #:180




 1   paragraphs as though fully set forth herein.
 2          168. This is a claim for penalties and treble damages under the District of
 3   Columbia False Claims Act.
 4          169. As set forth above, from at least 2011 through the present, Defendants
 5   knowingly presented or caused to be presented to the District of Columbia false or
 6   fraudulent claims for payment or approval in violation of D.C. Code. §2-381.02(a)(1).
 7          170. By virtue of the false or fraudulent claims submitted or caused to be submitted
 8   by Defendants, the District of Columbia suffered actual damages and therefore is entitled
 9   to multiple damages under the District of Columbia False Claims Act, to be determined at
10   trial, plus a civil penalty for each violation.
11                                        COUNT TWENTY
12       VIOLATION OF THE DISTRICT OF COLUMBIA FALSE CLAIMS ACT
13                                    D.C. CODE §2-381.02(a)(2)
14          171. Relators incorporate by reference the allegations set forth in the foregoing
15   paragraphs as though fully set forth herein.
16          172. This is a claim for penalties and treble damages under the District of
17   Columbia False Claims Act.
18          173. As set forth above, from at least 2011 through the present, Defendants
19   knowingly made, used, or caused to be made or used false records or statements material
20   to a false or fraudulent claim submitted to the District of Columbia in violation of D.C.
21   Code §2-381.02(a)(2).
22          174. By virtue of the false or fraudulent claims submitted or caused to be submitted
23   by Defendants, the District of Columbia suffered actual damages and therefore is entitled
24   to multiple damages under the District of Columbia False Claims Act, to be determined at
25   trial, plus a civil penalty for each violation.
26
27
28

                                                       34
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 36 of 139 Page ID #:181




 1                                    COUNT TWENTY-ONE
 2       VIOLATION OF THE DISTRICT OF COLUMBIA FALSE CLAIMS ACT
 3                                    D.C. CODE §2-381.02(a)(3)
 4          175. Relators incorporate by reference the allegations set forth in the foregoing
 5   paragraphs as though fully set forth herein.
 6          176. This is a claim for penalties and treble damages under the District of
 7   Columbia False Claims Act.
 8          177. As set forth above, from at least 2011 through the present, Defendants
 9   knowingly conspired together to commit violations of the District of Columbia False
10   Claims Act in violation of D.C. Code §2-381.02(a)(3).
11          178. By virtue of the false or fraudulent claims submitted or caused to be submitted
12   by Defendants, the District of Columbia suffered actual damages and therefore is entitled
13   to multiple damages under the District of Columbia False Claims Act, to be determined at
14   trial, plus a civil penalty for each violation.
15                                    COUNT TWENTY-TWO
16                 VIOLATION OF THE FLORIDA FALSE CLAIMS ACT
17                                     FLA. STAT. §68.082(2)(a)
18          179. Relators incorporate by reference the allegations set forth in the foregoing
19   paragraphs as though fully set forth herein.
20          180. This is a claim for penalties and treble damages under the Florida False
21   Claims Act.
22          181. As set forth above, from at least 2011 through the present, Defendants
23   knowingly presented or caused to be presented to the State of Florida false or fraudulent
24   claims for payment or approval in violation of Fla. Stat. §68.082(2)(a).
25          182. By virtue of the false or fraudulent claims submitted or caused to be submitted
26   by Defendants, the State of Florida suffered actual damages and therefore is entitled to
27   multiple damages under the Florida False Claims Act, to be determined at trial, plus a civil
28   penalty for each violation.

                                                       35
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 37 of 139 Page ID #:182




 1                                 COUNT TWENTY-THREE
 2                 VIOLATION OF THE FLORIDA FALSE CLAIMS ACT
 3                                    FLA. STAT. §68.082(2)(b)
 4         183. Relators incorporate by reference the allegations set forth in the foregoing
 5   paragraphs as though fully set forth herein.
 6         184. This is a claim for penalties and treble damages under the Florida False
 7   Claims Act.
 8         185. As set forth above, from at least 2011 through the present, Defendants
 9   knowingly made, used, or caused to be made or used false records or statements material
10   to a false or fraudulent claim submitted to the State of Florida in violation of Fla. Stat.
11   §68.082(2)(b).
12         186. By virtue of the false or fraudulent claims submitted or caused to be submitted
13   by Defendants, the State of Florida suffered actual damages and therefore is entitled to
14   multiple damages under the Florida False Claims Act, to be determined at trial, plus a civil
15   penalty for each violation.
16                                  COUNT TWENTY-FOUR
17                 VIOLATION OF THE FLORIDA FALSE CLAIMS ACT
18                                    FLA. STAT. §68.082(2)(c)
19         187. Relators incorporate by reference the allegations set forth in the foregoing
20   paragraphs as though fully set forth herein.
21         188. This is a claim for penalties and treble damages under the Florida False
22   Claims Act.
23         189. As set forth above, from at least 2011 through the present, Defendants
24   knowingly conspired together to commit violations of the Florida False Claims Act in
25   violation of Fla. Stat. §68.082(2)(c).
26         190. By virtue of the false or fraudulent claims submitted or caused to be submitted
27   by Defendants, the State of Florida suffered actual damages and therefore is entitled to
28   multiple damages under the Florida False Claims Act, to be determined at trial, plus a civil

                                                    36
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 38 of 139 Page ID #:183




 1   penalty for each violation.
 2                                    COUNT TWENTY-FIVE
 3     VIOLATION OF THE GEORGIA STATE FALSE MEDICAID CLAIMS ACT
 4                                 GA. CODE ANN. §49-4-168.1(a)(1)
 5          191. Relators incorporate by reference the allegations set forth in the foregoing
 6   paragraphs as though fully set forth herein.
 7          192. This is a claim for penalties and treble damages under the Georgia State False
 8   Medicaid Claims Act.
 9          193. As set forth above, from at least 2011 through the present, Defendants
10   knowingly presented or caused to be presented to the State of Georgia false or fraudulent
11   claims for payment or approval in violation of Ga. Code Ann. §49-4-168.1(a)(1).
12          194. By virtue of the false or fraudulent claims submitted or caused to be submitted
13   by Defendants, the State of Georgia suffered actual damages and therefore is entitled to
14   multiple damages under the Georgia State False Medicaid Claims Act, to be determined
15   at trial, plus a civil penalty for each violation.
16                                     COUNT TWENTY-SIX
17     VIOLATION OF THE GEORGIA STATE FALSE MEDICAID CLAIMS ACT
18                                 GA. CODE ANN. §49-4-168.1(a)(2)
19          195. Relators incorporate by reference the allegations set forth in the foregoing
20   paragraphs as though fully set forth herein.
21          196. This is a claim for penalties and treble damages under the Georgia State False
22   Medicaid Claims Act.
23          197. As set forth above, from at least 2011 through the present, Defendants
24   knowingly made, used, or caused to be made or used false records or statements material
25   to a false or fraudulent claim submitted to the State of Georgia in violation of Ga. Code
26   Ann. §49-4-168.1(a)(2).
27          198. By virtue of the false or fraudulent claims submitted or caused to be submitted
28   by Defendants, the State of Georgia suffered actual damages and therefore is entitled to

                                                    37
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 39 of 139 Page ID #:184




 1   multiple damages under the Georgia State False Medicaid Claims Act, to be determined
 2   at trial, plus a civil penalty for each violation.
 3                                   COUNT TWENTY-SEVEN
 4     VIOLATION OF THE GEORGIA STATE FALSE MEDICAID CLAIMS ACT
 5                                GA. CODE ANN. §49-4-168.1(a)(3)
 6          199. Relators incorporate by reference the allegations set forth in the foregoing
 7   paragraphs as though fully set forth herein.
 8          200. This is a claim for penalties and treble damages under the Georgia State False
 9   Medicaid Claims Act.
10          201. As set forth above, from at least 2011 through the present, Defendants
11   knowingly conspired together to commit violations of the Georgia State False Medicaid
12   Claims Act in violation of Ga. Code Ann. §49-4-168.1(a)(3).
13          202. By virtue of the false or fraudulent claims submitted or caused to be submitted
14   by Defendants, the State of Georgia suffered actual damages and therefore is entitled to
15   multiple damages under the Georgia State False Medicaid Claims Act, to be determined
16   at trial, plus a civil penalty for each violation.
17                                   COUNT TWENTY-EIGHT
18                  VIOLATION OF THE HAWAII FALSE CLAIMS ACT
19                                  HAW. REV. STAT. §661-21(a)(1)
20          203. Relators incorporate by reference the allegations set forth in the foregoing
21   paragraphs as though fully set forth herein.
22          204. This is a claim for penalties and treble damages under the Hawaii False
23   Claims Act.
24          205. As set forth above, from at least 2011 through the present, Defendants
25   knowingly presented or caused to be presented to the State of Hawaii false or fraudulent
26   claims for payment or approval in violation of Haw. Rev. Stat. §661.21(a)(1).
27          206. By virtue of the false or fraudulent claims submitted or caused to be submitted
28   by Defendants, the State of Hawaii suffered actual damages and therefore is entitled to

                                                    38
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 40 of 139 Page ID #:185




 1   multiple damages under the Hawaii False Claims Act, to be determined at trial, plus a civil
 2   penalty for each violation.
 3                                   COUNT TWENTY-NINE
 4                 VIOLATION OF THE HAWAII FALSE CLAIMS ACT
 5                                 HAW. REV. STAT. §661-21(a)(2)
 6         207. Relators incorporate by reference the allegations set forth in the foregoing
 7   paragraphs as though fully set forth herein.
 8         208. This is a claim for penalties and treble damages under the Hawaii False
 9   Claims Act.
10         209. As set forth above, from at least 2011 through the present, Defendants
11   knowingly made, used, or caused to be made or used false records or statements material
12   to a false or fraudulent claim submitted to the State of Hawaii in violation of Haw. Rev.
13   Stat. §661-21(a)(2).
14         210. By virtue of the false or fraudulent claims submitted or caused to be submitted
15   by Defendants, the State of Hawaii suffered actual damages and therefore is entitled to
16   multiple damages under the Hawaii False Claims Act, to be determined at trial, plus a civil
17   penalty for each violation.
18                                      COUNT THIRTY
19                 VIOLATION OF THE HAWAII FALSE CLAIMS ACT
20                                 HAW. REV. STAT. §661-21(a)(8)
21         211. Relators incorporate by reference the allegations set forth in the foregoing
22   paragraphs as though fully set forth herein.
23         212. This is a claim for penalties and treble damages under the Hawaii False
24   Claims Act.
25         213. As set forth above, from at least 2011 through the present, Defendants
26   knowingly conspired together to commit violations of the Hawaii False Claims Act in
27   violation of Haw. Rev. Stat. §661-21(a)(8).
28         214. By virtue of the false or fraudulent claims submitted or caused to be submitted

                                                    39
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 41 of 139 Page ID #:186




 1   by Defendants, the State of Hawaii suffered actual damages and therefore is entitled to
 2   multiple damages under the Hawaii False Claims Act, to be determined at trial, plus a civil
 3   penalty for each violation
 4                                     COUNT THIRTY-ONE
 5         VIOLATION OF THE ILLINOIS WHISTLEBLOWER REWARD AND
 6                                       PROTECTION ACT
 7                              740 ILL. COMP. STAT. §175/3(a)(1)(A)
 8          215. Relators incorporate by reference the allegations set forth in the foregoing
 9   paragraphs as though fully set forth herein.
10          216. This is a claim for penalties and treble damages under the Illinois
11   Whistleblower and Protection Act.
12          217. As set forth above, from at least 2011 through the present, Defendants
13   knowingly presented or caused to be presented to the State of Illinois false or fraudulent
14   claims for payment or approval in violation of 740 Ill. Comp. Stat. §175/3(a)(1)(A).
15          218. By virtue of the false or fraudulent claims submitted or caused to be submitted
16   by Defendants, the State of Illinois suffered actual damages and therefore is entitled to
17   multiple damages under the Illinois Whistleblower and Protection Act, to be determined
18   at trial, plus a civil penalty for each violation.
19                                     COUNT THIRTY-TWO
20         VIOLATION OF THE ILLINOIS WHISTLEBLOWER REWARD AND
21                                       PROTECTION ACT
22                              740 ILL. COMP. STAT. §175/3(a)(1)(B)
23          219. Relators incorporate by reference the allegations set forth in the foregoing
24   paragraphs as though fully set forth herein.
25          220. This is a claim for penalties and treble damages under the Illinois
26   Whistleblower and Protection Act.
27          221. As set forth above, from at least 2011 through the present, Defendants
28   knowingly made, used, or caused to be made or used false records or statements material

                                                    40
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 42 of 139 Page ID #:187




 1   to a false or fraudulent claim submitted to the State of Illinois in violation of 740 Ill. Comp.
 2   Stat. §175/3(a)(1)(B).
 3          222. By virtue of the false or fraudulent claims submitted or caused to be submitted
 4   by Defendants, the State of Illinois suffered actual damages and therefore is entitled to
 5   multiple damages under the Illinois Whistleblower and Protection Act, to be determined
 6   at trial, plus a civil penalty for each violation.
 7                                    COUNT THIRTY-THREE
 8         VIOLATION OF THE ILLINOIS WHISTLEBLOWER REWARD AND
 9                                       PROTECTION ACT
10                              740 ILL. COMP. STAT. §175/3(a)(1)(C)
11          223. Relators incorporate by reference the allegations set forth in the foregoing
12   paragraphs as though fully set forth herein.
13          224. This is a claim for penalties and treble damages under the Illinois
14   Whistleblower and Protection Act.
15          225. As set forth above, from at least 2011 through the present, Defendants
16   knowingly conspired together to commit violations of the Illinois Whistleblower and
17   Protection Act in violation of 740 Ill. Comp. Stat. §175/3(a)(1)(C).
18          226. By virtue of the false or fraudulent claims submitted or caused to be submitted
19   by Defendants, the State of Illinois suffered actual damages and therefore is entitled to
20   multiple damages under the Illinois Whistleblower and Protection Act, to be determined
21   at trial, plus a civil penalty for each violation.
22                                    COUNT THIRTY-FOUR
23     VIOLATION OF THE INDIANA FALSE CLAIMS AND WHISTLEBLOWER
24                                       PROTECTION ACT
25                                IND. CODE §5-11-5.5-2(b)(1) & (8)
26          227. Relators incorporate by reference the allegations set forth in the foregoing
27   paragraphs as though fully set forth herein.
28          228. This is a claim for penalties and treble damages under the Indiana False

                                                    41
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 43 of 139 Page ID #:188




 1   Claims and Whistleblower Protection Act.
 2         229. As set forth above, from at least 2011 through the present, Defendants
 3   knowingly presented or caused to be presented to the State of Indiana false or fraudulent
 4   claims for payment or approval in violation of Ind. Code. §5-11-5.5-2(b)(1) & (8).
 5         230. By virtue of the false or fraudulent claims submitted or caused to be submitted
 6   by Defendants, the State of Indiana suffered actual damages and therefore is entitled to
 7   multiple damages under the Indiana False Claims and Whistleblower Protection Act, to be
 8   determined at trial, plus a civil penalty for each violation.
 9                                    COUNT THIRTY-FIVE
10     VIOLATION OF THE INDIANA FALSE CLAIMS AND WHISTLEBLOWER
11                                      PROTECTION ACT
12                               IND. CODE §5-11-5.5-2(b)(2) & (8)
13         231. Relators incorporate by reference the allegations set forth in the foregoing
14   paragraphs as though fully set forth herein.
15         232. This is a claim for penalties and treble damages under the Indiana False
16   Claims and Whistleblower Protection Act.
17         233. As set forth above, from at least 2011 through the present, Defendants
18   knowingly made, used, or caused to be made or used false records or statements material
19   to a false or fraudulent claim submitted to the State of Indiana in violation of Ind. Code
20   §5-11-5.5-2(b)(2) & (8).
21         234. By virtue of the false or fraudulent claims submitted or caused to be submitted
22   by Defendants, the State of Indiana suffered actual damages and therefore is entitled to
23   multiple damages under the Indiana False Claims and Whistleblower Protection Act, to be
24   determined at trial, plus a civil penalty for each violation.
25                                     COUNT THIRTY-SIX
26     VIOLATION OF THE INDIANA FALSE CLAIMS AND WHISTLEBLOWER
27                                      PROTECTION ACT
28                                  IND. CODE §5-11-5.5-2(b)(7)

                                                    42
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 44 of 139 Page ID #:189




 1          235. Relators incorporate by reference the allegations set forth in the foregoing
 2   paragraphs as though fully set forth herein.
 3          236. This is a claim for penalties and treble damages under the Indiana False
 4   Claims and Whistleblower Protection Act.
 5          237. As set forth above, from at least 2011 through the present, Defendants
 6   knowingly conspired together to commit violations of the Indiana False Claims and
 7   Whistleblower Protection Act in violation of Ind. Code §5-11-5.5-2(b)(7).
 8          238. By virtue of the false or fraudulent claims submitted or caused to be submitted
 9   by Defendants, the State of Indiana suffered actual damages and therefore is entitled to
10   multiple damages under the Indiana False Claims and Whistleblower Protection Act, to be
11   determined at trial, plus a civil penalty for each violation.
12                                   COUNT THIRTY-SEVEN
13                   VIOLATION OF THE IOWA FALSE CLAIMS ACT
14                                    IOWA CODE §685.2(1)(a)
15          239. Relators incorporate by reference the allegations set forth in the foregoing
16   paragraphs as though fully set forth herein.
17          240. This is a claim for penalties and treble damages under the Iowa False Claims
18   Act.
19          241. As set forth above, from at least 2011 through the present, Defendants
20   knowingly presented or caused to be presented to the State of Iowa false or fraudulent
21   claims for payment or approval in violation of Iowa Code §685.2(1)(a).
22          242. By virtue of the false or fraudulent claims submitted or caused to be submitted
23   by Defendants, the State of Iowa suffered actual damages and therefore is entitled to
24   multiple damages under the Iowa False Claims Act, to be determined at trial, plus a civil
25   penalty for each violation.
26
27
28

                                                    43
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 45 of 139 Page ID #:190




 1                                  COUNT THIRTY-EIGHT
 2                   VIOLATION OF THE IOWA FALSE CLAIMS ACT
 3                                   IOWA CODE §685.2(1)(b)
 4          243. Relators incorporate by reference the allegations set forth in the foregoing
 5   paragraphs as though fully set forth herein.
 6          244. This is a claim for penalties and treble damages under the Iowa False Claims
 7   Act.
 8          245. As set forth above, from at least 2011 through the present, Defendants
 9   knowingly made, used, or caused to be made or used false records or statements material
10   to a false or fraudulent claim submitted to the State of Iowa in violation of Iowa Code
11   §685.2(1)(b).
12          246. By virtue of the false or fraudulent claims submitted or caused to be submitted
13   by Defendants, the State of Iowa suffered actual damages and therefore is entitled to
14   multiple damages under the Iowa False Claims Act, to be determined at trial, plus a civil
15   penalty for each violation.
16                                   COUNT THIRTY-NINE
17                   VIOLATION OF THE IOWA FALSE CLAIMS ACT
18                                   IOWA CODE §685.2(1)(c)
19          247. Relators incorporate by reference the allegations set forth in the foregoing
20   paragraphs as though fully set forth herein.
21          248. This is a claim for penalties and treble damages under the Iowa False Claims
22   Act.
23          249. As set forth above, from at least 2011 through the present, Defendants
24   knowingly conspired together to commit violations of the Iowa False Claims Act in
25   violation of Iowa Code §685.2(1)(c).
26          250. By virtue of the false or fraudulent claims submitted or caused to be submitted
27   by Defendants, the State of Iowa suffered actual damages and therefore is entitled to
28   multiple damages under the Iowa False Claims Act, to be determined at trial, plus a civil

                                                    44
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 46 of 139 Page ID #:191




 1   penalty for each violation.
 2                                        COUNT FORTY
 3              VIOLATION OF THE LOUISIANA MEDICAL ASSISTANCE
 4                                 PROGRAMS INTEGRITY LAW
 5                                  LA. STAT. ANN. §46:438.3(A)
 6         251. Relators incorporate by reference the allegations set forth in the foregoing
 7   paragraphs as though fully set forth herein.
 8         252. This is a claim for penalties and treble damages under the Louisiana Medical
 9   Assistance Programs Integrity Law.
10         253. As set forth above, from at least 2011 through the present, Defendants
11   knowingly presented or caused to be presented to the State of Louisiana false or fraudulent
12   claims for payment or approval in violation of La. Stat. Ann. §46:438.3(A).
13         254. By virtue of the false or fraudulent claims submitted or caused to be submitted
14   by Defendants, the State of Louisiana suffered actual damages and therefore is entitled to
15   multiple damages under the Louisiana Medical Assistance Programs Integrity Law, to be
16   determined at trial, plus a civil penalty for each violation.
17                                     COUNT FORTY-ONE
18              VIOLATION OF THE LOUISIANA MEDICAL ASSISTANCE
19                                 PROGRAMS INTEGRITY LAW
20                                  LA. STAT. ANN. §46:438.3(B)
21         255. Relators incorporate by reference the allegations set forth in the foregoing
22   paragraphs as though fully set forth herein.
23         256. This is a claim for penalties and treble damages under the Louisiana Medical
24   Assistance Programs Integrity Law.
25         257. As set forth above, from at least 2011 through the present, Defendants
26   knowingly made, used, or caused to be made or used false records or statements material
27   to a false or fraudulent claim submitted to the State of Louisiana in violation of La. Stat.
28   Ann. §46:438.3(B).

                                                    45
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 47 of 139 Page ID #:192




 1         258. By virtue of the false or fraudulent claims submitted or caused to be submitted
 2   by Defendants, the State of Louisiana suffered actual damages and therefore is entitled to
 3   multiple damages under the Louisiana Medical Assistance Programs Integrity Law, to be
 4   determined at trial, plus a civil penalty for each violation.
 5                                    COUNT FORTY-TWO
 6              VIOLATION OF THE LOUISIANA MEDICAL ASSISTANCE
 7                               PROGRAMS INTEGRITY LAW
 8                                  LA. STAT. ANN. §46:438.3(D)
 9         259. Relators incorporate by reference the allegations set forth in the foregoing
10   paragraphs as though fully set forth herein.
11         260. This is a claim for penalties and treble damages under the Louisiana Medical
12   Assistance Programs Integrity Law.
13         261. As set forth above, from at least 2011 through the present, Defendants
14   knowingly conspired together to commit violations of the Louisiana Medical Assistance
15   Programs Integrity Law in violation of La. Stat. Ann. §46:438.3(D).
16         262. By virtue of the false or fraudulent claims submitted or caused to be submitted
17   by Defendants, the State of Louisiana suffered actual damages and therefore is entitled to
18   multiple damages under the Louisiana Medical Assistance Programs Integrity Law, to be
19   determined at trial, plus a civil penalty for each violation.
20                                   COUNT FORTY-THREE
21              VIOLATION OF THE LOUISIANA MEDICAL ASSISTANCE
22                               PROGRAMS INTEGRITY LAW
23                                  LA. STAT. ANN. §46:438.2(A)
24         263. Relators incorporate by reference the allegations set forth in the foregoing
25   paragraphs as though fully set forth herein.
26         264. This is a claim for penalties and treble damages under the Louisiana Medical
27   Assistance Programs Integrity Law.
28         265. As set forth above, from at least 2011 through the present, Defendants

                                                    46
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 48 of 139 Page ID #:193




 1   knowingly solicited, received, offered, and paid remuneration in return for purchasing and
 2   ordering goods for which payment may be made under Louisiana’s Medical Assistance
 3   Program in violation of La. Stat. § 46:438.2(A).
 4         266. By virtue of the false or fraudulent claims submitted or caused to be submitted
 5   by Defendants, the State of Louisiana suffered actual damages and therefore is entitled to
 6   multiple damages under the Louisiana Medical Assistance Programs Integrity Law, to be
 7   determined at trial, plus a civil penalty for each violation.
 8                                       COUNT FORTY-FOUR
 9                 VIOLATION OF THE MARYLAND FALSE CLAIMS ACT
10                         MD. CODE ANN., Health – Gen., §2-602(a)(1)
11         267. Relators incorporate by reference the allegations set forth in the foregoing
12   paragraphs as though fully set forth herein.
13         268. This is a claim for penalties and treble damages under the Maryland False
14   Claims Act.
15         269. As set forth above, from at least 2011 through the present, Defendants
16   knowingly presented or caused to be presented to the State of Maryland false or fraudulent
17   claims for payment or approval in violation of MD. Code Ann., Health – Gen., §2-
18   702(a)(1).
19         270. By virtue of the false or fraudulent claims submitted or caused to be submitted
20   by Defendants, the State of Maryland suffered actual damages and therefore is entitled to
21   multiple damages under the Maryland False Claims Act, to be determined at trial, plus a
22   civil penalty for each violation.
23                                       COUNT FORTY-FIVE
24                 VIOLATION OF THE MARYLAND FALSE CLAIMS ACT
25                         MD. CODE ANN., Health – Gen., §2-602(a)(2)
26         271. Relators incorporate by reference the allegations set forth in the foregoing
27   paragraphs as though fully set forth herein.
28         272. This is a claim for penalties and treble damages under the Maryland False

                                                    47
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 49 of 139 Page ID #:194




 1   Claims Act.
 2         273. As set forth above, from at least 2011 through the present, Defendants
 3   knowingly made, used, or caused to be made or used false records or statements material
 4   to a false or fraudulent claim submitted to the State of Maryland in violation of MD. Code
 5   Ann., Health – Gen., §2-602(a)(2).
 6         274. By virtue of the false or fraudulent claims submitted or caused to be submitted
 7   by Defendants, the State of Maryland suffered actual damages and therefore is entitled to
 8   multiple damages under the Maryland False Claims Act, to be determined at trial, plus a
 9   civil penalty for each violation.
10                                       COUNT FORTY-SIX
11                 VIOLATION OF THE MARYLAND FALSE CLAIMS ACT
12                         MD. CODE ANN., Health – Gen., §2-602(a)(3)
13         275. Relators incorporate by reference the allegations set forth in the foregoing
14   paragraphs as though fully set forth herein.
15         276. This is a claim for penalties and treble damages under the Maryland False
16   Claims Act.
17         277. As set forth above, from at least 2011 through the present, Defendants
18   knowingly conspired together to commit violations of the Maryland False Claims Act in
19   violation of MD Code Ann., Health – Gen., §2-601(a)(3).
20         278. By virtue of the false or fraudulent claims submitted or caused to be submitted
21   by Defendants, the State of Maryland suffered actual damages and therefore is entitled to
22   multiple damages under the Maryland False Claims Act, to be determined at trial, plus a
23   civil penalty for each violation.
24                                   COUNT FORTY-SEVEN
25           VIOLATION OF THE MASSACHUSETTS FALSE CLAIMS ACT
26                             MASS. GEN. LAWS, ch. 12, § 5B(a)(1)
27         279. Relators incorporate by reference the allegations set forth in the foregoing
28   paragraphs as though fully set forth herein.

                                                    48
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 50 of 139 Page ID #:195




 1          280. This is a claim for penalties and treble damages under the Massachusetts
 2   False Claims Act.
 3          281. As set forth above, from at least 2011 through the present, Defendants
 4   knowingly presented or caused to be presented to the Commonwealth of Massachusetts
 5   false or fraudulent claims for payment or approval in violation of Mass. Gen. Laws, ch.
 6   12, §5B(a)(1).
 7          282. By virtue of the false or fraudulent claims submitted or caused to be submitted
 8   by Defendants, the Commonwealth of Maryland suffered actual damages and therefore is
 9   entitled to multiple damages under the Massachusetts False Claims Act, to be determined
10   at trial, plus a civil penalty for each violation.
11                                    COUNT FORTY-EIGHT
12            VIOLATION OF THE MASSACHUSETTS FALSE CLAIMS ACT
13                              MASS. GEN. LAWS, ch. 12, § 5B(a)(2)
14          283. Relators incorporate by reference the allegations set forth in the foregoing
15   paragraphs as though fully set forth herein.
16          284. This is a claim for penalties and treble damages under the Massachusetts
17   False Claims Act.
18          285. As set forth above, from at least 2011 through the present, Defendants
19   knowingly made, used, or caused to be made or used false records or statements material
20   to a false or fraudulent claim submitted to the Commonwealth of Massachusetts in
21   violation of Mass. Gen. Laws, ch. 12, §5B(a)(2).
22          286. By virtue of the false or fraudulent claims submitted or caused to be submitted
23   by Defendants, the Commonwealth of Massachusetts suffered actual damages and
24   therefore is entitled to multiple damages under the Massachusetts False Claims Act, to be
25   determined at trial, plus a civil penalty for each violation.
26
27
28

                                                    49
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 51 of 139 Page ID #:196




 1                                     COUNT FORTY-NINE
 2            VIOLATION OF THE MASSACHUSETTS FALSE CLAIMS ACT
 3                              MASS. GEN. LAWS, ch. 12, § 5B(a)(3)
 4          287. Relators incorporate by reference the allegations set forth in the foregoing
 5   paragraphs as though fully set forth herein.
 6          288. This is a claim for penalties and treble damages under the Massachusetts
 7   False Claims Act.
 8          289. As set forth above, from at least 2011 through the present, Defendants
 9   knowingly conspired together to commit violations of the Massachusetts False Claims Act
10   in violation of Mass. Gen. Laws, ch. 12, §5B(a)(3).
11          290. By virtue of the false or fraudulent claims submitted or caused to be submitted
12   by Defendants, the Commonwealth suffered actual damages and therefore is entitled to
13   multiple damages under the Massachusetts False Claims Act, to be determined at trial,
14   plus a civil penalty for each violation.
15                                          COUNT FIFTY
16         VIOLATION OF THE MICHIGAN MEDICAID FALSE CLAIMS ACT
17                                MICH. COMP. LAWS § 400.607(1)
18          291. Relators incorporate by reference the allegations set forth in the foregoing
19   paragraphs as though fully set forth herein.
20          292. This is a claim for penalties and treble damages under the Michigan Medicaid
21   False Claims Act.
22          293. As set forth above, from at least 2011 through the present, Defendants
23   knowingly presented or caused to be presented to the State of Michigan false or fraudulent
24   claims for payment or approval in violation of Mich. Comp. Laws §400.607(1).
25          294. By virtue of the false or fraudulent claims submitted or caused to be submitted
26   by Defendants, the State of Michigan suffered actual damages and therefore is entitled to
27   multiple damages under the Michigan Medicaid False Claims Act, to be determined at
28   trial, plus a civil penalty for each violation.

                                                       50
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 52 of 139 Page ID #:197




 1                                      COUNT FIFTY-ONE
 2         VIOLATION OF THE MICHIGAN MEDICAID FALSE CLAIMS ACT
 3                                MICH. COMP. LAWS § 400.607(2)
 4          295. Relators incorporate by reference the allegations set forth in the foregoing
 5   paragraphs as though fully set forth herein.
 6          296. This is a claim for penalties and treble damages under the Michigan Medicaid
 7   False Claims Act.
 8          297. As set forth above, from at least 2011 through the present, Defendants
 9   knowingly made, used, or caused to be made or used false records or statements material
10   to a false or fraudulent claim submitted to the State of Michigan in violation of Mich.
11   Comp. Laws §400.607(2).
12          298. By virtue of the false or fraudulent claims submitted or caused to be submitted
13   by Defendants, the State of Michigan suffered actual damages and therefore is entitled to
14   multiple damages under the Michigan Medicaid False Claims Act, to be determined at
15   trial, plus a civil penalty for each violation.
16                                      COUNT FIFTY-TWO
17         VIOLATION OF THE MICHIGAN MEDICAID FALSE CLAIMS ACT
18                                MICH. COMP. LAWS § 400.606(1)
19          299. Relators incorporate by reference the allegations set forth in the foregoing
20   paragraphs as though fully set forth herein.
21          300. This is a claim for penalties and treble damages under the Michigan Medicaid
22   False Claims Act.
23          301. As set forth above, from at least 2011 through the present, Defendants
24   knowingly conspired together to commit violations of the Michigan Medicaid False
25   Claims Act in violation of Mich. Comp. Laws §400.606(1).
26          302. By virtue of the false or fraudulent claims submitted or caused to be submitted
27   by Defendants, the State of Michigan suffered actual damages and therefore is entitled to
28   multiple damages under the Michigan Medicaid False Claims Act, to be determined at

                                                       51
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 53 of 139 Page ID #:198




 1   trial, plus a civil penalty for each violation.
 2                                     COUNT FIFTY-THREE
 3         VIOLATION OF THE MICHIGAN MEDICAID FALSE CLAIMS ACT
 4                                  MICH. COMP. LAWS § 400.604
 5          303. Relators incorporate by reference the allegations set forth in the foregoing
 6   paragraphs as though fully set forth herein.
 7          304. This is a claim for penalties and treble damages under the Michigan Medicaid
 8   False Claims Act.
 9          305. As set forth above, from at least 2011 through the present, Defendants
10   knowingly solicited, offered, and/or received kickbacks or bribes in connection with the
11   furnishing of goods for which payment may be made by the State of Michigan in violation
12   of Mich. Comp. Laws §400.604.
13          306. By virtue of the false or fraudulent claims submitted or caused to be submitted
14   by Defendants, the State of Michigan suffered actual damages and therefore is entitled to
15   multiple damages under the Michigan Medicaid False Claims Act, to be determined at
16   trial, plus a civil penalty for each violation.
17                                      COUNT FIFTY-FOUR
18               VIOLATION OF THE MINNESOTA FALSE CLAIMS ACT
19                                    MINN. STAT. §15C.02(a)(1)
20          307. Relators incorporate by reference the allegations set forth in the foregoing
21   paragraphs as though fully set forth herein.
22          308. This is a claim for penalties and treble damages under the Minnesota False
23   Claims Act.
24          309. As set forth above, from at least 2011 through the present, Defendants
25   knowingly presented or caused to be presented to the State of Minnesota false or fraudulent
26   claims for payment or approval in violation of Minn. Stat. §15C.02(a)(1).
27          310. By virtue of the false or fraudulent claims submitted or caused to be submitted
28   by Defendants, the State of Minnesota suffered actual damages and therefore is entitled to

                                                       52
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 54 of 139 Page ID #:199




 1   multiple damages under the Minnesota False Claims Act, to be determined at trial, plus a
 2   civil penalty for each violation.
 3                                       COUNT FIFTY-FIVE
 4               VIOLATION OF THE MINNESOTA FALSE CLAIMS ACT
 5                                   MINN. STAT. §15C.02(a)(2)
 6         311. Relators incorporate by reference the allegations set forth in the foregoing
 7   paragraphs as though fully set forth herein.
 8         312. This is a claim for penalties and treble damages under the Minnesota False
 9   Claims Act.
10         313. As set forth above, from at least 2011 through the present, Defendants
11   knowingly made, used, or caused to be made or used false records or statements material
12   to a false or fraudulent claim submitted to the State of Minnesota in violation of Minn.
13   Stat. §15C.02(a)(2).
14         314. By virtue of the false or fraudulent claims submitted or caused to be submitted
15   by Defendants, the State of Minnesota suffered actual damages and therefore is entitled to
16   multiple damages under the Minnesota False Claims Act, to be determined at trial, plus a
17   civil penalty for each violation.
18                                       COUNT FIFTY-SIX
19               VIOLATION OF THE MINNESOTA FALSE CLAIMS ACT
20                                   MINN. STAT. §15C.02(a)(3)
21         315. Relators incorporate by reference the allegations set forth in the foregoing
22   paragraphs as though fully set forth herein.
23         316. This is a claim for penalties and treble damages under the Minnesota False
24   Claims Act.
25         317. As set forth above, from at least 2011 through the present, Defendants
26   knowingly conspired together to commit violations of the Minnesota False Claims Act in
27   violation of Minn. Stat. §15C.02(a)(3).
28         318. By virtue of the false or fraudulent claims submitted or caused to be submitted

                                                    53
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 55 of 139 Page ID #:200




 1   by Defendants, the State of Minnesota suffered actual damages and therefore is entitled to
 2   multiple damages under the Minnesota False Claims Act, to be determined at trial, plus a
 3   civil penalty for each violation.
 4                                       COUNT FIFTY-SEVEN
 5                 VIOLATION OF THE MONTANA FALSE CLAIMS ACT
 6                              MONT. CODE ANN. §17-8-403(1)(a)
 7         319. Relators incorporate by reference the allegations set forth in the foregoing
 8   paragraphs as though fully set forth herein.
 9         320. This is a claim for penalties and treble damages under the Montana False
10   Claims Act.
11         321. As set forth above, from at least 2011 through the present, Defendants
12   knowingly presented or caused to be presented to the State of Montana false or fraudulent
13   claims for payment or approval in violation of Mont. Code Ann. §17-8-403(1)(a).
14         322. By virtue of the false or fraudulent claims submitted or caused to be submitted
15   by Defendants, the State of Montana suffered actual damages and therefore is entitled to
16   multiple damages under the Montana False Claims Act, to be determined at trial, plus a
17   civil penalty for each violation.
18                                       COUNT FIFTY-EIGHT
19                 VIOLATION OF THE MONTANA FALSE CLAIMS ACT
20                              MONT. CODE ANN. §17-8-403(1)(b)
21         323. Relators incorporate by reference the allegations set forth in the foregoing
22   paragraphs as though fully set forth herein.
23         324. This is a claim for penalties and treble damages under the Montana False
24   Claims Act.
25         325. As set forth above, from at least 2011 through the present, Defendants
26   knowingly made, used, or caused to be made or used false records or statements material
27   to a false or fraudulent claim submitted to the State of Montana in violation of Mont. Code.
28   Ann. §17-8-403(1)(b).

                                                    54
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 56 of 139 Page ID #:201




 1         326. By virtue of the false or fraudulent claims submitted or caused to be submitted
 2   by Defendants, the State of Montana suffered actual damages and therefore is entitled to
 3   multiple damages under the Montana False Claims Act, to be determined at trial, plus a
 4   civil penalty for each violation.
 5                                       COUNT FIFTY-NINE
 6                 VIOLATION OF THE MONTANA FALSE CLAIMS ACT
 7                              MONT. CODE ANN. §17-8-403(1)(c)
 8         327. Relators incorporate by reference the allegations set forth in the foregoing
 9   paragraphs as though fully set forth herein.
10         328. This is a claim for penalties and treble damages under the Montana False
11   Claims Act.
12         329. As set forth above, from at least 2011 through the present, Defendants
13   knowingly conspired together to commit violations of the Montana False Claims Act in
14   violation of Mont. Code Ann. §17-8-403(1)(c).
15         330. By virtue of the false or fraudulent claims submitted or caused to be submitted
16   by Defendants, the State of Montana suffered actual damages and therefore is entitled to
17   multiple damages under the Montana False Claims Act, to be determined at trial, plus a
18   civil penalty for each violation.
19                                         COUNT SIXTY
20                 VIOLATION OF THE NEVADA FALSE CLAIMS ACT
21                                NEV. REV. STAT. §357.040(1)(a)
22         331. Relators incorporate by reference the allegations set forth in the foregoing
23   paragraphs as though fully set forth herein.
24         332. This is a claim for penalties and treble damages under the Nevada False
25   Claims Act.
26         333. As set forth above, from at least 2011 through the present, Defendants
27   knowingly presented or caused to be presented to the State of Nevada false or fraudulent
28   claims for payment or approval in violation of Nev. Rev. Stat. §357.040(1)(a).

                                                    55
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 57 of 139 Page ID #:202




 1         334. By virtue of the false or fraudulent claims submitted or caused to be submitted
 2   by Defendants, the State of Nevada suffered actual damages and therefore is entitled to
 3   multiple damages under the Nevada False Claims Act, to be determined at trial, plus a
 4   civil penalty for each violation.
 5                                       COUNT SIXTY-ONE
 6                 VIOLATION OF THE NEVADA FALSE CLAIMS ACT
 7                                NEV. REV. STAT. §357.040(1)(b)
 8         335. Relators incorporate by reference the allegations set forth in the foregoing
 9   paragraphs as though fully set forth herein.
10         336. This is a claim for penalties and treble damages under the Nevada False
11   Claims Act.
12         337. As set forth above, from at least 2011 through the present, Defendants
13   knowingly made, used, or caused to be made or used false records or statements material
14   to a false or fraudulent claim submitted to the State of Nevada in violation of Nev. Rev.
15   Stat. §357.040(1)(b).
16         338. By virtue of the false or fraudulent claims submitted or caused to be submitted
17   by Defendants, the State of Nevada suffered actual damages and therefore is entitled to
18   multiple damages under the Nevada False Claims Act, to be determined at trial, plus a
19   civil penalty for each violation.
20                                       COUNT SIXTY-TWO
21                 VIOLATION OF THE NEVADA FALSE CLAIMS ACT
22                                NEV. REV. STAT. §357.040(1)(i)
23         339. Relators incorporate by reference the allegations set forth in the foregoing
24   paragraphs as though fully set forth herein.
25         340. This is a claim for penalties and treble damages under the Nevada False
26   Claims Act.
27         341. As set forth above, from at least 2011 through the present, Defendants
28   knowingly conspired together to commit violations of the Nevada False Claims Act in

                                                    56
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 58 of 139 Page ID #:203




 1   violation of Nev. Rev. Stat. §357.040(1)(i).
 2          342. By virtue of the false or fraudulent claims submitted or caused to be submitted
 3   by Defendants, the State of Nevada suffered actual damages and therefore is entitled to
 4   multiple damages under the Nevada False Claims Act, to be determined at trial, plus a
 5   civil penalty for each violation.
 6                                     COUNT SIXTY-THREE
 7              VIOLATION OF THE NEW HAMPSHIRE FALSE CLAIMS ACT
 8                              N.H. REV. STAT. ANN. §167:61-b(I)(a)
 9          343. Relators incorporate by reference the allegations set forth in the foregoing
10   paragraphs as though fully set forth herein.
11          344. This is a claim for penalties and treble damages under the New Hampshire
12   False Claims Act.
13          345. As set forth above, from at least 2011 through the present, Defendants
14   knowingly presented or caused to be presented to the State of New Hampshire false or
15   fraudulent claims for payment or approval in violation of N.H. Rev. Stat. Ann. §167:61-
16   b(I)(a).
17          346. By virtue of the false or fraudulent claims submitted or caused to be submitted
18   by Defendants, the State of New Hampshire suffered actual damages and therefore is
19   entitled to multiple damages under the New Hampshire False Claims Act, to be determined
20   at trial, plus a civil penalty for each violation.
21                                       COUNT SIXTY-FOUR
22              VIOLATION OF THE NEW HAMPSHIRE FALSE CLAIMS ACT
23                              N.H. REV. STAT. ANN. §167:61-b(I)(b)
24          347. Relators incorporate by reference the allegations set forth in the foregoing
25   paragraphs as though fully set forth herein.
26          348. This is a claim for penalties and treble damages under the New Hampshire
27   False Claims Act.
28          349. As set forth above, from at least 2011 through the present, Defendants

                                                    57
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 59 of 139 Page ID #:204




 1   knowingly made, used, or caused to be made or used false records or statements material
 2   to a false or fraudulent claim submitted to the State of New Hampshire in violation of N.H.
 3   Rev. Stat. Ann. §167:61-b(I)(b).
 4          350. By virtue of the false or fraudulent claims submitted or caused to be submitted
 5   by Defendants, the State of New Hampshire suffered actual damages and therefore is
 6   entitled to multiple damages under the New Hampshire False Claims Act, to be determined
 7   at trial, plus a civil penalty for each violation.
 8                                      COUNT SIXTY-FIVE
 9            VIOLATION OF THE NEW HAMPSHIRE FALSE CLAIMS ACT
10                              N.H. REV. STAT. ANN. §167:61-b(I)(c)
11          351. Relators incorporate by reference the allegations set forth in the foregoing
12   paragraphs as though fully set forth herein.
13          352. This is a claim for penalties and treble damages under the New Hampshire
14   False Claims Act.
15          353. As set forth above, from at least 2011 through the present, Defendants
16   knowingly conspired together to commit violations of the New Hampshire False Claims
17   Act in violation of N.H. Rev. Stat. Ann. §167:61-b(I)(c).
18          354. By virtue of the false or fraudulent claims submitted or caused to be submitted
19   by Defendants, the State of New Hampshire suffered actual damages and therefore is
20   entitled to multiple damages under the New Hampshire False Claims Act, to be determined
21   at trial, plus a civil penalty for each violation.
22                                       COUNT SIXTY-SIX
23               VIOLATION OF THE NEW JERSEY FALSE CLAIMS ACT
24                                  N.J. STAT. ANN. §2A:32C-3(a)
25          355. Relators incorporate by reference the allegations set forth in the foregoing
26   paragraphs as though fully set forth herein.
27          356. This is a claim for penalties and treble damages under the New Jersey False
28   Claims Act.

                                                    58
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 60 of 139 Page ID #:205




 1         357. As set forth above, from at least 2011 through the present, Defendants
 2   knowingly presented or caused to be presented to the State of New Jersey false or
 3   fraudulent claims for payment or approval in violation of N.J. Stat. Ann. §2A:32C-3(a).
 4         358. By virtue of the false or fraudulent claims submitted or caused to be submitted
 5   by Defendants, the State of New Jersey suffered actual damages and therefore is entitled
 6   to multiple damages under the New Jersey False Claims Act, to be determined at trial, plus
 7   a civil penalty for each violation.
 8                                    COUNT SIXTY-SEVEN
 9               VIOLATION OF THE NEW JERSEY FALSE CLAIMS ACT
10                                 N.J. STAT. ANN. §2A:32C-3(b)
11         359. Relators incorporate by reference the allegations set forth in the foregoing
12   paragraphs as though fully set forth herein.
13         360. This is a claim for penalties and treble damages under the New Jersey False
14   Claims Act.
15         361. As set forth above, from at least 2011 through the present, Defendants
16   knowingly made, used, or caused to be made or used false records or statements material
17   to a false or fraudulent claim submitted to the State of New Jersey in violation of N.J. Stat.
18   Ann. §2A:32C-3(b).
19         362. By virtue of the false or fraudulent claims submitted or caused to be submitted
20   by Defendants, the State of New Jersey suffered actual damages and therefore is entitled
21   to multiple damages under the New Jersey False Claims Act, to be determined at trial, plus
22   a civil penalty for each violation.
23                                    COUNT SIXTY-EIGHT
24               VIOLATION OF THE NEW JERSEY FALSE CLAIMS ACT
25                                 N.J. STAT. ANN. §2A:32C-3(c)
26         363. Relators incorporate by reference the allegations set forth in the foregoing
27   paragraphs as though fully set forth herein.
28         364. This is a claim for penalties and treble damages under the New Jersey False

                                                    59
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 61 of 139 Page ID #:206




 1   Claims Act.
 2          365. As set forth above, from at least 2011 through the present, Defendants
 3   knowingly conspired together to commit violations of the New Jersey False Claims Act in
 4   violation of N.J. Stat. Ann. §2A:32C-3(c).
 5          366. By virtue of the false or fraudulent claims submitted or caused to be submitted
 6   by Defendants, the State of New Jersey suffered actual damages and therefore is entitled
 7   to multiple damages under the New Jersey False Claims Act, to be determined at trial, plus
 8   a civil penalty for each violation.
 9                                      COUNT SIXTY-NINE
10       VIOLATION OF THE NEW MEXICO MEDICAID FALSE CLAIMS ACT
11                                   N.M. STAT. ANN. §27-14-4(A)
12          367. Relators incorporate by reference the allegations set forth in the foregoing
13   paragraphs as though fully set forth herein.
14          368. This is a claim for penalties and treble damages under the New Mexico
15   Medicaid False Claims Act.
16          369. As set forth above, from at least 2011 through the present, Defendants
17   knowingly presented or caused to be presented to the State of New Mexico false or
18   fraudulent claims for payment or approval in violation of N.M. Stat. Ann. §27-14-4(A).
19          370. By virtue of the false or fraudulent claims submitted or caused to be submitted
20   by Defendants, the State of New Mexico suffered actual damages and therefore is entitled
21   to multiple damages under the New Mexico Medicaid False Claims Act, to be determined
22   at trial, plus a civil penalty for each violation.
23                                         COUNT SEVENTY
24       VIOLATION OF THE NEW MEXICO MEDICAID FALSE CLAIMS ACT
25                                   N.M. STAT. ANN. §27-14-4(C)
26          371. Relators incorporate by reference the allegations set forth in the foregoing
27   paragraphs as though fully set forth herein.
28          372. This is a claim for penalties and treble damages under the New Mexico

                                                    60
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 62 of 139 Page ID #:207




 1   Medicaid False Claims Act.
 2          373. As set forth above, from at least 2011 through the present, Defendants
 3   knowingly made, used, or caused to be made or used false records or statements material
 4   to a false or fraudulent claim submitted to the State of New Mexico in violation of N.M.
 5   Stat. Ann. §27-14-4(C).
 6          374. By virtue of the false or fraudulent claims submitted or caused to be submitted
 7   by Defendants, the State of New Mexico suffered actual damages and therefore is entitled
 8   to multiple damages under the New Mexico Medicaid False Claims Act, to be determined
 9   at trial, plus a civil penalty for each violation.
10                                    COUNT SEVENTY-ONE
11       VIOLATION OF THE NEW MEXICO MEDICAID FALSE CLAIMS ACT
12                                   N.M. STAT. ANN. §27-14-4(D)
13          375. Relators incorporate by reference the allegations set forth in the foregoing
14   paragraphs as though fully set forth herein.
15          376. This is a claim for penalties and treble damages under the New Mexico
16   Medicaid False Claims Act.
17          377. As set forth above, from at least 2011 through the present, Defendants
18   knowingly conspired together to commit violations of the New Mexico Medicaid False
19   Claims Act in violation of N.M. Stat. Ann. §27-14-4(D).
20          378. By virtue of the false or fraudulent claims submitted or caused to be submitted
21   by Defendants, the State of New Mexico suffered actual damages and therefore is entitled
22   to multiple damages under the New Mexico Medicaid False Claims Act, to be determined
23   at trial, plus a civil penalty for each violation.
24                                    COUNT SEVENTY-TWO
25                VIOLATION OF THE NEW YORK FALSE CLAIMS ACT
26                                 N.Y. STATE FIN. LAW §189(1)(a)
27          379. Relators incorporate by reference the allegations set forth in the foregoing
28   paragraphs as though fully set forth herein.

                                                    61
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 63 of 139 Page ID #:208




 1         380. This is a claim for penalties and treble damages under the New York False
 2   Claims Act.
 3         381. As set forth above, from at least 2011 through the present, Defendants
 4   knowingly presented or caused to be presented to the State of New York false or fraudulent
 5   claims for payment or approval in violation of N.Y. State Fin. Law §189(1)(a).
 6         382. By virtue of the false or fraudulent claims submitted or caused to be submitted
 7   by Defendants, the State of New York suffered actual damages and therefore is entitled to
 8   multiple damages under the New York False Claims Act, to be determined at trial, plus a
 9   civil penalty for each violation.
10                                 COUNT SEVENTY-THREE
11                 VIOLATION OF THE NEW YORK FALSE CLAIMS ACT
12                                N.Y. STATE FIN. LAW §189(1)(b)
13         383. Relators incorporate by reference the allegations set forth in the foregoing
14   paragraphs as though fully set forth herein.
15         384. This is a claim for penalties and treble damages under the New York False
16   Claims Act.
17         385. As set forth above, from at least 2011 through the present, Defendants
18   knowingly made, used, or caused to be made or used false records or statements material
19   to a false or fraudulent claim submitted to the State of New York in violation of N.Y. State
20   Fin. Law §189(1)(b).
21         386. By virtue of the false or fraudulent claims submitted or caused to be submitted
22   by Defendants, the State of New York suffered actual damages and therefore is entitled to
23   multiple damages under the New York False Claims Act, to be determined at trial, plus a
24   civil penalty for each violation.
25                                  COUNT SEVENTY-FOUR
26                 VIOLATION OF THE NEW YORK FALSE CLAIMS ACT
27                                N.Y. STATE FIN. LAW §189(1)(c)
28         387. Relators incorporate by reference the allegations set forth in the foregoing

                                                    62
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 64 of 139 Page ID #:209




 1   paragraphs as though fully set forth herein.
 2          388. This is a claim for penalties and treble damages under the New York False
 3   Claims Act.
 4          389. As set forth above, from at least 2011 through the present, Defendants
 5   knowingly conspired together to commit violations of the New York False Claims Act in
 6   violation of N.Y. State Fin. Law §189(1)(c).
 7          390. By virtue of the false or fraudulent claims submitted or caused to be submitted
 8   by Defendants, the State of New York suffered actual damages and therefore is entitled to
 9   multiple damages under the New York False Claims Act, to be determined at trial, plus a
10   civil penalty for each violation.
11                                    COUNT SEVENTY-FIVE
12           VIOLATION OF THE NORTH CAROLINA FALSE CLAIMS ACT
13                                   N.C. GEN. STAT. §1-607(a)(1)
14          391. Relators incorporate by reference the allegations set forth in the foregoing
15   paragraphs as though fully set forth herein.
16          392. This is a claim for penalties and treble damages under the North Carolina
17   False Claims Act.
18          393. As set forth above, from at least 2011 through the present, Defendants
19   knowingly presented or caused to be presented to the State of North Carolina false or
20   fraudulent claims for payment or approval in violation of N.C. Gen. Stat. §1-607(a)(1).
21          394. By virtue of the false or fraudulent claims submitted or caused to be submitted
22   by Defendants, the State of North Carolina suffered actual damages and therefore is
23   entitled to multiple damages under the North Carolina False Claims Act, to be determined
24   at trial, plus a civil penalty for each violation.
25                                       COUNT SEVENTY-SIX
26           VIOLATION OF THE NORTH CAROLINA FALSE CLAIMS ACT
27                                   N.C. GEN. STAT. §1-607(a)(2)
28          395. Relators incorporate by reference the allegations set forth in the foregoing

                                                    63
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 65 of 139 Page ID #:210




 1   paragraphs as though fully set forth herein.
 2          396. This is a claim for penalties and treble damages under the North Carolina
 3   False Claims Act.
 4          397. As set forth above, from at least 2011 through the present, Defendants
 5   knowingly made, used, or caused to be made or used false records or statements material
 6   to a false or fraudulent claim submitted to the State of North Carolina in violation of N.C.
 7   Gen. Stat. §1-607(a)(1).
 8          398. By virtue of the false or fraudulent claims submitted or caused to be submitted
 9   by Defendants, the State of North Carolina suffered actual damages and therefore is
10   entitled to multiple damages under the North Carolina False Claims Act, to be determined
11   at trial, plus a civil penalty for each violation.
12                                   COUNT SEVENTY-SEVEN
13           VIOLATION OF THE NORTH CAROLINA FALSE CLAIMS ACT
14                                   N.C. GEN. STAT. §1-607(a)(3)
15          399. Relators incorporate by reference the allegations set forth in the foregoing
16   paragraphs as though fully set forth herein.
17          400. This is a claim for penalties and treble damages under the North Carolina
18   False Claims Act.
19          401. As set forth above, from at least 2011 through the present, Defendants
20   knowingly conspired together to commit violations of the North Carolina False Claims
21   Act in violation of N.C. Gen. Stat. §1-607(a)(1).
22          402. By virtue of the false or fraudulent claims submitted or caused to be submitted
23   by Defendants, the State of North Carolina suffered actual damages and therefore is
24   entitled to multiple damages under the North Carolina False Claims Act, to be determined
25   at trial, plus a civil penalty for each violation.
26
27
28

                                                    64
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 66 of 139 Page ID #:211




 1                                   COUNT SEVENTY-EIGHT
 2        VIOLATION OF THE OKLAHOMA MEDICAID FALSE CLAIMS ACT
 3                                   63 OKLA. STAT. §5053.1B(1)
 4          403. Relators incorporate by reference the allegations set forth in the foregoing
 5   paragraphs as though fully set forth herein.
 6          404. This is a claim for penalties and treble damages under the Oklahoma
 7   Medicaid False Claims Act.
 8          405. As set forth above, from at least 2011 through the present, Defendants
 9   knowingly presented or caused to be presented to the State of Oklahoma false or fraudulent
10   claims for payment or approval in violation of 63 Okla. Stat. §5053.1B(1).
11          406. By virtue of the false or fraudulent claims submitted or caused to be submitted
12   by Defendants, the State of Oklahoma suffered actual damages and therefore is entitled to
13   multiple damages under the Oklahoma Medicaid False Claims Act, to be determined at
14   trial, plus a civil penalty for each violation.
15                                    COUNT SEVENTY-NINE
16        VIOLATION OF THE OKLAHOMA MEDICAID FALSE CLAIMS ACT
17                                   63 OKLA. STAT. §5053.1B(2)
18          407. Relators incorporate by reference the allegations set forth in the foregoing
19   paragraphs as though fully set forth herein.
20          408. This is a claim for penalties and treble damages under the Oklahoma
21   Medicaid False Claims Act.
22          409. As set forth above, from at least 2011 through the present, Defendants
23   knowingly made, used, or caused to be made or used false records or statements material
24   to a false or fraudulent claim submitted to the State of Oklahoma in violation of 63 Okla.
25   Stat. §5053.1B(2).
26          410. By virtue of the false or fraudulent claims submitted or caused to be submitted
27   by Defendants, the State of Oklahoma suffered actual damages and therefore is entitled to
28   multiple damages under the Oklahoma Medicaid False Claims Act, to be determined at

                                                       65
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 67 of 139 Page ID #:212




 1   trial, plus a civil penalty for each violation.
 2                                        COUNT EIGHTY
 3        VIOLATION OF THE OKLAHOMA MEDICAID FALSE CLAIMS ACT
 4                                   63 OKLA. STAT. §5053.1B(3)
 5          411. Relators incorporate by reference the allegations set forth in the foregoing
 6   paragraphs as though fully set forth herein.
 7          412. This is a claim for penalties and treble damages under the Oklahoma
 8   Medicaid False Claims Act.
 9          413. As set forth above, from at least 2011 through the present, Defendants
10   knowingly conspired together to commit violations of the Oklahoma Medicaid False
11   Claims Act in violation of 63 Okla. Stat. §5053.1B(3).
12          414. By virtue of the false or fraudulent claims submitted or caused to be submitted
13   by Defendants, the State of Oklahoma suffered actual damages and therefore is entitled to
14   multiple damages under the Oklahoma Medicaid False Claims Act, to be determined at
15   trial, plus a civil penalty for each violation.
16                                     COUNT EIGHTY-ONE
17             VIOLATION OF THE RHODE ISLAND FALSE CLAIMS ACT
18                                  R.I. GEN. LAWS §9-1.1-3(a)(1)
19          415. Relators incorporate by reference the allegations set forth in the foregoing
20   paragraphs as though fully set forth herein.
21          416. This is a claim for penalties and treble damages under the Rhode Island False
22   Claims Act.
23          417. As set forth above, from at least 2011 through the present, Defendants
24   knowingly presented or caused to be presented to the State of Rhode Island false or
25   fraudulent claims for payment or approval in violation of R.I. Gen. Laws §9-1.1-3(a)(1).
26          418. By virtue of the false or fraudulent claims submitted or caused to be submitted
27   by Defendants, the State of Rhode Island suffered actual damages and therefore is entitled
28   to multiple damages under the Rhode Island False Claims Act, to be determined at trial,

                                                       66
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 68 of 139 Page ID #:213




 1   plus a civil penalty for each violation.
 2                                    COUNT EIGHTY-TWO
 3             VIOLATION OF THE RHODE ISLAND FALSE CLAIMS ACT
 4                                 R.I. GEN. LAWS §9-1.1-3(a)(2)
 5         419. Relators incorporate by reference the allegations set forth in the foregoing
 6   paragraphs as though fully set forth herein.
 7         420. This is a claim for penalties and treble damages under the Rhode Island False
 8   Claims Act.
 9         421. As set forth above, from at least 2011 through the present, Defendants
10   knowingly made, used, or caused to be made or used false records or statements material
11   to a false or fraudulent claim submitted to the State of Rhode Island in violation of R.I.
12   Gen. Laws §9-1.1-3(a)(2).
13         422. By virtue of the false or fraudulent claims submitted or caused to be submitted
14   by Defendants, the State of Rhode Island suffered actual damages and therefore is entitled
15   to multiple damages under the Rhode Island False Claims Act, to be determined at trial,
16   plus a civil penalty for each violation.
17                                  COUNT EIGHTY-THREE
18             VIOLATION OF THE RHODE ISLAND FALSE CLAIMS ACT
19                                 R.I. GEN. LAWS §9-1.1-3(a)(3)
20         423. Relators incorporate by reference the allegations set forth in the foregoing
21   paragraphs as though fully set forth herein.
22         424. This is a claim for penalties and treble damages under the Rhode Island False
23   Claims Act.
24         425. As set forth above, from at least 2011 through the present, Defendants
25   knowingly conspired together to commit violations of the Rhode Island False Claims Act
26   in violation of R.I. Gen. Laws §9-1.1-3(a)(3).
27         426. By virtue of the false or fraudulent claims submitted or caused to be submitted
28   by Defendants, the State of Rhode Island suffered actual damages and therefore is entitled

                                                    67
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 69 of 139 Page ID #:214




 1   to multiple damages under the Rhode Island False Claims Act, to be determined at trial,
 2   plus a civil penalty for each violation.
 3                                   COUNT EIGHTY-FOUR
 4                 VIOLATION OF THE TENNESSEE FALSE CLAIMS ACT
 5                               TENN. CODE ANN. §4-18-103(a)(1)
 6         427. Relators incorporate by reference the allegations set forth in the foregoing
 7   paragraphs as though fully set forth herein.
 8         428. This is a claim for penalties and treble damages under the Tennessee False
 9   Claims Act.
10         429. As set forth above, from at least 2011 through the present, Defendants
11   knowingly presented or caused to be presented to the State of Tennessee false or fraudulent
12   claims for payment or approval in violation of Tenn. Code Ann. §4-18-103(a)(1).
13         430. By virtue of the false or fraudulent claims submitted or caused to be submitted
14   by Defendants, the State of Tennessee suffered actual damages and therefore is entitled to
15   multiple damages under the Tennessee False Claims Act, to be determined at trial, plus a
16   civil penalty for each violation.
17                                       COUNT EIGHTY-FIVE
18                 VIOLATION OF THE TENNESSEE FALSE CLAIMS ACT
19                               TENN. CODE ANN. §4-18-103(a)(2)
20         431. Relators incorporate by reference the allegations set forth in the foregoing
21   paragraphs as though fully set forth herein.
22         432. This is a claim for penalties and treble damages under the Tennessee False
23   Claims Act.
24         433. As set forth above, from at least 2011 through the present, Defendants
25   knowingly made, used, or caused to be made or used false records or statements material
26   to a false or fraudulent claim submitted to the State of Tennessee in violation of Tenn.
27   Code Ann. §4-18-103(a)(2).
28         434. By virtue of the false or fraudulent claims submitted or caused to be submitted

                                                    68
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 70 of 139 Page ID #:215




 1   by Defendants, the State of Tennessee suffered actual damages and therefore is entitled to
 2   multiple damages under the Tennessee False Claims Act, to be determined at trial, plus a
 3   civil penalty for each violation.
 4                                       COUNT EIGHTY-SIX
 5                 VIOLATION OF THE TENNESSEE FALSE CLAIMS ACT
 6                               TENN. CODE ANN. §4-18-103(a)(3)
 7         435. Relators incorporate by reference the allegations set forth in the foregoing
 8   paragraphs as though fully set forth herein.
 9         436. This is a claim for penalties and treble damages under the Tennessee False
10   Claims Act.
11         437. As set forth above, from at least 2011 through the present, Defendants
12   knowingly conspired together to commit violations of the Tennessee False Claims Act in
13   violation of Tenn. Code Ann. §4-18-103(a)(3).
14         438. By virtue of the false or fraudulent claims submitted or caused to be submitted
15   by Defendants, the State of Tennessee suffered actual damages and therefore is entitled to
16   multiple damages under the Tennessee False Claims Act, to be determined at trial, plus a
17   civil penalty for each violation.
18                                  COUNT EIGHTY-SEVEN
19        VIOLATION OF THE TENNESSEE MEDICAID FALSE CLAIMS ACT
20                             TENN. CODE ANN. §71-5-182(a)(1)(A)
21         439. Relators incorporate by reference the allegations set forth in the foregoing
22   paragraphs as though fully set forth herein.
23         440. This is a claim for penalties and treble damages under the Tennessee
24   Medicaid False Claims Act.
25         441. As set forth above, from at least 2011 through the present, Defendants
26   knowingly presented or caused to be presented to the State of Tennessee false or fraudulent
27   claims for payment or approval in violation of Tenn. Code Ann. §71-5-182(a)(1)(A).
28         442. By virtue of the false or fraudulent claims submitted or caused to be submitted

                                                    69
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 71 of 139 Page ID #:216




 1   by Defendants, the State of Tennessee suffered actual damages and therefore is entitled to
 2   multiple damages under the Tennessee Medicaid False Claims Act, to be determined at
 3   trial, plus a civil penalty for each violation.
 4                                    COUNT EIGHTY-EIGHT
 5        VIOLATION OF THE TENNESSEE MEDICAID FALSE CLAIMS ACT
 6                              TENN. CODE ANN. §71-5-182(a)(1)(B)
 7          443. Relators incorporate by reference the allegations set forth in the foregoing
 8   paragraphs as though fully set forth herein.
 9          444. This is a claim for penalties and treble damages under the Tennessee
10   Medicaid False Claims Act.
11          445. As set forth above, from at least 2011 through the present, Defendants
12   knowingly made, used, or caused to be made or used false records or statements material
13   to a false or fraudulent claim submitted to the State of Tennessee in violation of Tenn.
14   Code Ann. §71-5-182(a)(1)(B).
15          446. By virtue of the false or fraudulent claims submitted or caused to be submitted
16   by Defendants, the State of Tennessee suffered actual damages and therefore is entitled to
17   multiple damages under the Tennessee Medicaid False Claims Act, to be determined at
18   trial, plus a civil penalty for each violation.
19                                     COUNT EIGHTY-NINE
20        VIOLATION OF THE TENNESSEE MEDICAID FALSE CLAIMS ACT
21                              TENN. CODE ANN. §71-5-182(a)(1)(C)
22          447. Relators incorporate by reference the allegations set forth in the foregoing
23   paragraphs as though fully set forth herein.
24          448. This is a claim for penalties and treble damages under the Tennessee
25   Medicaid False Claims Act.
26          449. As set forth above, from at least 2011 through the present, Defendants
27   knowingly conspired together to commit violations of the Tennessee Medicaid False
28   Claims Act in violation of Tenn. Code Ann. §71-5-182(a)(1)(C).

                                                       70
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 72 of 139 Page ID #:217




 1          450. By virtue of the false or fraudulent claims submitted or caused to be submitted
 2   by Defendants, the State of Tennessee suffered actual damages and therefore is entitled to
 3   multiple damages under the Tennessee Medicaid False Claims Act, to be determined at
 4   trial, plus a civil penalty for each violation.
 5                                         COUNT NINETY
 6       VIOLATION OF THE TEXAS MEDICAID FRAUD PREVENTION LAW
 7                                TEX. HUM. RES. CODE §36.002(1)
 8          451. Relators incorporate by reference the allegations set forth in the foregoing
 9   paragraphs as though fully set forth herein.
10          452. This is a claim for penalties and treble damages under the Texas Medicaid
11   Fraud Prevention Law.
12          453. As set forth above, from at least 2011 through the present, Defendants
13   knowingly presented or caused to be presented to the State of Texas false or fraudulent
14   claims for payment or approval in violation of Tex. Hum. Res. Code §36.002(1).
15          454. By virtue of the false or fraudulent claims submitted or caused to be submitted
16   by Defendants, the State of Texas suffered actual damages and therefore is entitled to
17   multiple damages under the Texas Medicaid Fraud Prevention Law, to be determined at
18   trial, plus a civil penalty for each violation.
19                                     COUNT NINETY-ONE
20       VIOLATION OF THE TEXAS MEDICAID FRAUD PREVENTION LAW
21                              TEX. HUM. RES. CODE §36.002(4)(A)
22          455. Relators incorporate by reference the allegations set forth in the foregoing
23   paragraphs as though fully set forth herein.
24          456. This is a claim for penalties and treble damages under the Texas Medicaid
25   Fraud Prevention Law.
26          457. As set forth above, from at least 2011 through the present, Defendants
27   knowingly made, used, or caused to be made or used false records or statements material
28   to a false or fraudulent claim submitted to the State of Texas in violation of Tex. Hum.

                                                       71
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 73 of 139 Page ID #:218




 1   Res. Code §36.002(4)(A).
 2          458. By virtue of the false or fraudulent claims submitted or caused to be submitted
 3   by Defendants, the State of Texas suffered actual damages and therefore is entitled to
 4   multiple damages under the Texas Medicaid Fraud Prevention Law, to be determined at
 5   trial, plus a civil penalty for each violation.
 6                                     COUNT NINETY-TWO
 7       VIOLATION OF THE TEXAS MEDICAID FRAUD PREVENTION LAW
 8                                TEX. HUM. RES. CODE §36.002(9)
 9          459. Relators incorporate by reference the allegations set forth in the foregoing
10   paragraphs as though fully set forth herein.
11          460. This is a claim for penalties and treble damages under the Texas Medicaid
12   Fraud Prevention Law.
13          461. As set forth above, from at least 2011 through the present, Defendants
14   knowingly conspired together to commit violations of the Texas Medicaid Fraud
15   Prevention Law in violation of Tex. Hum. Res. Code §36.002(9).
16          462. By virtue of the false or fraudulent claims submitted or caused to be submitted
17   by Defendants, the State of Texas suffered actual damages and therefore is entitled to
18   multiple damages under the Texas Medicaid Fraud Prevention Law, to be determined at
19   trial, plus a civil penalty for each violation.
20                                   COUNT NINETY-THREE
21                 VIOLATION OF THE VERMONT FALSE CLAIMS ACT
22                                   32 VT. STAT. ANN. §631(a)(1)
23          463. Relators incorporate by reference the allegations set forth in the foregoing
24   paragraphs as though fully set forth herein.
25          464. This is a claim for penalties and treble damages under the Vermont False
26   Claims Act.
27          465. As set forth above, from at least 2011 through the present, Defendants
28   knowingly presented or caused to be presented to the State of Vermont false or fraudulent

                                                       72
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 74 of 139 Page ID #:219




 1   claims for payment or approval in violation of Vt. Stat. Ann. §631(a)(1).
 2         466. By virtue of the false or fraudulent claims submitted or caused to be submitted
 3   by Defendants, the State of Vermont suffered actual damages and therefore is entitled to
 4   multiple damages under the Vermont False Claims Act, to be determined at trial, plus a
 5   civil penalty for each violation.
 6                                   COUNT NINETY-FOUR
 7                 VIOLATION OF THE VERMONT FALSE CLAIMS ACT
 8                                 32 VT. STAT. ANN. §631(a)(2)
 9         467. Relators incorporate by reference the allegations set forth in the foregoing
10   paragraphs as though fully set forth herein.
11         468. This is a claim for penalties and treble damages under the Vermont False
12   Claims Act.
13         469. As set forth above, from at least 2011 through the present, Defendants
14   knowingly made, used, or caused to be made or used false records or statements material
15   to a false or fraudulent claim submitted to the State of Vermont in violation of Vt. Stat.
16   Ann. §631(a)(2).
17         470. By virtue of the false or fraudulent claims submitted or caused to be submitted
18   by Defendants, the State of Vermont suffered actual damages and therefore is entitled to
19   multiple damages under the Vermont False Claims Act, to be determined at trial, plus a
20   civil penalty for each violation.
21                                       COUNT NINETY-FIVE
22                 VIOLATION OF THE VERMONT FALSE CLAIMS ACT
23                                 32 VT. STAT. ANN. §631(a)(12)
24         471. Relators incorporate by reference the allegations set forth in the foregoing
25   paragraphs as though fully set forth herein.
26         472. This is a claim for penalties and treble damages under the Vermont False
27   Claims Act.
28         473. As set forth above, from at least 2011 through the present, Defendants

                                                    73
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 75 of 139 Page ID #:220




 1   knowingly conspired together to commit violations of the Vermont False Claims Act in
 2   violation of Vt. Stat. Ann. §631(a)(12).
 3         474. By virtue of the false or fraudulent claims submitted or caused to be submitted
 4   by Defendants, the State of Vermont suffered actual damages and therefore is entitled to
 5   multiple damages under the Vermont False Claims Act, to be determined at trial, plus a
 6   civil penalty for each violation.
 7                                       COUNT NINETY-SIX
 8       VIOLATION OF THE VIRGINIA FRAUD AGAINST TAXPAYERS ACT
 9                               VA. CODE ANN. §8.01-216.3(A)(1)
10         475. Relators incorporate by reference the allegations set forth in the foregoing
11   paragraphs as though fully set forth herein.
12         476. This is a claim for penalties and treble damages under the Virginia Fraud
13   Against Taxpayers Act.
14         477. As set forth above, from at least 2011 through the present, Defendants
15   knowingly presented or caused to be presented to the Commonwealth of Virginia false or
16   fraudulent claims for payment or approval in violation of Va. Code Ann. §8.01-
17   216.3(A)(1).
18         478. By virtue of the false or fraudulent claims submitted or caused to be submitted
19   by Defendants, the Commonwealth of Virginia suffered actual damages and therefore is
20   entitled to multiple damages under the Virginia Fraud Against Taxpayers Act, to be
21   determined at trial, plus a civil penalty for each violation.
22                                   COUNT NINETY-SEVEN
23       VIOLATION OF THE VIRGINIA FRAUD AGAINST TAXPAYERS ACT
24                               VA. CODE ANN. §8.01-216.3(A)(2)
25         479. Relators incorporate by reference the allegations set forth in the foregoing
26   paragraphs as though fully set forth herein.
27         480. This is a claim for penalties and treble damages under the Virginia Fraud
28   Against Taxpayers Act.

                                                    74
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 76 of 139 Page ID #:221




 1         481. As set forth above, from at least 2011 through the present, Defendants
 2   knowingly made, used, or caused to be made or used false records or statements material
 3   to a false or fraudulent claim submitted to the Commonwealth of Virginia in violation of
 4   Va. Code Ann. §8.01-216.3(A)(2).
 5         482. By virtue of the false or fraudulent claims submitted or caused to be submitted
 6   by Defendants, the Commonwealth of Virginia suffered actual damages and therefore is
 7   entitled to multiple damages under the Virginia Fraud Against Taxpayers Act, to be
 8   determined at trial, plus a civil penalty for each violation.
 9                                   COUNT NINETY-EIGHT
10       VIOLATION OF THE VIRGINIA FRAUD AGAINST TAXPAYERS ACT
11                               VA. CODE ANN. §8.01-216.3(A)(3)
12         483. Relators incorporate by reference the allegations set forth in the foregoing
13   paragraphs as though fully set forth herein.
14         484. This is a claim for penalties and treble damages under the Virginia Fraud
15   Against Taxpayers Act.
16         485. As set forth above, from at least 2011 through the present, Defendants
17   knowingly conspired together to commit violations of the Virginia Fraud Against
18   Taxpayers Act in violation of Va. Code Ann. §8.01-216.3(A)(3).
19         486. By virtue of the false or fraudulent claims submitted or caused to be submitted
20   by Defendants, the Commonwealth of Virginia suffered actual damages and therefore is
21   entitled to multiple damages under the Virginia Fraud Against Taxpayers Act, to be
22   determined at trial, plus a civil penalty for each violation.
23                                    COUNT NINETY-NINE
24                      VIOLATION OF THE WASHINGTON STATE
25                         MEDICAID FRAUD FALSE CLAIMS ACT
26                               WASH REV. CODE §74.66.020(1)(a)
27         487. Relators incorporate by reference the allegations set forth in the foregoing
28   paragraphs as though fully set forth herein.

                                                    75
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 77 of 139 Page ID #:222




 1         488. This is a claim for penalties and treble damages under the Washington State
 2   Medicaid Fraud False Claims Act.
 3         489. As set forth above, from at least 2011 through the present, Defendants
 4   knowingly presented or caused to be presented to the State of Washington false or
 5   fraudulent claims for payment or approval in violation of Wash. Rev. Code
 6   §74.66.020(1)(a).
 7         490. By virtue of the false or fraudulent claims submitted or caused to be submitted
 8   by Defendants, the State of Washington suffered actual damages and therefore is entitled
 9   to multiple damages under the Washington State Medicaid Fraud False Claims Act, to be
10   determined at trial, plus a civil penalty for each violation.
11                                   COUNT ONE-HUNDRED
12      VIOLATION OF THE WASHINGTON MEDICAID FALSE CLAIMS ACT
13                              WASH. REV. CODE §74.66.020(1)(b)
14         491. Relators incorporate by reference the allegations set forth in the foregoing
15   paragraphs as though fully set forth herein.
16         492. This is a claim for penalties and treble damages under the Washington State
17   Medicaid Fraud False Claims Act.
18         493. As set forth above, from at least 2011 through the present, Defendants
19   knowingly made, used, or caused to be made or used false records or statements material
20   to a false or fraudulent claim submitted to the State of Washington in violation of Wash.
21   Rev. Code §74.66.020(1)(b).
22         494. By virtue of the false or fraudulent claims submitted or caused to be submitted
23   by Defendants, the State of Washington suffered actual damages and therefore is entitled
24   to multiple damages under the Washington State Medicaid Fraud False Claims Act, to be
25   determined at trial, plus a civil penalty for each violation.
26                            COUNT ONE-HUNDRED-AND-ONE
27      VIOLATION OF THE WASHINGTON MEDICAID FALSE CLAIMS ACT
28                              WASH. REV. CODE §74.66.020(1)(c)

                                                    76
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 78 of 139 Page ID #:223




 1         495. Relators incorporate by reference the allegations set forth in the foregoing
 2   paragraphs as though fully set forth herein.
 3         496. This is a claim for penalties and treble damages under the Washington State
 4   Medicaid Fraud False Claims Act.
 5         497. As set forth above, from at least 2011 through the present, Defendants
 6   knowingly conspired together to commit violations of the Washington State Medicaid
 7   Fraud False Claims Act in violation of Wash. Rev. Code §74.66.020(1)(c).
 8   By virtue of the false or fraudulent claims submitted or caused to be submitted by
 9   Defendants, the State of Washington suffered actual damages and therefore is entitled to
10   multiple damages under the Washington State Medicaid Fraud False Claims Act, to be
11   determined at trial, plus a civil penalty for each violation.
12                                    PRAYER FOR RELIEF
13         WHEREFORE, the United States and Relators demand that judgment be entered
14   against Defendants and in favor of the Relator and the United States as follows:
15         On the first through one-hundred-and-first causes of action under the federal False
16   Claims Act (and as amended and equivalent state statutes), a judgment for the amount of
17   the United States’ and the States’ damages, multiplied by three as required by law, and
18   such civil penalties as are permitted or required by law; the maximum share amount
19   allowed pursuant to 31 U.S.C. § 3730(d) and applicable State laws; all costs and
20   expenses of this action, including attorney fees, expenses and costs as permitted by 31
21   U.S.C. § 3730(d) and applicable State laws; and all such other relief as may be just and
22   proper.
23
24
25
26
27
28

                                                    77
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 79 of 139 Page ID #:224
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 80 of 139 Page ID #:225
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 81 of 139 Page ID #:226




                           EXHIBIT A
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 82 of 139 Page ID #:227




                                  EQUIPMENT DIMENSIONS, WEIGHT, POWER SPECIFICATIONS


                                                        BEDSIDE MONITORS
                                                                           Height   Depth    Weight
   Product:                                Power Watts    Width Inches                                BTU/hr
                                                                           Inches   Inches   Pounds

   OPV-1500K                                   70             7.7           8.1      7.3      10 *     239

   BSM-1700 series monitor                40 on battery       5.8           7.6      3.7       3*      59

                                           80 monitor
   BSM-1700 docking base                                      7.4           2.9      4.9       2       89
                                            and base

   BSM-2350 series                             70            11.5           10.8     5.7      11 *     239

   BSM-2350 series w/ recorder                 70            11.5           12.8     5.7      15 *     239

   BSM-4100 series                             80            13.4           14.8     6.3      21 *     273

   BSM-5105/5106                              130            13.4           12.4     10       19 *     444

   BSM-5135/5136                              130            13.4           12.4     10       23 *     444

   BMS-6300 series                            140            12.5           12.8     7.4     16.9 *    478

   BSM-6500 series                             90            13.5           13.9     7.2     20.6 *    307

   BSM-6700 series                            100            16.4           15.5     7.6      25 *     341

   BSM-9100 series

                Main unit                     210             3.4           10.7     13.4     17.4*    717

                Display                        65            16.2           12.1     2.4      9.5*     222

                Interface                                     3.2           2.9      6.7      1.6*
 * Excluding Options


                                               CENTRAL STATION MONITORS
                                                                           Height   Depth    Weight
   Product:                                Power Watts    Width Inches                                BTU/hr
                                                                           Inches   Inches   Pounds
   Prefense:

                Main Unit                      90             6.5            6.3     1.9      2.4      308

                LCD unit                      195             25.4          20.1     9.6      21.6     665

   CNS-6201:

               Main Unit                      180             4.6           13.8      15      24.2     615

               Display (LCD unit)             185             23.4          15.7     2.8      24.2     632

   CNS-9701A:

                  Main Unit                   230             7.0           13.9      16       35      785

                   Display                    150             18.0          18.6     9.8       24      512

                  Recorder                    100             3.7             7      8.2       5       341

   RNS-9703

                            19”                45             16.2          15.2     7.8     14.2      154


                                                             PAGE 1 of 2
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 83 of 139 Page ID #:228




                            EQUIPMENT DIMENSIONS, WEIGHT, POWER SPECIFICATIONS

                      24”                 65             23.6           15.2            8.9          19.5         222

  UPS ABCE600-11/ 54060-03R*          5.0/3.5 amps        5.8            8.0            17.5            41        108

  WEP-4208A                               80             13.4           14.8            6.3             20        273


                                       TELEMETRY RECEIVER & ANTENNA
                                                                       Height          Depth         Weight
  Product:                            Power Watts     Width Inches                                               BTU/hr
                                                                       Inches         Inches         Pounds

  ORG-9100A                               25              9.8            2.9            8.9             8         86

  ORG-9700A                               60              6.2            8.0            12             13.5       205

  PS-3015 Power Supply (2 required)       180              9             2 .3            5              3         615

  UPS ABCE600-11 / 54060-03R*         5.0/3.5 amps        5.8            8.0            17.5            41        108


                                               NETWORKING EQUIPMENT
                                                                       Height          Depth         Weight
  Product:                            Power Watts     Width Inches                                               BTU/hr
                                                                       Inches         Inches         Pounds

  Cisco Catalyst 3650 Series Switch      1025            17.5           1.73          17.625          15.15      3497

  Cisco 300 Series Switch                 155             11            1.45            6.7            4.78       527

  SMC GS Series Switch                    525            17.3            1.7            13.8           6.6        TBD


                                                     LASER PRINTER
                                      Power Watts                      Height          Depth         Weight
  Product:                                            Width Inches                                               BTU/hr
                                       (Printing)                      Inches         Inches         Pounds

  HP LaserJet 600 (M602n)                 820            16.3            20             15.7            52       2798


                                                    SERVER PRODUCTS
                                                                       Height          Depth         Weight
  Product:                            Power Watts     Width Inches                                               BTU/hr
                                                                       Inches         Inches         Pounds

  HL7 (PowerEdge R220)

  NetKonnect (PowerEdge R220)
                                          345            17.6           1.68            21.5            26       1178
  ECG Gateway (PowerEdge R220)

  CGS Gateway (PowerEdge R220)



                                       Power requirements, All Equipment:
                                       AC                           AC 117 V ±10%
                                       Line frequency               60 Hz ±2%

                                       Operating Environment, All Equipment:
                                       Temperature                  10 to 35O C
                                       Humidity                     30 to 85% RH (0 to 40 O C, non-condensing)
                                       Atmospheric pressure         70 to 106 kPa




                                                         PAGE 2 of 2
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 84 of 139 Page ID #:229




                          EXHIBIT B
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 85 of 139 Page ID #:230




         One Standard
         Across the Care
         Continuum
         BSM-6000 series
         bedside monitors
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 86 of 139 Page ID #:231




   Breaking Down
   Barriers to Care
   The Institute of Healthcare Improvement’s triple aim—
   designed to push quality initiatives while simultaneously fostering
   marketplace efﬁciencies—has rippled across the healthcare
   continuum. Advancement simply for the sake of change is not
   enough; it must enhance healthcare in some way. Improvements
   must be quantiﬁable, as well as qualiﬁable. Care must be
   coordinated. Every clinician must manage greater risk as
   patients present with multiple comorbidities. To navigate this
   dynamic, providers across the spectrum—from the smallest
   practices to the largest health systems—need allies capable of
   helping them remain ahead of the rapidly shifting environment
   while ensuring the highest quality of care for patients.
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 87 of 139 Page ID #:232




                   Nihon Kohden
                   is that ally.
                   A leader in precision medical products and services,
                   only Nihon Kohden offers reliable, integrated multi-
                   modality products that serve patients across all care
                   areas. We bring quality clinical solutions that provide
                   access to a deeper, more comprehensive level of
                   information, enabling more accurate diagnoses and
                   ultimately, better outcomes.
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 88 of 139 Page ID #:233




Premium- as-Standard Design
   We belive every patient deserves          The BSM-6000 series of monitors offer unrivaled
   the highest standard of care. Nihon       technology that works across the healthcare
   Kohden’s premium-as-standard              continuum and realizes our premium-as-standard
   philosophy is the belief that every       philosophy, allowing providers to deliver care
   monitor should be fully appointed         without compromise.
   with features—both standard and           Some of our premium-as-standard capabilities
   premium—unlocked and ready                include:
   to use at a moment’s notice. This
                                             • Comprehensive arrhythmia detection and
   ensures that our technology can
                                               recall, including advanced Atrial Fibrillation
   be employed in the broadest range
                                               algorithm
   of acuity levels and seamlessly
                                             • Multi-waveform/multi-parameter full disclosure
   transition between care areas as
                                             • ST segment analysis as well as diagnostic
   patient need dictates.
                                               12 lead ECG capability
                                             • Drug, hemodynamic and pulmonary
                                               calculations




                                  BSM-6301                                              BSM-650
                                 10.4-inch LCD                                          12.1-inch LC
       Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 89 of 139 Page ID #:234




     Nihon Kohden’s unique Smart Cable™ technology
     miniaturizes circuits found in traditional modules
     and embeds that circuitry into a Smart Patient Cable.
     When you plug a Smart Cable into a Multiport,
     the associated parameter is automatically detected,
     displayed and measured. With this technology, you’ll
     get parameter flexibility at a significantly reduced
     cost with seamless and immediate access to blood
     pressure, cardiac output, EtCO2, temperature,
     BIS, EEG and more, when and where you need it for
     rapid clinical assessment across care areas.




01                                                BSM-6701
CD                                                15-inch LCD
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 90 of 139 Page ID #:235




                                           Arrhythmia
                                           The BSM-6000 Series provides high accuracy
                                           multi-lead arrhythmia detection and
                                           storage of over 16,000 arrhythmia events.
                                           Each event is time-linked to the full disclosure
                                           waveforms to determine what led up to,
                                           and what followed, the captured event.




                                           Full Disclosure
                                           Full disclosure waveforms allow you to
                                           validate alarm and numeric findings and
                                           to make treatment decisions based
                                           on more accurate monitored data.
                                           The BSM-6000 Series provides storage and
                                           review capabilities at the bedside monitor
                                           that are typically found only in a
                                           central station.




                                           ST Template
                                           Multi-lead ST segment monitoring provides
                                           you with continuous oversight to transient
                                           changes in your patients’ cardiac condition
                                           and are stored minute-to-minute in the
                                           monitor for comparison.
  Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 91 of 139 Page ID #:236




Redeﬁning Transport
Continuity of monitored care during transport
ensures the highest quality of care for patients.
The unique design of Nihon Kohden’s BSM-1700
Transport monitor and the BSM-6000 redefines
transport monitoring. Simply disconnect the
BSM-1700 Transport monitor from the BSM-6000
monitor or Data Acquisition Unit and your
patient can be transported with all monitoring
capabilities remaining the same. When the
patient is transferred to their new care setting
and the BSM-1700 is reconnected to another
BSM-6000 or Life Scope G9 monitor and patient
information, including full disclosure, is uploaded
to the new bedside display creating one
seamless, reliable patient record enhancing
workflow and care coordination. Patient transport
using the wireless option for the BSM-1700 provides
uninterrupted Central Station Monitoring and
WLAN Transport that manages your patient data
automatically.




                                                      One additional benefit of the Data
                                                      Acquisition Unit is that it can be
                                                      extended via an umbilical cord to be
                                                      located on a bed rail, gurney or IV
                                                      pole next to the patient. This alleviates
                                                      the hassles associated with cable
                                                      management at the bedside. Since
                                                      the Data Acquisition Unit contains
                                                      user function keys, it can be placed
                                                      on either side of the patient for
                                                      optimal clinical workflow efficiency.
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 92 of 139 Page ID #:237




                                               Different Thinking for
 us.nihonkohden.com
                                               Better Healthcare.                                              ®


 MMLB 011 [C]-CO-1072                          Different Thinking for Better Healthcare is a registered trademark of
                                               Nihon Kohden.
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 93 of 139 Page ID #:238




                         EXHIBIT C
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 94 of 139 Page ID #:239



 Bedside Monitor
 BSM-6701




   One Standard
   Across
                                  • Premium-as-Standard Design:
   the Care                               o Comprehensive arrhythmia detection and recall
                                          o Advanced Atrial Fibrillation algorithm
   Continuum
                                          o Multi-waveform, multi-parameter full disclosure
                                          o ST analysis and recall
                                          o Diagnostic 12-lead ECG
                                          o Drug, hemodynamic and pulmonary calculations

                                  • Selection of input and expansion units provide ﬂexible monitoring

                                  • Continuity of monitored care during transport with BSM-1700
                                    transport monitor

                                  • 15” high resolution touchscreen display for ease of operation




                  us.nihonkohden.com                  Different Thinking for Better Healthcare.™
    Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 95 of 139 Page ID #:240

Speciﬁcations                                                                                   SpO2:                      Measuring Technology: Nihon Kohden, Massimo or
                                                                                                                           Nellcor
                                                                                                                           Measuring Display Range: 0 to 100% (70 to 100% at

Bedside Monitor BSM-6701                                                                                                   speciﬁed accuracy)
                                                                                                                           Pulse rate from SpO2 Range: 0, 30 to 300 beats/min
                                                                                                                           (varies by SpO2 technology)

                                                                                                Non Invasive Blood
                                                                                                Pressure, NIBP:            Measuring method: Oscillometric Cuff

  BSM-6701                                                                                                                 Pressure display range: 0 to 300 mmHg

                                                                                                Invasive Blood
                                                                                                Pressure, IBP:             Measuring range: –50 to 300 mmHg
DISPLAY
                                                                                                                           Pulse rate display range from IBP range: 30 to 300
Display Size:              15” color TFT type LCD                                                                          beats/min
Display                                                                                         Temperature:               Measuring range: 0 to 45°C
Characteristics:           Resolution: 1024 x 768. Touch screen with six quick                                             Number of channels: 4 maximum
                           access hard keys.
                                                                                                Cardiac Output:            Measuring method: Thermodilution method
Maximum Number of                                                                                                          Measuring range: Injectate temperature (Ti):
Waveform Traces:           Up to 15 traces                                                                                 0°C to 27°C
Display Waveforms:         ECG (up to 12), respiration, IBP (up to 2), SpO2 pulse                                          Blood temperature (Tb): 15°C to 45°C
                           wave, CO2, BIS EEG (up to 2 traces), vent PAW, vent Flow,                                       Thermodilution curve (delta Tb): 0°C to 2.5°C
                           and CO Thermodilution curve. When gas is monitored:                                             Cardiac output (CO): 0.5 to 20 L/min
                           O2 concentration curve, CO2 concentration curve,                     Inspired Oxygen
                           anesthetic agent concentration (Halothane, Isoﬂurane,                Fractional
                           Enﬂurane, Sevoﬂurane, Desﬂurane) Analog input                        Concentration:             Measuring range: 0 to 100%
Numerical                                                                                       CO2:                       CO2 measuring range: 0 to 150 mmHg
Data Display:              Heart rate, VPC rate, ST level, RR respiration rate, NIBP
                           (systolic, diastolic, mean), IBP (systolic, diastolic, mean),                                   Respiration rate counting range: 3 to 150 breaths/min
                           SpO2, SpO2-2, delta SpO2, pulse rate, temperature, CO,
                                                                                                BIS:                       Input channels: 2
                           CI, Ti (injectate temperature), Tb (blood temperature),
                           O2 concentration, EtCO2, BIS, inspired/ expired N2O                                             Measuring parameters: Bispectral Index (BIS),
                           concentration, inspired/ expired CO2, inspired/ expired                                         95% Spectral Edge Frequency (SEF90, SEF95),
                           O2 concentration, inspired/ expired anesthetic agent                                            Suppression Ratio (SR), EMG, Signal Quality Index (SQI)
                           concentration (Halothane, Isoﬂurane, Enﬂurane,
                           Sevoﬂurane, Desﬂurane), MAC (minimum alveolar                        STORED PATIENT DATA
                           concentration), Ppeak (peak airway pressure), PEEP
                                                                                                Trendgraph:                Trend parameters: All monitored parameters
                           (positive end expiratory pressure), Pmean (mean airway
                           pressure), MV (minute volume), TVi (inspiratory tidal                                           Trend display time: Up to 72 hours
                           volume), TVe (expiratory tidal volume), C (compliance),
                           R (airway resistance), Ri (inspiratory airway resistance),           Vital Signs List:          All monitored parameters for up to 72 hours.
                           Re (expiratory airway resistance), I:E (inspiration expiration                                  Periodic: 4320 (1 per minute for 72 hours)
                           ratio), SEF (90 or 95% spectral edge frequency), MDF
                           (median frequency), PPF (peak power frequency),                      NIBP:                      Number of entries: 1,024 ﬁles
                           TP (total power), TP power of frequency, TOF, CCO, SVRI,
                                                                                                HEMO List:                 Number of entries: 1,024 ﬁles
                           SvO2, EF, ScvO2, CCI, EDV, SVR, EDVI, PCCO, PCCI, tcPO2,
                           tcPCO2, PPV, SPV                                                     Full Disclosure:           Storage time: Up to 72 hours
                                                                                                                           Number of Waveforms stored: 5 maximum
ALARMS
Alarm Items:               Vital sign alarms, arrhythmia alarms, technical alarms               ST Recall:                 Number of ﬁles: 4,320 ﬁles (1 per minute for 72 hours)
                           and operational alarms                                                                          for all monitoring leads

Alarm Levels:              Crisis (red blinking), Warning (yellow blinking),                    Alarm History:             Number of entries: 16,384 ﬁles
                           Advisory (yellow or blue light)
                                                                                                Arrhythmia Recall:         Number of ﬁles: 16,384 ﬁles
Alarm Indication:          Alarm indicator (360° visibility) highlighted message,
                                                                                                12-Lead
                           alarm sound
                                                                                                Interpretive Recall:       Number of ﬁles: 18 ﬁles
Alarm Suspend:             1, 2, or 3 min
                                                                                                OCRG:                      Storage capacity: 72 hours

PARAMETERS                                                                                      Hemodynamics
ECG:                       Number of ECG waveforms channels: Up to 12                           Trend Table:               Number of entries: 1,024 ﬁles
                           Frequency response:
                              Diagnosis mode: 0.05 to 150 Hz                                    RECORDER (option)
                              Monitor mode: 0.3 to 40 Hz                                        Recording Method:          Thermal array recording
                              Maximum ﬁlter mode: 1 to 18 Hz                                    Number of Channels:        3 traces (maximum)
                           Heart Rate Counting range: 0, 15 to 300 beats/min
                           Arrhythmia Analysis method: Multi-template software                  POWER REQUIREMENT
                           algorithm
                                                                                                AC:                        100 to 240 V ±10%
                           VPC counting rate: 0 to 99 VPCs/min
                           Arrhythmia alarms: ASYSTOLE, VF, VT, V RHYTHM, V BRADY,              DC (SB-671P):              8.5 to 12.6 V
                           EXT TACHY, EXT BRADY, AF, VPC RUN, COUPLET, EARLY VPC,
                           BIGEMINY, TRIGEMINY, FREQ VPC, PROLONGED RR, SV                      Line Frequency:            50 or 60 Hz
                           TACHY, TACHYCARDIA, BRADYCARDIA, VPC, MULTIFORM,
                                                                                                Battery Operation
                           IRREGULAR RR, NO PACER PULSE, PACER NON-CAPTURE,
                                                                                                time:                      60 minutes
                           PAUSE
                                                                                                Power Input:               AC 100 VA
ST Level Measurement: Number of measurement channels: Up to 12
                      Measuring range: ±2.5 mV
                                                                                                DIMENSIONS AND WEIGHT
Respiration                                                                                     Dimensions:                16.4” x 15.4” x 7.5” (415 W x 392 H x 191 D mm)
(Impedance or
Thermistor Method):        Measuring range: 0 to 150 breaths/min                                Weight:                    22.7 lbs (10.0 kg)



                                                                                            NIHON KOHDEN AMER ICA , INC. | 15353 BAR R ANCA PARK WAY, IRVINE, CA 92618
                                            us.nihonkohden.com                              8 0 0.325.0283 | 949.58 0.15 5 5 | FA X: 949.58 0.15 5 0 | EMAI L: I N FO @ NKU SA .CO M


THIS DATA SHEET MAY BE REVISED OR REPL ACED BY NIHON KOHDEN AT ANY TIME WITHOUT NOTICE.                                                                        MMLB 052 [D]- CO - 0884
Different Thinking for Better Healthcare is a trademark of Nihon Kohden.
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 96 of 139 Page ID #:241




                         EXHIBIT D
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 97 of 139 Page ID #:242



 Transport Monitor
 BSM-1700




   One Standard
   of Care Across
                                  • Functions as a compact stand-alone monitor, transport monitor
   the Continuum                    or as an Input Unit for a BSM-6000, BSM-9000 or Life Scope G9
                                    series bedside monitor
   of Care                        • Allows seamless transfer of data between bedside monitors and
                                    central stations
                                  • 5 hour battery life
                                  • Lightweight at only 3.4 lbs
                                  • High-resolution touch screen display
                                  • Comprehensive data storage:
                                        o Up to 72 hours full disclosure waveforms
                                          o Tabular & graphical trends
                                          o Arrhythmia recall ﬁles
                                          o ST recall ﬁles


                  us.nihonkohden.com                      Different Thinking for Better Healthcare.
   Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 98 of 139 Page ID #:243

Speciﬁcations
Transport Monitor
BSM-1700

  BSM-1700
DISPLAY                                                                                        Temperature:               Measuring range: 0 to 45°C
Display Size:              5.7" Touch Screen Display                                                                      Number of channels: 2 maximum

Display Modes:             Standard, Transport                                                 Cardiac Output:            Measuring method: Thermodilution method
                                                                                                                          Measuring range: Injectate temperature (Ti):
Maximum Number of                                                                                                         0°C to 27°C
Waveform Traces:           9 traces
                                                                                                                          Blood temperature (Tb): 15°C to 45°C
Display Waveforms:         ECG (up to 12 leads), respiration, IBP (up to 3 traces),                                       Thermodilution curve (delta Tb): 0°C to 2.5°C
                           SpO2 pulse wave, CO2, CO thermodilution Curve, BIS                                             Cardiac output (CO): 0.5 to 20 L/min
Numerical                                                                                      BIS:                       Input channels: 1 or 2 (depends on the BIS
Data Display:              Heart rate, VPC rate, ST level, respiration rate, SpO2, pulse                                  sensor type)
                           rate, temperature, NIBP (systolic, diastolic, MAP), IBP
                                                                                                                          Measuring parameters: Bispectral Index(BIS),
                           (systolic, diastolic, mean), EtCO2, FiCO2, cardiac output,
                                                                                                                          95% Spectral Edge Frequency (SEF95),Suppression
                           cardiac index, injectate temperature, blood temperature,
                                                                                                                          Ratio (SR), EMG, Signal Quality Index (SQI)
                           BIS, SEF95, SR, EMG, SQI
                                                                                               CO2:                       CO2 measuring range: 0 to 100 mmHg
ALARMS                                                                                                                    Respiration rate counting range: 3 to 150 breaths min
Alarm Items:               Upper/lower limits alarm, arrhythmia alarm
                                                                                               STORED PATIENT DATA
Alarm Levels:              Crisis (red blinking), Warning (yellow blinking),
                           Advisory (yellow or blue light)                                     Trendgraph:                Trend parameters: All monitored parameters
                                                                                                                          Trend display time: Up to 72 hours
Alarm Indication:          Alarm indicator, highlighted message, alarm sound
                                                                                               Vital Signs List:          Trend parameters: All monitored parameters
Alarm Suspend:             1, 2, or 3 min or off                                                                          Data Storage: Periodic: 4320 (1 per minute for
                                                                                                                          72 hours)
PARAMETERS
                                                                                               NIBP:                      2,048 ﬁles
ECG:                       Number of electrodes: 3, 6 or 10
                           Frequency response:                                                 Full Disclosure:           Storage time: Up to 72 hours
                           Diagnosis mode: 0.05 to 150 Hz                                                                 Number of Waveforms stored: 5 maximum
                           Monitor mode: 0.3 to 40 Hz
                                                                                               Alarm History:             Number of entries: 32,768 ﬁles
                           Maximum ﬁlter mode: 1 to 18 Hz
                           Heart Rate Counting range: 0, 15 to 300 beats/min                   Hemodynamics
                           Arrhythmia analysis method: Multi-template matching                 Trend Table:               Number of entries: 2,048 ﬁles
                           software algorithm
                                                                                               Arrhythmia Recall:         Number of ﬁles: 32,768 ﬁles
                           VPC counting rate: 0 to 99 VPCs/min
                           Arrhythmia alarms: ASYSTOLE, VF, VT, V BRADY,                       ST Recall:                 Number of ﬁles: 4,320 ﬁles (1 per minute for 72 hours)
                           EXT TACHY, EXT BRADY, SV TACHY, VPC RUN, TACHYCARDIA,                                          for all monitoring leads
                           BRADYCARDIA, COUPLET, EARLY VPC, MULTIFORM, V
                           RHYTHM, PAUSE, BIGEMINY, TRIGEMINY, VPC, IRREGULAR                  12 Lead
                           RR, PACER NON-CAPTURE, PROLONGED RR, NO PACER                       Interpretive Recall:       Number of ﬁles: 18 ﬁles
                           PULSE, (NOISE, CHECK ELECTRODES, LEARNING)
                                                                                               POWER REQUIREMENT
ST Level Measurement: Number of measurement channels: Up to 12
                                                                                               DC (SB-170P Lithium
                      Measuring range: ±2.5 mV
                                                                                               Ion Battery Pack):         9.0 to 12.6 V
Respiration
                                                                                               Battery operation time: 5 hours
(Impedance
Pneumography):             Measuring range: 0 to 150 breaths/min                               With SC-170R Cradle:       Line voltage AC 100V to 240V
SpO2:                      Measuring Technology: Nihon Kohden, Massimo or Nellcor              Line Frequency:            50 or 60 Hz
                           Measuring Display Range: 0 to 100% (70 to 100% at
                           speciﬁed accuracy)                                                  Power Input:               80 VA
                           Pulse rate from SpO2 Range: 25 to 300 beats/min (varies
                           by SpO2 technology)                                                 DIMENSIONS AND WEIGHT
                                                                                               Dimensions:                147W× 194H × 94D mm
Non Invasive Blood
Pressure, NIBP:            Measuring method: Oscillometric Cuff                                Weight:                    1.57 kg with battery pack
                           Pressure display range: 0 to 300 mmHg

Invasive Blood
Pressure, IBP:             Number of channels: Up to 3
                           Measuring range: –50 to 300 mmHg
                           Pulse rate from IBP range: 0, 30 to 300 beats/min




                                                                                           NIHON KOHDEN AMER ICA , INC. | 15353 BAR R ANCA PARK WAY, IRVINE, CA 92618
                                           us.nihonkohden.com                              8 0 0.325.0283 | 949.58 0.15 5 5 | FA X: 949.58 0.15 5 0 | EMAI L: I N FO @ NKU SA .CO M


THIS DATA SHEET MAY BE REVISED OR REPL ACED BY NIHON KOHDEN AT ANY TIME WITHOUT NOTICE.                                                                       MMLB 012 [C]- CO - 0287
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 99 of 139 Page ID #:244




                         EXHIBIT E
   Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 100 of 139 Page ID
                                     #:245




Bedside Monitor Speciﬁcation Comparison


                                                          Accute Care/Hospital Market                                      ASC Market ONLY

                              G9               TR6000              TR6000             TR6000               TPM                 TR3000
                          CSM-1901            BSM-6700           BSM-6500           BSM-6300           BSM-1700               BSM-3500




                                                                     Display                                                     Display
                            Color LCD          Color LCD           Color LCD          Color LCD          Color LCD              Color LCD
          Type
                              21.5”               15”                 12.1”              10.4”               5.7"                  12"
       Resolution          1920 x 1080         1024 x 768           800 x 600          800 x 600          640 x 480             800 x 600

    Number Of Traces           17                  15                  15                 15            9 (12 for ECG)              14

      Touchscreen
                               Yes                Yes                  Yes                Yes                Yes                   Yes
       Operation

   User Programmable
                             Yes, 20             Yes, 4               Yes, 4             Yes, 4             Yes, 2                Yes, 4
   Multi-Function Keys

     Remote Control       Yes, Optional       Yes, Optional       Yes, Optional      Yes, Optional           N/A               Yes, Optional

                                                                   Parameters                                                  Parameters
     ECG Leads on
                            Up to 12            Up to 3              Up to 3            Up to 3            Up to 3               Up to 3
      Main Screen

   Number of Viewable
    ECG Leads (any             12                  12                  12                 12                 12                     12
       screen)

    Number Of ECG
                            3, 6 or 10         3, 6 or 10           3, 6 or 10         3, 6 or 10         3, 6 or 10            3, 6, or 10
      Electrodes

       SpO2, NIBP        Yes (Configured)   Yes (Configured)     Yes (Configured)   Yes (Configured)   Yes (Configured)      Yes (Configured)




                         us.nihonkohden.com                                                                  Different Thinking for Better Healthcare.®
                                                                                                                                                MMLB 093[D]- CO -1274
                                                                                                                                                                        1
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 101 of 139 Page ID
                                  #:246




                           G9                TR6000                TR6000                TR6000                TPM                  TR3000
                      CSM-1901             BSM-6700              BSM-6500              BSM-6300             BSM-1700              BSM-3500

                                                                   Parameters                                                       Parameters

                           Yes                  Yes                   Yes                    Yes                 Yes
 IBP, CO2, Cardiac                                                                                                                     Yes
                      (Smart Modular       (Smart Modular        (Smart Modular         (Smart Modular      (Smart Modular
       Output                                                                                                                  (Smart Modular Cable)
                         Cable)               Cable)                Cable)                 Cable)               Cable)

 FiO2, Thermistor      Yes (Smart           Yes (Smart            Yes (Smart             Yes (Smart          Yes (Smart            Yes (Smart
   Respiration        Modular Cable)       Modular Cable)        Modular Cable)         Modular Cable)      Modular Cable)        Modular Cable)

                           Yes                   Yes                   Yes                   Yes                                        Yes
                                                                                                                 Yes
   Temperature         2 Configured          2 Configured          2 Configured          2 Configured                               2 Configured
                                                                                                             2 Configured
                      2 Smart Cable         2 Smart Cable         2 Smart Cable         2 Smart Cable                              2 Smart Cable
                            Yes                  Yes                   Yes                   Yes
                                                                                                                 Yes                   Yes
                      (Smart Modular       (Smart Modular        (Smart Modular        (Smart Modular
       BIS                                                                                                  (Smart Modular    (Smart Modular Cable, or
                     Cable, or External   Cable, or External    Cable, or External    Cable, or External
                                                                                                               Cable)            External Device)
                         Device)              Device)               Device)               Device)
                                                                Multi-Connectors                                                 Multi-Connectors

 Number of Multi-      7 Options to       3 or 7 Depending      3 or 7 Depending      1, 3 or 7 Depending
                                                                                                                  3                      2
   Connectors          Expand to 11          upon Model            upon Model             upon Model

                                                                    Recorder                                                         Recorder
    3 Channel          Yes, Optional        Yes, Optional         Yes, Optional          Yes, Optional           No                Yes, Optional
                                                                Battery Operation                                                Battery Operation
   Standard or
                         Standard             Standard              Standard               Optional            Optional               Optional
    Optional

 Operation Time      1 battery = 3 min    2 batteries = 2 hrs   2 batteries = 3 hrs   2 batteries = 3 hrs       5 hrs            1 battery = 1.5 hrs




                     us.nihonkohden.com                                                                          Different Thinking for Better Healthcare.®
                                                                                                                                                       MMLB 093[D]- CO -1274
                                                                                                                                                                               2
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 102 of 139 Page ID
                                  #:247




                             G9                  TR6000                 TR6000                 TR6000                    TPM                   TR3000
                       CSM-1901                BSM-6700               BSM-6500               BSM-6300               BSM-1700                 BSM-3500

                                                                    Monitor Functions                                                      Monitor Functions
                       5 Waves for 168
                                                   5 Waves                5 Waves                5 Waves                5 Waves
                           Hours,                                                                                                                5 Waves
                                                   72 Hours               72 Hours               72 Hours               72 Hours
                        8 Waves for 96                                                                                                           72 Hours
  Full Disclosure                                  Standard               Standard               Standard               Standard
                           Hours,                                                                                                                Standard
                                              (24 Hours if X-Port    (24 Hours if X-Port    (24 Hours if X-Port    (24 Hours if X-Port
                       35 Waves for 24
                                                  Data is on)            Data is on)            Data is on)            Data is on)
                           Hours

 Graphical Trends         168 Hours                72 Hours               72 Hours               72 Hours               72 Hours                 72 Hours

                                                 4,320 Files            4,320 Files            4,320 Files            4,320 Files
                     168 Hours for up to         (72 Hours,             (72 Hours,             (72 Hours,             (72 Hours,                4,320 Files
  Tabular Trends
                      108 Parameters          24 Hours if X-Port     24 Hours if X-Port     24 Hours if X-Port     24 Hours if X-Port           (72 Hours)
                                                 Data is On)            Data is On)            Data is On)            Data is On)

                                                  1,024 Files            1,024 Files            1,024 Files            1,024 Files
   NIBP Tabular           1,008 Files                                                                                                           1,024 Files
                                             (72 hours, 24 hours if (72 hours, 24 hours if (72 hours, 24 hours if (72 Hours, 24 Hours
      Trends             (168 Hours)                                                                                                            (72 Hours)
                                               X-Port Data is on)     X-Port Data is on)     X-Port Data is on)   if X-Port Data is on)

                         60,480 Files            16,348 Files           16,348 Files           16,348 Files           24,576 Files
 Arrhythmia Recall                                                                                                                        16,348 Files (72 Hours)
                         (168 Hours)              (72 Hours)             (72 Hours)             (72 Hours)             (72 Hours)

                     302,400 Files for the       16,348 Files           16,348 Files           16,348 Files           16,348 Files
  Alarm History                                                                                                                           16,348 Files (72 Hours)
                      Past (168 Hours)            (72 Hours)             (72 Hours)             (72 Hours)             (72 Hours)

                                                 4,320 Files,           4,320 Files,           4,320 Files,           4,320 Files,
                                             12 Leads, Standard     12 Leads, Standard     12 Leads, Standard     12 Leads, Standard           4,320 Files,
     ST Recall           10,080 Files            (72 Hours,             (72 Hours,             (72 Hours,             (72 Hours,           12 Leads, Standard
                                              24 Hours if X-Port     24 Hours if X-Port     24 Hours if X-Port     24 Hours if X-Port
                                                 Data is On)            Data is On)            Data is On)            Data is On)




                      us.nihonkohden.com                                                                                   Different Thinking for Better Healthcare.®
                                                                                                                                                                    MMLB 093[D]- CO -1274
                                                                                                                                                                                            3
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 103 of 139 Page ID
                                  #:248




                             G9               TR6000              TR6000              TR6000               TPM                  TR3000
                        CSM-1901            BSM-6700            BSM-6500            BSM-6300           BSM-1700               BSM-3500

                                                               Monitor Functions                                            Monitor Functions
 Drug Calculations           Yes                 Yes                 Yes                 Yes                 N/A                    Yes

Interpretive 12 Lead       672 Files            18 Files            18 Files            18 Files            18 Files
                                                                                                                             18 Files (72 Hours)
    ECG Storage           (72 Hours)          (72 Hours)          (72 Hours)          (72 Hours)          (72 Hours)

  Hemodynamic
                          1,008 Files         1,024 Files         1,024 Files         1,024 Files        1,536 Files             1,024 Files
   Calculations

    Pulmonary                                  512 Files           512 Files           512 Files
                          1,008 Files                                                                        N/A            512 Files (72 Hours)
   Calculations                               (72 Hours)          (72 Hours)          (72 Hours)

                              Yes,                Yes,                Yes,                Yes,                Yes,                  Yes,
  Interbed Display
                       with 16 Bed Views   with 16 Bed Views   with 16 Bed Views   with 16 Bed Views   with 9 Bed Views    with 20 Dual Bed Views

    MAC Display
 (minimum alveolar           Yes                 Yes                 Yes                 Yes                 N/A                    Yes
   concentration)

Data Transport with
                             Yes                 Yes                 Yes                 Yes                 Yes                     No
  Upload to CNS

                                                                     ECG                                                            ECG

    Multi-Lead
    Arrhythmia          Yes, Dual Lead      Yes, Dual Lead      Yes, Dual Lead      Yes, Dual Lead     Yes, Dual Lead         Yes, Dual Lead
    Processing

    Interpretive
                             Yes                 Yes                 Yes                 Yes                 Yes                    Yes
   12-Lead ECG




                       us.nihonkohden.com                                                                    Different Thinking for Better Healthcare.®
                                                                                                                                                    MMLB 093[D]- CO -1274
                                                                                                                                                                            4
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 104 of 139 Page ID
                                  #:249




                             G9                TR6000                   TR6000                 TR6000                   TPM                   TR3000
                       CSM-1901              BSM-6700                 BSM-6500               BSM-6300              BSM-1700                 BSM-3500

                                                                          SpO2                                                                  SpO2

                        Nellcor OxyMax,   Nellcor OxyMax,   Nellcor OxyMax,   Nellcor OxyMax,   Nellcor OxyMax,                            Nellcor OxyMax,
SpO2 Technology         Masimo SET or     Masimo SET or     Masimo SET or     Masimo SET or     Masimo SET or                              Masimo SET or
                      Nihon Kohden SpO2 Nihon Kohden SpO2 Nihon Kohden SpO2 Nihon Kohden SpO2 Nihon Kohden SpO2                          Nihon Kohden SpO2

                                                                           NIBP                                                                  NIBP

      Method             Oscillometric         Oscillometric           Oscillometric           Oscillometric         Oscillometric           Oscillometric

                      Staged Interval and   Staged Interval and     Staged Interval and     Staged Interval and   Staged Interval and     Staged Interval and
Special NIBP Modes
                       Venous Puncture       Venous Puncture         Venous Puncture         Venous Puncture       Venous Puncture         Venous Puncture

                                                                  Invasive Pressure (IBP)                                               Invasive Pressure (IBP)

                          Up to 8               Up to 7                 Up to 7                 Up to 7
    Number of           Depending on          Depending on            Depending on            Depending on
                                                                                                                        Up to 3                 Up to 2
    Channels          Number of Multiport   Number of Multiport     Number of Multiport     Number of Multiport
                         Connectors            Connectors              Connectors              Connectors

   CPP Display
(Cerebral Perfusion          Yes                   Yes                     Yes                     Yes                    No                     Yes
 Pressure for ICP)

                                                                     Communications                                                        Communications

                                                                                                                   Yes, when using
 Hardwired Central
                             Yes                   Yes                     Yes                     Yes            SC-170R Docking                Yes
 Communications
                                                                                                                        Station




                      us.nihonkohden.com                                                                                  Different Thinking for Better Healthcare.®
                                                                                                                                                                MMLB 093[D]- CO -1274
                                                                                                                                                                                        5
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 105 of 139 Page ID
                                  #:250




                          G9               TR6000               TR6000               TR6000                 TPM                  TR3000
                      CSM-1901            BSM-6700            BSM-6500             BSM-6300              BSM-1700              BSM-3500

                                                             Communications                                                   Communications

 W-LAN (Wireless)
                                        Optional, Requires   Optional, Requires   Optional, Requires                          Optional, Requires
     Central              N/A                                                                            Yes (QI-170P)
                                            QI-420-PA            QI-420-PA            QI-420-PA                                   QI-420-PA
 Communications

   ECG Output             Yes                  Yes                  Yes                  Yes                  Yes                    Yes

    IBP Output            Yes                  Yes                  Yes                  Yes                  Yes                    Yes

                                            Optional,             Optional,            Optional,
                     Yes, Using Data
 External monitor                       Requires QI-671P      Requires QI-671P     Requires QI-671P                              Optional,
                      Export Cable                                                                            No
      output                           and Standard Video    and Standard Video   and Standard Video                          Requires QI-372P
                       YS-094P2
                                             Cable                 Cable                Cable

   Laser Printer                                                                                         Yes, when using
  Documentation           Yes                  Yes                  Yes                  Yes            SC-170R Docking              Yes
  without Central                                                                                       Station or WLAN

   Laser Printer                                                                                         Yes, when using
Documentation with        Yes                  Yes                  Yes                  Yes            SC-170R Docking              Yes
     Central                                                                                            Station or WLAN



                                             Optional,            Optional,            Optional,
                                                                                                                           Optional with QI Equipped
 USB Interface to                        Requires QI-672P.    Requires QI-672P.    Requires QI-672P.
                          Yes                                                                                 No                    Models.
 External Devices                      Supports USB Mouse Supports USB Mouse Supports USB Mouse
                                                                                                                                    No USB.
                                       or Bar Code Scanner. or Bar Code Scanner. or Bar Code Scanner.




                     us.nihonkohden.com                                                                       Different Thinking for Better Healthcare.®
                                                                                                                                                   MMLB 093[D]- CO -1274
                                                                                                                                                                           6
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 106 of 139 Page ID
                                  #:251




                            G9                TR6000                TR6000                 TR6000                TPM                      TR3000
                       CSM-1901             BSM-6700              BSM-6500                BSM-6300           BSM-1700                   BSM-3500

                                                             External Device Interfaces                                           External Device Interfaces

                      3 Standard on G9
                                           5 (Optional, 1 with   5 (Optional, 1 with
Maximum Number        CPU, 5 with DAU                                                   1 with QI-632P                                  2 (Optional with
                                           QI-671P and 4 with    QI-671P and 4 with                               N/A
of External Devices    Additional 6 with                                               or 3 with QI-634P                             QI Equipped models)
                                                QI-672P)              QI-672P)
                        Junction Box

    Ventilators              Yes                  Yes                   Yes                  Yes                  N/A                         Yes
    CCO/SvO2                 Yes                  Yes                   Yes                  Yes                  N/A                         Yes

     Oridion
                             Yes                  Yes                   Yes                  Yes                  N/A                         Yes
 MicroStream CO2

SpO2 for dual SpO2           Yes                  Yes                   Yes                  Yes           Yes, with JL-500 P1                Yes

 Anesthesia Carts            Yes                  Yes                   Yes                  Yes                  N/A                         Yes

   TcPO2 Units               Yes                  Yes                   Yes                  Yes                  N/A                         Yes

                        Yes, External        Yes, External         Yes, External         Yes, External
                      Interface or BISx    Interface or BISx     Interface or BISx     Interface or BISx                         Yes, External Interface or BISx
Aspect BIS Monitor                                                                                                N/A
                      Through Multiport    Through Multiport     Through Multiport     Through Multiport                          Through Multiport Connector
                          Connector            Connector             Connector             Connector


 Anesthetic Gas
                                            Yes, Requires         Yes, Requires         Yes, Requires                               Yes, Requires QF-904P
    Module                   Yes                                                                                  N/A
                                           QF-904P Interface     QF-904P Interface     QF-904P Interface                                   Interface
  (AG-920RA)




                      us.nihonkohden.com                                                                           Different Thinking for Better Healthcare.®
                                                                                                                                                            MMLB 093[D]- CO -1274
                                                                                                                                                                                    7
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 107 of 139 Page ID
                                  #:252




                          G9              TR6000                 TR6000              TR6000                TPM                  TR3000
                    CSM-1901            BSM-6700               BSM-6500            BSM-6300            BSM-1700               BSM-3500

                                                            Dimension and Weight                                           Dimension and Weight

                       Main Unit:
 Dimensions, in.
                    16 x 12.7 x 14.4    16.4 x 15.4 x 7.5      13.5 x 13.9 x 7.2   12.4 x 12.8 x 7.4   5.8 x 7.6 x 3.7        14.5 x 12.2 x 6.7
    (W,H,D)
                     Display: 21.5

                     Main Unit: 27.5                                                                    3.5 (Including
   Weight, lbs                                22.7                   18.3                11.7                                       13.6
                      Display: 12.1                                                                        Battery)

                   From $31,800.00 to   From $17,490.00       From $15,250.00      From $8,220.00      From $7,560.00         From $3,900.00
   List Price
                      $34,000.00         to $26,600.00         to $23,200.00        to $12,660.00       to $7,830.00           to $6,262.00




                   us.nihonkohden.com                                                                        Different Thinking for Better Healthcare.®
                                                                                                                                                  MMLB 093[D]- CO -1274
                                                                                                                                                                          8
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 108 of 139 Page ID
                                  #:253




                        EXHIBIT F
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 109 of 139 Page ID
                                  #:254


Bedside Monitor
BSM-3500




  Quality
  Vital Sign                    • Compact, conﬁgured monitor with touchscreen display for ease
                                  of operation
  Monitoring                    • Ideal for ambulatory and specialty surgery centers
                                • Premium-as-standard design, providing all software options with
                                  base model
                                • Multiple Smart CableTM ports for optimal parameter ﬂexibility
                                • Comprehensive storage of multiple parameters to guide
                                  treatment decisions, including:
                                        o Arrhythmia detection and recall
                                        o ST analysis and recall
                                        o   cap- ONE®Mainstream CO2 sensor for intubated and
                                            non-intubated patients
                                        o Tabular and graphical trends
                                        o Full disclosure waveforms
                                        o Diagnostic 12-lead ECG


                us.nihonkohden.com                      Different Thinking for Better Healthcare.®
        Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 110 of 139 Page ID
                                          #:255
Speciﬁcations                                                                                   SpO2:                        Measuring Technology: Nihon Kohden, Masimo or Nellcor
                                                                                                                             Measuring Display Range: 0 to 100% (70 to 100% at

Bedside Monitor BSM-3500                                                                                                     speciﬁed accuracy)
                                                                                                                             Pulse rate from SpO2 Range: 0, 30 to 300 beats/min
                                                                                                                             (varies by SpO2 technology)

                                                                                                Non Invasive Blood
                                                                                                Pressure, NIBP:              Measuring method: Oscillometric Cuff

  BSM-3500                                                                                                                   Pressure display range: 0 to 300 mmHg

                                                                                                Invasive Blood
                                                                                                Pressure, IBP:               Measuring range: –50 to 300 mmHg
DISPLAY                                                                                                                      Pulse rate display range from IBP range: 30 to 300
Display Size:              12.1” color TFT type LCD                                                                          beats/min

Display                                                                                         Temperature:                 Measuring range: 0 to 45°C
Characteristics:           Resolution: 800 x 600. Touch screen with six quick access
                           hard keys                                                                                         Number of channels: 2 with Delta Temp

Maximum Number of                                                                               Cardiac Output:              Measuring method: Thermodilution method
Waveform Traces:           Up to 14 traces                                                                                   Measuring range: Injectate temperature (Ti): 0°C to 27°C
                                                                                                                             Blood temperature (Tb): 15°C to 45°C
Display Waveforms:         ECG (up to 12), respiration, IBP (up to 2), SpO2 pulse
                           wave, CO2, BIS EEG (up to 2 traces), vent PAW, vent Flow,                                         Thermodilution curve (delta Tb): 0°C to 2.5°C
                           and CO Thermodilution curve. When gas is monitored:                                               Cardiac output (CO): 0.5 to 20 L/min
                           O2 concentration curve, CO2 concentration curve,                     Inspired Oxygen
                           anesthetic agent concentration (Halothane, Isoﬂurane,                Fractional
                           Enﬂurane, Sevoﬂurane, Desﬂurane) Analog input                        Concentration:               Measuring range: 10 to 100%

Numerical                                                                                       CO2:                         CO2 measuring range: 0 to 150 mmHg
Data Display:              Heart rate, VPC rate, ST level, RR respiration rate, NIBP                                         Respiration rate counting range: 0 to 150 breaths/min
                           (systolic, diastolic, mean), IBP (systolic, diastolic, mean),
                           SpO2, SpO2-2, delta SpO2, pulse rate, temperature, CO,               BIS:                         Input channels: 2
                           CI, Ti (injectate temperature), Tb (blood temperature),                                           Measuring parameters: Bispectral Index (BIS),
                           O2 concentration, EtCO2, BIS, inspired/ expired N2O                                               95% Spectral Edge Frequency (SEF90, SEF95),
                           concentration, inspired/ expired CO2, inspired/ expired                                           Suppression Ratio (SR), EMG, Signal Quality Index (SQI)
                           O2 concentration, inspired/ expired anesthetic agent
                           concentration (Halothane, Isoﬂurane, Enﬂurane,
                           Sevoﬂurane, Desﬂurane), MAC (minimum alveolar                        STORED PATIENT DATA
                           concentration), Ppeak (peak airway pressure), PEEP                   Trendgraph:                  Trend parameters: All monitored parameters
                           (positive end expiratory pressure), Pmean (mean airway
                                                                                                                             Trend display time: Up to 72 hours
                           pressure), MV (minute volume), TVi (inspiratory tidal
                           volume), TVe (expiratory tidal volume), C (compliance),              Vital Signs List:            All monitored parameters for up to 72 hours (1 per minute
                           R (airway resistance), Ri (inspiratory airway resistance),                                        for 72 hours)
                           Re (expiratory airway resistance), I:E (inspiration expiration
                           ratio), SEF (90 or 95% spectral edge frequency), MDF                 NIBP:                        Number of entries: 1,024 ﬁles
                           (median frequency), PPF (peak power frequency),
                           TP (total power), TP power of frequency, TOF, CCO, SVRI,             HEMO List:                   Number of entries: 1,024 ﬁles
                           SvO2, EF, ScvO2, CCI, EDV, SVR, EDVI, PCCO, PCCI, tcPO2,
                                                                                                Full Disclosure:             Storage time: Up to 72 hours
                           tcPCO2, PPV, SPV
                                                                                                                             Number of Waveforms stored: 5 maximum
ALARMS                                                                                          ST Recall:                   Number of ﬁles: 4,320 ﬁles (1 per minute for 72 hours) for
Alarm Items:               Vital sign alarms, arrhythmia alarms, technical alarms                                            all monitoring leads
                           and operational alarms
                                                                                                Alarm History:               Number of entries: 16,384 ﬁles
Alarm Levels:              Crisis (red blinking), Warning (yellow blinking),
                           Advisory (yellow or blue light)                                      Arrhythmia Recall:           Number of ﬁles: 16,384 ﬁles

Alarm Indication:          Alarm indicator (360° visibility) highlighted message,               12-Lead
                           alarm sound                                                          Interpretive Recall:         Number of ﬁles: 18 ﬁles

Alarm Suspend:             1, 2, or 3 min                                                       OCRG:                        Storage capacity: 72 hours


PARAMETERS                                                                                      RECORDER (option)
ECG:                       Number of ECG waveforms channels: up to 12                           Recording Method:            Thermal array recording
                           Frequency response:                                                  Number of Channels:          3 traces (maximum)
                              Diagnosis mode: 0.05 to 150 Hz
                              Monitor mode: 0.3 to 40 Hz                                        POWER REQUIREMENT
                              Maximum ﬁlter mode: 1 to 18 Hz                                    AC:                          100 to 240 V ±10%
                           Heart Rate Counting range: 0, 15 to 300 beats/min
                                                                                                Line Frequency:              50 or 60 Hz
                           Arrhythmia Analysis method: Multi-template software
                           algorithm                                                            Battery Operation
                           VPC counting rate: 0 to 99 VPCs/min                                  Time (option):               Up to 90 minutes
                           Arrhythmia alarms: ASYSTOLE, VF, VT, V RHYTHM, V BRADY,
                           EXT TACHY, EXT BRADY, AF, VPC RUN, COUPLET, EARLY VPC,               Power Consumption:           AC 100 VA
                           BIGEMINY, TRIGEMINY, FREQ VPC, PROLONGED RR, SV
                           TACHY, TACHYCARDIA, BRADYCARDIA, VPC, MULTIFORM,                     DIMENSIONS AND WEIGHT
                           IRREGULAR RR, NO PACER PULSE, PACER NON-CAPTURE,
                           PAUSE                                                                Dimensions:                  370 W × 310 H × 172 D mm

ST Level Measurement: Number of measurement channels: up to 12                                  Weight:                      6.2kg
                      Measuring range: ±2.5 mV

Respiration
(Impedance or                                                                                                               Smart Cable is a Trademark of Nihon Kohden Corporation.
Thermistor Method):        Measuring range: 0 to 150 breaths/min                                   Different Thinking for Better Healthcare is a registered trademark of Nihon Kohden.



                                                                                      N I H O N KO H D E N A M E R I CA , I N C. | 15 3 5 3 BA R R A N CA PA R K WAY, I R V I N E, CA 9 2618
                                            us.nihonkohden.com                        80 0.325.0283 | 949.580.1555 | FA X: 949.580.1550 | EMAIL: INFO@NIHONKOHDEN.COM


THIS DATA SHEET MAY BE REVISED OR REPL ACED BY NIHON KOHDEN AT ANY TIME WITHOUT NOTICE.                                                                              MMLB 083 [C]- CO -1518
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 111 of 139 Page ID
                                  #:256




                       EXHIBIT G
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 112 of 139 Page ID
                                  #:257




 Rethinking Telemetry—
 and Its Impact on
 Healthcare
 Wireless technology that
 improves care and
 reduces costs
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 113 of 139 Page ID
                                  #:258




 Thinking differently
 about telemetry.
 You know it better than anyone—      At Nihon Kohden, we’re thinking
 the challenge of improving
                                      differently about telemetry.
 quality while controlling costs is
 still with us—and telemetry is
                                      Consider this:
 one area where this challenge
                            What if you could monitor your
 has a dramatic impact both on
 patients and hospitals.    at-risk patients throughout the facility
                            and in the process improve care
 and reduce costs? And what if monitoring of your at-risk patients
 knew no bounds? With our family of multi-parameter telemetry
 products you could simultaneously watch over all patients,
 including those with cardiac conditions and co-morbidities, such
 as sleep apnea, obesity, and patients on opioid drips located
 in medical/surgical units.

 Now you can.

 Nihon Kohden offers the industry’s most robust
 telemetry technology, bringing you immediate
 clinical and ﬁnancial beneﬁts.
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 114 of 139 Page ID
                                  #:259
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 115 of 139 Page ID
                                  #:260




 Advanced telemetry for
 at-risk monitoring
 It’s vital that clinicians be able to quickly and accurately assess
 and document their patients’ condition, in real time.
 The Nihon Kohden CNS-6201 is an advanced telemetry system
 with the following features:

 Enhanced User Interface
 Features direct-access keys to
 clinical information.

 Fully Customizable
 Clinicians can customize screens
 with a few simple keystrokes,
 enabling them to view the data they
 need, in the format they want.

 Scalable
 The system can accommodate
 up to 32 patients.




 Better, faster assessment of patient
 information on a larger scale.
 Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 116 of 139 Page ID
                                   #:261



Clinicians can perform important
assessment-related functions:




Individual patient      Menu of review   Full-disclosure review   Customization of
review                  screens                                   review screens
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 117 of 139 Page ID
                                  #:262




 The industry’s most robust
 line of transmitters
 Nihon Kohden’s telemetry
 transmitters are ideal for patients
 that require ambulatory
 monitoring, from the traditional                    Vital signs                Tabular trends
 cardiac telemetry units to the
 medical/surgical ﬂoors. We have
 the right transmitter for the entire
 patient population regardless of
 acuity level or location.                           Full disclosure            Multi-lead




 Monitors and displays:
     NTX/ZM-540/541PA                ZM-530/531PA                             ZM-520/521PA




 Monitors ECG (3 or 6 lead),          Monitors ECG                              Monitors ECG
  respiration, continuous       (3 or 6 lead), respiration,            (3 or 6 lead) and respiration
      SpO2, and NIBP              and continuous SpO2                     Battery life: 72 hours
  Battery life: 24 hours with     Battery life: 60 hours
   NIBP at 1 hour intervals
 Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 118 of 139 Page ID
                                   #:263




The beneﬁts of Defensive
Monitoring
It’s clear that earlier detection       A new algorithm for patient monitoring
of patient distress results in faster
                                        The Nihon Kohden Defensive Monitoring strategy
intervention and higher patient
                                        includes the Prefense® Early Detection and Notiﬁcation
safety. Yet, continuous patient
                                        System.™ Our ﬁfth-generation Prefense system features
monitoring typically takes place
                                        an FDA-cleared smoothing algorithm, providing a more
only in areas where patients are
                                        accurate representation of a patient’s condition. With
deemed most at risk, such as ICU
                                        Prefense, surveillance is both constant and efﬁcient.
and cardiac telemetry. Defensive        Caregivers immediately get the vital information they
Monitoring provides continuous          need to determine the status of their patient—resulting
vital sign surveillance to the          in faster interventions when required, while reducing
traditionally un-monitored, at-risk     false alarms by more than 75 percent.
patient located in the medical/
surgical units.




                                                        The advantages are
                                                        signiﬁcant:
                                                     • Enhanced and reliable point of care
                                                       surveillance
                                                     • Decrease unplanned and costly ICU
                                                       and cardiac telemetry admissions
                                                     • Better bed utilization while reducing
                                                       length of stay




Monitored Parameters:
                                 Prefense can immediately help
Heart Rate, Pulse
Oximetry, Respiration,           hospitals meet their dual
Non-Invasive Blood
Pressure, EtCO2
                                 challenge of increasing quality
                                 while cutting costs.
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 119 of 139 Page ID
                                  #:264




 Different thinking to address
 today’s challenges
 Faced with the challenge of improving care quality—while
 controlling costs—healthcare providers seek business partners
 who enable real change. Who think differently.
 At the forefront of change within the healthcare continuum,
 Nihon Kohden is uniquely suited to empower providers
 to meet these challenges and surpass patient quality and
 safety initiatives. Nihon Kohden provides quality, reliable
 technology, and drives integration at the clinical level, across
 all care areas. As a result, with Nihon Kohden technology,
 clinicians can access a higher level of information, enabling
 more accurate diagnoses and ultimately, better outcomes.




 us.nihonkohden.com
 Prefense is a registered trademark and
 Early Detection and Notiﬁcation System is
 a trademark of Nihon Kohden Corporation.
 MMLB 058[B]-CO-1174
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 120 of 139 Page ID
                                  #:265




                      EXHIBIT H
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 121 of 139 Page ID
                                  #:266


Central Monitoring System
CNS-6201A




 Patient
 Monitoring
                                • Delivering information throughout the continuum of care
 and Review                     • Scalable solution to meet any monitoring requirement

 Capabilities                   • Monitors up to 32 patients using two displays

                                • Combines hardwired, wireless and telemetry monitoring into
                                  a single solution

                                • Comprehensive data storage and review

                                • Automated patient and data transfer between multiple
                                  departments insuring a comprehensive patient record

                                • Export data to Hospital Information System using
                                  CGS-9002 HL7 Gateway System




                us.nihonkohden.com                    Different Thinking for Better Healthcare.
        Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 122 of 139 Page ID
                                          #:267
Speciﬁcations
Central Monitoring System
CNS-6201A

  CNS-6201A                                                                                DATA STORAGE
                                                                                           Graphical Trend:           120 hours, all parameters
                                                                                           Tabular Trends:            120 hours, all parameters, minute-by-minute
DISPLAY
                                                                                           Arrhythmia Recall:         1,500 events per bed with 8 second strip.
Size/Type:                24” color LCD display with touch screen operation
                                                                                           Full Disclosure:           120 hours, 16 traces per bed
Resolution:               1920 × 1200
                                                                                           ST Level:                  120 hours, minute-by-minute
Number of Patients:       Up to 32 with two displays. 4, 6, 8, 10, 12 or 16 patients
                          per display, selectable                                          Hemodynamic List:          256 ﬁles per bed

Waveform Display                                                                           12-lead ECG
Items (depends on                                                                          Analysis Files:            200 ﬁles per bed
the connected
                                                                                           Event History:             10,000 events per bed, includes arrhythmia events, limit
monitor/transmitter):     ECG (up to 12 vectors), IBP (1-8), respiration wave,
                                                                                                                      alarms, technical alarms, system alarms, caliper
                          pulse (SpO2), EEG (1- 2), Flow/Paw, CO2, external input,
                                                                                                                      measurements and comments
                          Anesthetic gas (O2, CO2, N2O, Agent)
Number of Traces,                                                                          OVERVIEW
All Beds Screen:          Up to 24 total per display, number per patient is based
                                                                                           Displays user-selectable vital signs, up to 12 ECG waveforms, reviews, alarm
                          on number of patients displayed.
                                                                                           events, and status messages associated with the selected overview bed. The
                          16 patients – 2 traces each, 12 patients – 3 traces each,        overview bed can be any bed in the network that the CNS is not monitoring.
                          10 patients – 4 traces each, 8 patients – 5 traces each,
                          6 patients – 8 traces each, 4 patients – 12 traces each,         THERMAL ARRAY RECORDER, WS-960P
                          2 patients – 16 traces each
                                                                                           Recording Method:          Thermal array recording
Number of Traces,
Individual                                                                                 Number of Waveforms: 3
Bed Screen:               Up to 16                                                         Paper Speed:               25 mm/sec
Waveform                                                                                   Type of Recording:         Manual, alarm, periodic, remote
Sweep Speed:              25 mm/s, 50 mm/s, 6.25 mm/s (respiration
                          measurement)
                                                                                           NETWORK LASER PRINTER
Alphanumeric                                                                               HP LaserJet M602DN or equivalent (Postscript printer)
Display Items
(depends on                                                                                Number of
the connected                                                                              Waveforms:                 Up to 16
monitor/transmitter):     Heart rate, Pulse rate, VPC rate, respiration rate, ST
                                                                                           Type of Recording:         Manual, periodic
                          level, IBP (systolic, diastolic, mean), SpO2, CO2, Cardiac
                          Output, blood temperature, CCO, CCO<Tb>, CCI,
                          NIBP (systolic, diastolic, mean), temperature, SvO2,             USER INTERFACE
                          PiCCO, Flow/Paw, N2O, O2, Agent, BIS, tcPO2, tcPCO2, TV,         Touch screen, mouse, keyboard and wireless remote controller
                          MV, PEEP, others.
                                                                                           POWER REQUIREMENTS
ALARMS
                                                                                           Line/Battery Voltage:      AC 100 to 240 V, 50 or 60 Hz
Alarm Type:               Crisis, Warning, Advisory, Technical
                                                                                           Power Consumption:         180 VA or less
Alarm Items
(depends on
                                                                                           ENVIRONMENT
the connected
monitor/transmitter):     Vital signs: Heart rate, Pulse rate, Respiration rate, Apnea,    Operating
                          ST level, IBP (systolic, diastolic, and mean), NIBP (systolic,   Temperature:               10° to 35°C
                          diastolic, and mean), Temperature, Delta T, Tb, SpO2,            Storage Temperature: −20° to 60°C
                          SvO2, CCO, ventilator, anesthetic gas, BIS, EtCO2, FiCO2,                             VL-931R (–10° to 60°C)
                          EtO2, FiO2, N2O, O2, tcPO2, tcPCO2, MV, Ppeak, PEEP
                                                                                           Operating Humidity:        30 to 80 % RH
                          Arrhythmia: Asystole, V.Fib, Ext. Tachycardia, Ext.
                          Bradycardia, V. Tachy, Tachycardia, Bradycardia, VPC             Storage Humidity:          20 to 90 % RH
                          Run, Couplet, Early VPC, Multiform, Bigeminy, Freq. VPC,
                                                                                           Operating
                          Prolonged
                                                                                           Atmospheric Pressure: 70 to 106 kPa
Alarm Display:            Alarm indicator with ﬂashing bed frame and highlighted
                                                                                           Storage
                          numerical display and highlighted alarm message
                                                                                           Atmospheric Pressure: 70 to 106 kPa
Alarm Recording:          Automatic
Alarm Icon/                                                                                DIMENSIONS AND WEIGHT
Arrhythmia Icon:          Available when vital sign, technical alarm, or                   PU-971R Main Unit:         4.5” W × 13.8” H × 15.0” D, 24.2 lbs
                          arrhythmia occurs
                                                                                           E282678 LCD Unit:          23.4” W × 15.7” H × 8.4” D, 24.2 lbs
                                                                                           WS-960P Recorder:          3.2” W × 2.9” H × 6.7” D, 1.6 lbs




                                                                                           NIHON KOHDEN AMER ICA , INC. | 15353 BAR R ANCA PARK WAY, IRVINE, CA 92618
                                          us.nihonkohden.com                               8 0 0.325.0283 | 949.58 0.15 5 5 | FA X: 949.58 0.15 5 0 | EMAI L: I N FO @ NKU SA .CO M


THIS DATA SHEET MAY BE REVISED OR REPL ACED BY NIHON KOHDEN AT ANY TIME WITHOUT NOTICE.                                                                       MMLB 053 [B]- CO - 0291
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 123 of 139 Page ID
                                  #:268




                       EXHIBIT I
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 124 of 139 Page ID
                                  #:269


Remote Network Station
RNS-9703




 Secondary
 Patient
 Monitoring                     • Effectively access and review clinically relevant patient data
                                  from multiple locations with diverse hardwired and telemetry
 and Review                       monitoring environments

 Capabilities                   • Intuitive, real-time management of monitored data from
                                  locations other than the traditional central station

                                • Ability to arrange the 16 patient display by care area, acuity
                                  level and monitoring type

                                • Focuses staff attention on key information that can help speed
                                  interpretation and improve outcomes

                                • Enhancing access to care, safety, clinician workﬂow and
                                  patient satisfaction



                us.nihonkohden.com                    Different Thinking for Better Healthcare.®
        Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 125 of 139 Page ID
                                          #:270
Speciﬁcations
Remote Network Station
RNS-9703

  RNS-9703-19 and RNS-9703-24

DISPLAY                                                                                          OVERVIEW FUNCTION
Size/Type:                19” or 24” color LCD display                                           Displays user-selectable vital signs, up to 12 ECG waveforms, reviews, alarm
                                                                                                 events, and status messages associated with the selected overview bed. The
Resolution:               1920 × 1200
                                                                                                 overview bed can be any bed in the network that the RNS is not monitoring.
Number of Patients:       4, 6, 8, 10, 12 or 16 patients per display
Waveform Display                                                                                 THERMAL ARRAY RECORDER, WS-960P (OPTION)
Items (depends on                                                                                Recording Method:            Thermal array recording
the connected
                                                                                                 Number of Waveforms: 3
monitor/transmitter):     ECG (up to 12 vectors), IBP (1-8), respiration wave,
                          pulse (SpO2), EEG (1- 2), Flow/Paw, CO2, external input,               Paper Speed:                 25 mm/sec
                          Anesthetic gas (O2, CO2, N2O, Agent)
                                                                                                 Type of Recording:           Manual, alarm, periodic, remote
Number of Traces,
All Beds Screen:          Up to 24 total per display, number per patient is based
                                                                                                 NETWORK LASER PRINTER (OPTION)
                          on number of patients displayed.
                                                                                                 HP LaserJet M602DN or equivalent (Postscript printer)
                          16 patients – 1 trace each, 12 patients – 2 traces each,
                          10 patients – 2 traces each, 8 patients – 3 traces each,               Number of
                          6 patients – 4 traces each, 4 patients – 6 traces each                 Waveforms:                   Up to 16

Number of Traces,                                                                                Type of Recording:           Manual, periodic
Individual
Bed Screen:               Up to 16                                                               USER INTERFACE
Waveform                                                                                         Mouse and keyboard
Sweep Speed:              25 mm/s, 50 mm/s, 6.25 mm/s (respiration
                          measurement)                                                           RNS -9703 19” THIN CLIENT COMPUTER
Alphanumeric                                                                                     Dimensions:                  407 x 452.9 x 210 mm / 16 x 17.8 x 8.2 inches
Display Items
                                                                                                 Weight:                      5 Kg / 11 Ibs.
(depends on
the connected                                                                                    Power Consumption:           100-240V, 50/60Hz, 0.5A
monitor/transmitter):     Heart rate, Pulse rate, VPC rate, respiration rate, ST
                          level, IBP (systolic, diastolic, mean), SpO2, CO2, Cardiac             Operating
                          Output, blood temperature, CCO, CCO<Tb>, CCI,                          Temperature:                 50°F ~ 104°F (10°C ~ 40°C)
                          NIBP (systolic, diastolic, mean), temperature, SvO2,                   Operating Humidity:          10 % ~ 80 %, non-condensing
                          PiCCO, Flow/Paw, N2O, O2, Agent, BIS, tcPO2, tcPCO2, TV,
                          MV, PEEP, others.                                                      Storage Temperature: -4°F ~ 113°F (-20°C ~ 45°C)
                                                                                                 Storage Humidity:            5 % ~ 95 %, non-condensing RNS-9703-019
ALARMS
Alarm Type:               Crisis, Warning, Advisory, Technical                                   RNS -9703 24” THIN CLIENT COMPUTER
Alarm Items                                                                                      Dimensions:                  554.6 x 510.3 x 224 mm / 21.8 x 20 x 8.8 inches
(depends on                                                                                      Weight:                      6.1 Kg / 13.4 Ibs.
the connected
monitor/transmitter):     Vital signs: Heart rate, Pulse rate, Respiration rate, Apnea,          Power Consumption:           100-240V, 50/60Hz, 0.5A
                          ST level, IBP (systolic, diastolic, and mean), NIBP (systolic,
                                                                                                 Operating
                          diastolic, and mean), Temperature, Delta T, Tb, SpO2,
                                                                                                 Temperature:                 50°F ~ 104°F (10°C ~ 40°C)
                          SvO2, CCO, ventilator, anesthetic gas, BIS, EtCO2, FiCO2,
                          EtO2, FiO2, N2O, O2, tcPO2, tcPCO2, MV, Ppeak, PEEP                    Operating Humidity:          10 % ~ 80 %, non-condensing
                          Arrhythmia: Asystole, V.Fib, Ext. Tachycardia, Ext.                    Storage Temperature: -4°F ~ 113°F (-20°C ~ 45°C)
                          Bradycardia, V. Tachy, Tachycardia, Bradycardia, VPC
                                                                                                 Storage Humidity:            5 % ~ 95 %, non-condensing RNS-9703-024
                          Run, Couplet, Early VPC, Multiform, Bigeminy, Freq. VPC,
                          Prolonged
Alarm Display:            Alarm indicator with ﬂashing bed frame and highlighted
                          numerical display and highlighted alarm message
Alarm Recording:          Automatic (option)
Alarm Icon/
Arrhythmia Icon:          Available when vital sign, technical alarm, or
                          arrhythmia occurs




                                                                                                    Different Thinking for Better Healthcare is a registered trademark of Nihon Kohden.



                                                                                       N I H O N KO H D E N A M E R I CA , I N C. | 15 3 5 3 BA R R A N CA PA R K WAY, I R V I N E, CA 9 2618
                                          us.nihonkohden.com                           80 0.325.0283 | 949.580.1555 | FA X: 949.580.1550 | EMAIL: INFO@NIHONKOHDEN.COM


THIS DATA SHEET MAY BE REVISED OR REPL ACED BY NIHON KOHDEN AT ANY TIME WITHOUT NOTICE.                                                                                MMLB 068[B]- C0 -1133
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 126 of 139 Page ID
                                  #:271




                      EXHIBIT J
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 127 of 139 Page ID
                                  #:272




     Life Scope G9
     Bedside Monitor
     A new standard
     in monitored care
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 128 of 139 Page ID
                                  #:273




 Adaptive Care – Quality
 Outcomes
 Outcomes and quality have taken center
 stage for healthcare systems today. Full
 featured, acuity-adaptable monitoring allows
 care providers to affect patient-centered care
 across critical care settings while creating
 common metrics and shared protocols that
 improve outcomes.

 Nihon Kohden’s Life Scope             With drag-and-drop customizable caregiver-
                                       speciﬁc display options, the G9 can be
 G9 is a fully optimized               personalized to each patient and caregiver
 bedside monitor that allows           regardless of the patient’s health status
 high acuity care teams                or setting within the hospital—giving care
                                       teams the conﬁdence that they have
 to be uniquely patient ready,         the right monitoring solution for each patient,
 ensuring a level of patient           every time.

 monitoring that is without            Maintaining a high standard of monitoring
 compromise.                           care, even during transport, is ensured with
                                       the G9 and Life Scope Transport monitor.
                                       Using the Life Scope Transport monitor as an
                                       input box, your patient is transferred with all
                                       G9 monitored parameters that are uploaded
                                       to the new care area bedside display,
                                       creating one seamless patient record for
                                       enhanced workﬂow and care coordination.
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 129 of 139 Page ID
                                  #:274
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 130 of 139 Page ID
                                  #:275




 Tailored Care for You and Y
 Nihon Kohden’s inclusive monitoring
 philosophy continues with the Life Scope
 G9. This full-featured system provides
 comprehensive parameter monitoring
 with data storage, including multi-
 waveform/multi-parameter full disclosure,
 comprehensive arrhythmia and ST
 segment analysis, as well as 12-lead ECG
 capability, and drug, hemodynamic
 and pulmonary calculations that ensure
 a high standard of monitoring care
 across patient conditions.
    Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 131 of 139 Page ID
                                      #:276




Your Patient



                                           Nihon Kohden’s unique Smart Cable™
                                           technology miniaturizes circuits found
                                           in traditional modules and embeds
                                           that circuitry into a smart patient cable.
                                           When you plug a Smart Cable into
                                           a MultiPort, the associated parameter is
                                           automatically detected, displayed and
                                           measured. With this technology, you’ll
                                           get parameter ﬂexibility at a signiﬁcantly
                                           reduced cost with seamless and
                                           immediate access to blood pressure,
                                           cardiac output, EtCO2, temperature, BIS
                                           and more, when and where you need
                                           it for rapid clinical assessment from the
                                           ER to the ICU.




                                           Life Scope G9 offers care area-speciﬁc
                                           functionality to optimize specialty
                                           monitoring. For example, up to three
                                           independent monitoring screens
                                           allow unique display conﬁgurations
                                           for multi-clinician oversight in the
                                           Operating Room.
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 132 of 139 Page ID
                                  #:277




 Decision Support
 at Your Fingertips                                                  Side G-scope

 Designed with quick clinical access
 in mind, one or two clicks allow you to
 view the most important information
 associated with any monitored
 parameter for quicker assessment
 and intervention, depending on your
 patient’s condition.
 Review previous data while retaining
 full view monitoring of all vital signs
 and waveforms using our exclusive
 G-scope. Simply ﬂick the side or
 bottom of the screen and select from
 three user-deﬁned review screens for
 decision support and cross care area
 collaboration after transport.




                                                    Bottom G-scope
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 133 of 139 Page ID
                                  #:278




Seamless Transport
With today’s high acuity patients, it is important
to maintain a high standard of monitoring care, even
during transport. The unique design of Nihon Kohden’s
BSM-1700 Transport monitor and the Lifescope G9
Data Acquisition Unit redeﬁnes transport monitoring.
Simply disconnect the BSM-1700 Transport monitor from
the Data Acquisition Unit and your patient can be
transported with all monitoring capabilities remaining
the same. When the patient is transferred to their
new care setting and the BSM-1700 is reconnected to
another G9 or BSM-6000 monitor, patient information,
including full disclosure, is uploaded to the new
bedside display creating one seamless patient record
enhancing workﬂow and care coordination.




Enhanced Patient
Experience
Patient-centered care can improve patient       Further oversight is ensured with interbed
outcomes and satisfaction. With Life Scope      monitoring of vital information and alarm
G9’s Sleep Mode, the bedside monitor is         status of another bed in the network.
darkened and the ECG synch sound and
                                                The integrated 12-Lead ECG capability of
alarm indicator are disabled, preventing the
                                                the Life Scope G9 offers the same reliability
monitor from disturbing the patient during
                                                of a dedicated ECG machine, minimizing
rest or sleep. When the Life Scope G9 is
                                                the need to change patient electrodes and
connected to the Central Monitor, both the
                                                burden the patient with additional stand-
patient and clinical staff can rest assured
                                                alone ECG testing.
that full monitoring capabilities remain.
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 134 of 139 Page ID
                                  #:279




                                           Screen layouts can be tailored by
                                           clinician preference or individual patient
                                           care needs using G9’s drag and drop
                                           screen builder and setup conﬁguration.
                                           Customizable screen layouts can be
                                           saved by user proﬁle for quick recall and
                                           application to personalize patient care.
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 135 of 139 Page ID
                                  #:280
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 136 of 139 Page ID
                                  #:281




 Quality of Care
 The acuity-adaptable Life Scope G9 monitoring system from
 Nihon Kohden allows one standard of care across the acuity
 care continuum, thereby leveraging collaboration and
 care coordination that can improve quality and outcomes.
 In today’s healthcare environment, quality of care is the
 common denominator to employee and patient satisfaction.
 Let us help you make your outcomes more predictable.




                                     Different Thinking for
 us.nihonkohden.com
                                     Better Healthcare.                                              ®


 MMLB 038[D]-CO-1236                 Different Thinking for Better Healthcare is a registered trademark of
                                     Nihon Kohden.
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 137 of 139 Page ID
                                  #:282




                      EXHIBIT K
Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 138 of 139 Page ID
                                  #:283


Remote Access System
QP-983P NetKonnect




 Comprehensive
 Web-based
 Application
                                • HIPPA compliant secured access for local or remote users
 Provides a Portal
                                • Individual nurse review stations
 to Your Monitored
                                • Remote physician and nurse access
 Patients
                                • Near real-time waveform and numerics with user selectable
                                  settings for customized views

                                • Interactive and time-linked monitoring data:
                                        o Graphical and Tabular Trends
                                        o Hemodynamic Calculations
                                        o Arrhythmia Recall Events
                                        o Minute-to-minute ST Templates
                                        o Multi-Parameter Full Disclosure Waveforms
                                        o Interpretative 12-lead ECGs



                us.nihonkohden.com                     Different Thinking for Better Healthcare.
        Case 2:18-cv-06352-ODW-MAA Document 11 Filed 11/13/18 Page 139 of 139 Page ID
                                          #:284
Remote Access System
QP-983P NetKonnect


NetKonnect provides you                                                                       The QP-983P NetKonnect Remote Access Server
                                                                                              provides a secure portal between the Nihon Kohden
                                                                                              patient monitoring system and your hospital’s network.
with the information to                                                                       You can use most web-enabled computers* to access
                                                                                              this data both locally and remotely. Once you access
make clinical decisions                                                                       the hospital’s network, simply click on the NetKonnect
                                                                                              desktop icon to log on with your user name and
when timing is critical.                                                                      password. Only authorized users are allowed to
                                                                                              access this data.




Convenient access to patient data leads to improved patient outcomes.
• Clinicians have access to their patients’ current and                                       • NetKonnect makes the charting function more
  stored monitoring data from within the hospital, from                                         efﬁcient by allowing clinicians to view physiologic
  their ofﬁces or from their homes.                                                             data in conjunction with the electronic chart instead
• NetKonnect provides immediate access to patient                                               of requiring them to go to a central location for this
  data so that physicians can complete their clinical                                           purpose.
  assessment before ordering interventions. This results in                                   • HIPPA compliant secured access insures that only
  improved decision-making, improved patient outcomes                                           authorized personnel have access to patient data.
  and physician satisfaction.
                                                                                                        *Requires Internet Explorer 5.1 or later and .Net Framework 1.1 or later



                                                                                          NIHON KOHDEN AMER ICA , INC. | 15353 BAR R ANCA PARK WAY, IRVINE, CA 92618
                                          us.nihonkohden.com                              8 0 0.325.0283 | 949.58 0.15 5 5 | FA X: 949.58 0.15 5 0 | EMAI L: I N FO @ NKU SA .CO M


THIS DATA SHEET MAY BE REVISED OR REPL ACED BY NIHON KOHDEN AT ANY TIME WITHOUT NOTICE.                                                                      MMLB 0 08 [D]- CO - 0291
